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           8

           9                                  UNITED STATES BANKRUPTCY COURT

          10                                    CENTRAL DISTRICT OF CALIFORNIA

          11                                    SAN FERNANDO VALLEY DIVISION

          12
               In re                                               Case No. 1:24-bk-11323-VK
          13
               Irwin Naturals et al.,                              Chapter 11
          14
                                             Debtors and Debtors   (Jointly Administered with: Case No. 1:24-bk-
          15                                 in Possession.        11324-VK. Case No. 1:24-bk-11325, and Case
          16
                                                                   No. 1:24-bk-11326-VK)

          17                                                       DISCLOSURE STATEMENT
                                                                   DESCRIBING DEBTORS’ CHAPTER 11
                       Affects Irwin Naturals
          18                                                       PLAN OF REORGANIZATION
          19           Affects Irwin Naturals Inc.
                                                                    Plan Objection Deadline: 10:00 p.m. PDT
                                                                    on _____________
          20           Affects 5310 Holdings, LLC
          21                                                        Ballot Deadline: 10:00 p.m. PDT on ______
                       Affects DAI US HoldCo Inc.
          22                                                       Disclosure Statement Hearing:
                       Affects All Debtors                         Date:   TBD
          23                                                       Time: TBD
          24                                                       Confirmation Hearing:
                                                                   Date:  TBD
          25                                                       Time: TBD
                                                                   Place: Courtroom 301
          26                                                              United States Bankruptcy Court
                                                                          21041 Burbank Blvd
          27                                                              Woodland Hills, CA 91367
          28


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           1          **Irwin Naturals, a Nevada corporation, and its related debtor entities (collectively, the

           2   “Debtors”), are the proponents of this disclosure statement and accompanying chapter 11 plan of

           3   reorganization. The Debtors reserve the right to make further amendments and modifications to this

           4   disclosure statement.

           5          THE DEBTORS HAVE NOT AUTHORIZED ANY ENTITY TO GIVE ANY

           6   INFORMATION ABOUT OR CONCERNING THE PLAN OTHER THAN THAT WHICH

           7   IS CONTAINED IN THIS DISCLOSURE STATEMENT. THE DEBTORS HAVE NOT

           8   AUTHORIZED ANY REPRESENTATION CONCERNING THE DEBTORS, THE VALUE

           9   OF THEIR PROPERTY OR THE TREATMENT OF CLAIMS OTHER THAN AS SET

          10   FORTH IN THIS DISCLOSURE STATEMENT.

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           1                                         I.      INTRODUCTION

           2          Irwin Naturals, a Nevada corporation (“Irwin Nevada”), Irwin Naturals, Inc., a British

           3   Colombia corporation (“Irwin Canada”), DAI US HoldCo, Inc. (“DAI”) and 5310 Holdings, LLC

           4   (“5310” and collectively, with Irwin Nevada, Irwin Canada and DAI, each a “Debtor” and

           5   collectively, the “Debtors”)

           6          The Debtors are the chapter 11 debtors in possession in the above-captioned chapter 11

           7   bankruptcy cases. On August 9, 2024, the Debtors commenced their bankruptcy cases by filing

           8   voluntary petitions under chapter 11 of the United States Bankruptcy Code, 11 U.S.C. §§ 101 et seq.

           9   (“Bankruptcy Code”). These cases are pending before the Honorable Victoria Kaufman, United

          10   States Bankruptcy Judge for the Central District of California (the “Court” or “Bankruptcy Court”).

          11   This document is the Debtors’ disclosure statement (as may be further amended or modified, the

          12   “Disclosure Statement”) which describes Debtors’ Chapter 11 Plan of Reorganization (as may be

          13   further amended or modified, the “Plan”).

          14          Chapter 11 allows the Debtors, and, under some circumstances, creditors and other parties in

          15   interest, to propose a plan of reorganization. A plan may provide for a debtor to reorganize by

          16   continuing to operate, to liquidate by selling the assets of its estate, or a combination of both. The

          17   Debtors are the parties proposing the Plan.

          18          THIS DOCUMENT IS THE DISCLOSURE STATEMENT FOR THE DEBTORS’

          19   CHAPTER 11 PLAN.

          20          The effective date (“Effective Date”) of the plan will be the second business day after entry

          21   of the order confirming the Plan (the “Confirmation Order”), provided the Bankruptcy Court has

          22   waived the provisions of Rule 3020(e) of the Federal Rules of Bankruptcy Procedure (the

          23   “Bankruptcy Rules”) and no stay of the Confirmation Order is in effect.1

          24

          25   1
              If the Bankruptcy Court does not waive the provisions of Bankruptcy Rule 3020(e), then the
          26 Effective Date will be the second business day which is at least fifteen (15) days following the date
             of entry of the Confirmation Order, assuming there has been no appeal from and order staying the
          27 effectiveness of the Confirmation Order. If there has been an order entered staying the effectiveness
             of the Plan Confirmation Order, the Effective Date shall be the second business day after the stay is
          28 no  longer in effect with respect to the Confirmation Order.

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           1           The Plan described in this Disclosure Statement is a reorganizing plan. The Plan described in

           2   this Disclosure Statement provides for Irwin Nevada’s, DAI’s and 5310’s emergence from their

           3   chapter 11 bankruptcy cases as the “Reorganized Debtors”, which the Debtors anticipate will occur

           4   in January 2025. Under the Plan, the Debtors will satisfy their debt and other claims as set forth in

           5   Article IV below. The Plan described below has been designed to position the Reorganized Debtors

           6   to succeed following bankruptcy.

           7           After confirmation of the Plan, Irwin Nevada will continue operating its nutraceutical

           8   business that it has successfully operated since its inception in 1994, 5310 will remain a subsidiary

           9   of Irwin Nevada that holds the majority of the Debtors’ intellectual property, and DAI will remain as

          10   the holding company for Irwin Nevada. Through their Plan, the Debtors will be dissolving Irwin

          11   Canada.

          12           There are three primary groups of creditor claims in these cases consisting of: (i) priority tax

          13   and employee claims; (ii) the claims of the Debtors’ pre-petition secured creditors (i.e., creditors

          14   who assert a lien against certain of the Debtors’ assets as collateral for their claims);2 and (iii) the

          15   claims of the Debtors’ non-priority general unsecured creditors.

          16           The following is a summary of the Plan:

          17           1.   Reorganization: The Plan provides for a reorganization which dissolves one entity,

          18   Irwin Canada, with Irwin Nevada, 5310 and DAI as the remaining entities. Through the Plan, the

          19   Debtors will pay all allowed claims in full. Through the Plan, the existing public shareholders of

          20   Irwin Canada will obtain a direct ownership interest in DAI.

          21           2.   The Plan segregates Claims3 into Classes and treats them as summarized immediately

          22   below, which summaries are subject to the provisions specified in Article IV below and in Article III

          23   of the Plan. The following is a summary of the Plan:

          24

          25

          26   2
               The Debtors do not intend, nor should any provision of either the Plan or Disclosure Statement be
             construed, as an admission of any kind as to the nature, extent, or priority of any purported lien(s),
          27 encumbrance(s), or charge(s) of any kind, nature, or extent against the Debtors’ assets or property.
             3
          28   Any capitalized term not yet defined will be defined in Article II of this Disclosure Statement.

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                                                      Estimated Amount or Value of          Estimated Projected Payment /
           1   Class No.   Description
                                                      Claims as of the Effective Date       Treatment for Allowed Claims

           2                                                                                Full payment, subject to Bankruptcy
                                                                                            Court approval as may be required,
                           Administrative Claims      Estimated Between Approximately
           3     N/A                                                                        except as otherwise agreed by such
                           (Professional Fees)        $2 million and $2.5 million.
                                                                                            Professionals as set forth in the Plan
           4                                                                                Projections.

           5                                                                                Allowed Administrative Claims
                                                                                            representing post-Petition Date
           6                                                                                liabilities incurred by the Debtors in the
                                                                                            ordinary course of business, for which
                           Administrative Claims
           7                                                                                no approval by the Bankruptcy Court is
                           (Incurred in the
                 N/A                                  Estimated at $4 million               required, shall be paid in full in the
                           Ordinary Course of
           8                                                                                ordinary course of business in
                           Business)
                                                                                            accordance with the terms and
           9                                                                                conditions of the particular transaction
                                                                                            giving rise to such liabilities and any
          10                                                                                agreements relating thereto.
                           Priority Tax Claim of
          11                                                                                Full payment consistent with
                 N/A       Canada Revenue             Estimated at $17,438.37.
                                                                                            Bankruptcy Code section 1129(a)(9)(C).
                           Agency
          12               Priority Tax Claim of CA
                                                                                            Full payment consistent with
                 N/A       Department of Tax and      Estimated at $2,697.30.
          13                                                                                Bankruptcy Code section 1129(a)(9)(C).
                           Fee Administration

          14               Priority Tax Claim of                                            Full payment consistent with
                 N/A                                  Estimated at $907.62.
                           State of Washington                                              Bankruptcy Code section 1129(a)(9)(C).
          15               Secured claim of East
                                                                                            **The Debtors scheduled this claim as
                           West Bank, as Agent
          16                                                                                Unliquidated and Disputed. The
                           (“EWB”)
                                                                                            Debtors reserve their rights to bring
          17                                                                                claims against EWB – either through an
                           Collateral Description:
                                                                                            adversary proceeding and/or claim
                           Substantially all of the
          18                                                                                objection in this Court or in state court
                           Debtors’ assets (the
                                                                                            post-confirmation.
                           “Debtors’ Personal
          19                                          Filed Claim: None
                           Property”)                                                       Treatment A:
          20                                          Debtors’ Estimate of Claim for Plan   Treat both the term loan and revolver
                           Interest rate:
                                                      Treatment Purposes:                   loan as term loans, at the term loan
                           Non-Default (Term) –
          21                                          $18.65 million [approximately         contract rate of interest (Prime Plus 1%
                           Prime Plus 1% (Prime
                  1                                   $7.90 million for the term loan,      - Prime not less than 5%). Incurable
                           no less than 5%)
          22                                          and approximately $10.80 million      default clauses to be removed and
                                                      for the revolver].                    clauses related to non-operating
                           Interest rate: Non-
          23                                                                                entities to be removed.
                           Default (Revolver) –
                                                      Insider. EWB was in actual control
                           Prime (no less than 5%)                                          $1 mm paid quarterly, commencing
          24                                          of the Debtors pre-petition.
                                                                                            June 30, 2025. Additionally, 55% of net
                           Maturity Date –                                                  disposable income (“NDI”) shall be paid
          25               February 1, 2028                                                 quarterly to EWB. See Plan Projections
                                                                                            for details (Cash Available for
          26               *Debtors have                                                    Discretionary Debt Repayment). If the
                           significant claims                                               EWB claim is not paid in full prior to the
          27               against EWB and                                                  maturity date of February 1, 2028, the
                           reserve all their rights                                         Debtors shall pay the remaining lump
          28

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                                                    Estimated Amount or Value of          Estimated Projected Payment /
           1   Class No.   Description
                                                    Claims as of the Effective Date       Treatment for Allowed Claims
                           to assert those claims                                         sum to EWB on or before February 1,
           2                                                                              2028, through a cash payment or, if
                                                                                          needed, by obtaining replacement
           3                                                                              financing or through a sale of the
                                                                                          business.
           4
                                                                                          Lien: To the same extent and validity of
           5                                                                              its existing lien(s), EWB shall have a first
                                                                                          priority lien against the Debtors’
           6                                                                              Personal Property.
                                                                                          Collateral: EWB’s collateral shall
           7                                                                              continue to be the Debtors’ Personal
                                                                                          Property to the same extent and validity
           8                                                                              of EWB’s current interest in such
                                                                                          collateral.
           9
                                                                                          Such treatment shall be in full and
          10                                                                              complete satisfaction of the Class 1
                                                                                          claim. The Debtors shall have no other
          11                                                                              obligations under the requisite loan
                                                                                          agreements.
          12                                                                              Impaired; Entitled to Vote.

          13                                                                              Or, in the alternative,
                                                                                          Treatment B:
          14
                                                                                          The Debtors are in the process of
          15                                                                              soliciting exit financing. If they are
                                                                                          successful, they will file a separate
          16                                                                              motion for approval of such financing
                                                                                          and/or amend the Plan and this
          17                                                                              Disclosure Statement to include the
                                                                                          proposed terms. If the Debtors
          18                                                                              successfully obtain exit financing, then
                                                                                          they will pay EWB its allowed claim in
          19                                                                              full on the Effective Date, in which case
                                                                                          EWB would be unimpaired.
          20                                                                              Unimpaired; Not Entitled to Vote.

          21                                                                              Paid in full within 10 business days of
                  2        Wage Related Claims      $5,991.80                             the Effective Date.
          22
                                                                                          Not Impaired; Not Entitled to Vote
          23
                                                                                          Treatment:
                                                    Estimated at approximately $5 to
          24                                        $6 million. (This number is subject   Allowed General Unsecured Claims will
                                                    to change as follows: (a) the         be paid 35% of the NDI as set forth in
          25               General Unsecured
                                                    resolution of objections to           the Plan Projections (Cash Available for
                  3        Claims [Excluding
                                                    Disputed Claims; and (b) the          Discretionary Debt Repayment). If
          26               Insider Claims]
                                                    amount of rejection damages           Allowed General Unsecured Claims are
                                                    claims asserted by the former         not paid in full prior to February 1,
          27                                        landlord.)                            2028, the Debtors shall pay the
                                                                                          remaining balance of Allowed General
          28

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                                                      Estimated Amount or Value of        Estimated Projected Payment /
           1   Class No.   Description
                                                      Claims as of the Effective Date     Treatment for Allowed Claims
                                                      [This estimation does not include   Unsecured Claims in full on or before
           2                                          any intercompany claims as the      February 1, 2028.
                                                      Debtors’ have agreed to
           3                                                                              Impaired; Entitled to Vote
                                                      subordinate all of their
                                                      intercompany claims to those of
           4                                          General Unsecured Creditors.]

           5
                                                                                          Treatment:
           6                                                                              Mr. Irwin has agreed to subordinate his
                           General Unsecured          $1 million                          claim to all Allowed Claims in exchange
           7      4        Claim of Insider Klee                                          for Irwin Nevada agreeing that Mr. Irwin
                           Irwin                                                          can commence payments on his notes
           8                                                                              payable at the same time.

           9                                                                              Impaired; Entitled to Vote

                           Irwin Nevada                                                   Treatment: The shareholders of Irwin
          10
                           Equity Interests of Klee                                       Nevada shall retain their current equity
                           Irwin (90% Non-Voting                                          interests in Irwin Nevada. However, any
          11
                           Interest), Klee &          Irwin Nevada’s current equity       conversion rights held by the Non-
                  5        Margareth Irwin            holders who collectively own        Voting Interests to Irwin Canada shares
          12
                           Children’s Trust (10%      100% of the Debtor.                 shall be convertible to the new DAI
                           Non-Voting Interest)                                           shares.
          13
                           and DAI US HoldCo, Inc.
                           (100% Voting Interest)                                         Not Impaired; Not Entitled to Vote.
          14
                                                                                          Irwin Canada will be dissolved.
          15
                                                                                          Treatment: Irwin Canada’s current
          16                                                                              shareholders shall obtain effectively
                           Irwin Canada - Equity
                                                      Irwin Canada owns DAI, which        their same economic and voting interest
                  6        Interest of Public
          17                                          owns 2% of Irwin Nevada.            in DAI as they currently have in Irwin
                           Shareholders
                                                                                          Canada except that those shares will
          18                                                                              now be private shares.
                                                                                          Impaired; Entitled to Vote
          19
                                                                                          Treatment: The current equity
          20               DAI US HoldCo                                                  structure of DAI will be replaced. See
                  7        Owned 100% by Irwin                                            Class 6 for details.
          21               Canada
                                                                                          Impaired; Entitled to Vote
          22
                           5310 Holdings, LLC                                             Treatment: No change. To be owned
          23      8                                                                       100% by Irwin Nevada.
                           Owned 100% by Irwin
                           Nevada                                                         Not Impaired. Not entitled to vote.
          24

          25

          26

          27

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           1   A.     Purpose of this Disclosure Statement.

           2          This Disclosure Statement summarizes what is in the Plan, and tells you certain information

           3   relating to the Plan and the process the Bankruptcy Court follows in determining whether or not to

           4   confirm the Plan.

           5          READ THIS DISCLOSURE STATEMENT CAREFULLY IF YOU WANT TO

           6   KNOW ABOUT:

           7          (1)     WHO CAN VOTE OR OBJECT,

           8          (2)     WHAT THE TREATMENT OF YOUR CLAIM IS (i.e., what, if anything, your

           9   Claim will receive if the Plan is confirmed) AND HOW THIS TREATMENT COMPARES TO

          10   WHAT YOUR CLAIM WOULD LIKELY RECEIVE IN A HYPOTHETICAL CHAPTER 7

          11   LIQUIDATION,

          12          (3)     THE HISTORY OF THE DEBTORS AND SIGNIFICANT EVENTS DURING

          13   ITS BANKRUPTCY CASE,

          14          (4)     WHAT THINGS THE COURT WILL LOOK AT TO DECIDE WHETHER

          15   OR NOT TO CONFIRM THE PLAN,

          16          (5)     WHAT IS THE EFFECT OF CONFIRMATION, AND

          17          (6)     WHETHER THE PLAN IS FEASIBLE.

          18          This Disclosure Statement cannot tell you everything about your rights. The Debtors’

          19   counsel cannot tell you about your rights or offer any advice – especially legal advice. You are

          20   strongly encouraged to consult your own lawyer to obtain advice on how the Plan will affect you and

          21   what is the best course of action for you. This Disclosure Statement may not be relied on for any

          22   purpose other than providing you with adequate information, as required by the Bankruptcy Code, to

          23   assist you in determining whether to vote to accept or reject the Plan.

          24          Be sure to read the Plan as well as this Disclosure Statement. If there are any inconsistencies

          25   between the Plan and this Disclosure Statement, the Plan provisions will govern.

          26          The Bankruptcy Code requires a Disclosure Statement to contain “adequate information”

          27   concerning the Plan. The Bankruptcy Court has approved this document as an adequate Disclosure

          28   Statement, containing enough information to enable parties affected by the Plan to make an informed

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           1   judgment about the Plan. Any party can now solicit votes for or against the Plan.

           2          THE DEBTORS HAVE NOT AUTHORIZED ANY ENTITY TO GIVE ANY

           3   INFORMATION ABOUT OR CONCERNING THE PLAN OTHER THAN THAT WHICH

           4   IS CONTAINED IN THIS DISCLOSURE STATEMENT. THE DEBTORS HAVE NOT

           5   AUTHORIZED ANY REPRESENTATION CONCERNING THE DEBTORS, THE VALUE

           6   OF THEIR PROPERTY OR THE TERMS OF THE PLAN OTHER THAN AS SET FORTH

           7   IN THIS DISCLOSURE STATEMENT.

           8   B.     Purpose and Effect of the Plan.

           9          Chapter 11 is the principal business reorganization chapter of the Bankruptcy Code. Under

          10   chapter 11, a debtor is authorized to reorganize its business for the benefit of its creditors and

          11   shareholders. If reorganization is not feasible, chapter 11 allows a debtor to formulate and

          12   consummate a plan of liquidation, which sets forth the process for the orderly satisfaction of claims

          13   against and interests in a debtor pursuant to the priority rules of the Bankruptcy Code.

          14          Confirmation of a plan of reorganization by a bankruptcy court makes the plan binding upon

          15   the debtor and any creditor of or interest holder in a debtor, whether or not such creditor or interest

          16   holder (i) is impaired (i.e., will receive less than 100% of its allowed claim) under the plan, (ii) has

          17   accepted the plan, or (iii) receives or retains any property under the plan.

          18          In these chapter 11 Cases, the Plan provides for the Debtors to emerge from bankruptcy and

          19   for the distribution of certain funds to various holders of Allowed Claims as set forth under the Plan,

          20   and for the pursuit of certain claims and Causes of Action. Under the Plan, Claims against, and

          21   Equity Interests in, the Debtors are divided into Classes according to their relative seniority and

          22   other criteria as required under the Bankruptcy Code. If the Plan is confirmed by the Bankruptcy

          23   Court and ultimately consummated, the Claims and Equity Interests of the various Classes will be

          24   treated in accordance with the provisions in the Plan established for each Class.

          25          A summary of the Classes of Claims and Equity Interests, as well as their treatment under the

          26   Plan, is set forth above. A more detailed description of the Classes of Claims against the Debtors

          27   created under the Plan, the treatment of those Classes under the Plan and the property to be

          28   distributed under the Plan is described in Section IV below and in Section III of the Plan.

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           1   C.     Deadlines for Voting and Objecting; Date of Plan Confirmation Hearing.

           2          THE BANKRUPTCY COURT HAS NOT YET CONFIRMED THE PLAN DESCRIBED

           3   IN THIS DISCLOSURE STATEMENT. IN OTHER WORDS, THE TERMS OF THE PLAN ARE

           4   NOT YET BINDING ON ANYONE. HOWEVER, IF THE BANKRUPTCY COURT LATER

           5   CONFIRMS THE PLAN, THEN THE PLAN WILL BE BINDING ON ALL CREDITORS,

           6   INTEREST HOLDERS AND PARTIES IN INTEREST IN THESE CASES.

           7          1.      Time and Place of the Plan Confirmation Hearing

           8          The hearing where the Bankruptcy Court will determine whether or not to confirm the Plan

           9   (the “Confirmation Hearing”) will take place on ________________., before the Honorable Victoria

          10   S. Kaufman, United States Bankruptcy Judge for the Central District of California, in Courtroom

          11   “301” of the United States Bankruptcy Court, Central District of California (San Fernando Valley

          12   Division), located at 21041 Burbank Blvd., Woodland Hills, California 91367. The Confirmation

          13   Hearing will be held via ZoomGov. Hearing information is available at https://ecf-

          14   ciao.cacb.uscourts.gov/CiaoPosted/.

          15          2.      Deadline for Voting For or Against the Plan

          16          If you are entitled to vote, it is in your best interest to timely vote on the enclosed ballot

          17   (“Ballot”) sent to you as a PDF or via an electronic voting link, and return the Ballot via U.S. Mail,

          18 personal delivery, overnight mail or electronically to:
                                               Irwin Naturals Ballot Processing
          19                                    C/O Omni Agent Solutions, Inc.
                                                 5955 DeSoto Ave., Suite 100
          20                                      Woodland Hills, CA 91367
                                     https://omniagentsolutions.com/IrwinNaturals-Ballots
          21
               Your Ballot must be received by 10:00 p.m. Pacific time on _____________ or it will not be
          22
               counted.
          23
                      3.      Deadline for Objecting to the Confirmation of the Plan
          24
                      Objections to the Confirmation of the Plan must, by 10:00 p.m. Pacific time, on
          25
               _______________, (a) be filed with the Bankruptcy Court at 21041 Burbank Blvd., Woodland Hills,
          26
               CA 91367 and (b) be served upon the following:
          27

          28

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                               Debtors (Service Must be by Overnight, U.S. Mail or Messenger)
           1
                                                       Irwin Naturals et al.
           2                                      300 Corporate Pointe, Suite 550
                                                      Culver City, CA 90230
           3
                                                     Counsel for the Debtors
           4                                              Susan K. Seflin
                                                           BG Law LLP
           5                                       21650 Oxnard Street, Suite 500
                                                     Woodland Hills, CA 91367
           6                                            Fax: (818) 827-9099
                                                       Email: sseflin@bg.law
           7
                                                    Counsel for the Committee
           8                                            Jeffrey I. Golden
                                                     3070 Bristol St., Ste 640
           9                                          Costa Mesa, CA 92626
                                                       Fax: (714) 966-1002
          10                                         Email: jgolden@go2.law
          11                                    Office of the United States Trustee
                                                     Office of the U.S. Trustee
          12                                      915 Wilshire Blvd., Suite 1850
                                                      Los Angeles, CA 90017
          13                                      Email: kate.bunker@usdoj.gov
          14
               D.     Identity of Persons to Contact for More Information Regarding the Plan.
          15
                      Any interested party desiring further information about the Plan should contact Susan K.
          16
               Seflin, Esq., of BG Law LLP, 21650 Oxnard Street, Suite 500, Woodland Hills, California 91367,
          17
               Phone: (818) 827-9000, Email: sseflin@bg.law. Any request(s) for legal advice with respect to the
          18
               Plan, however, should be directed to your own counsel.
          19
               E.     Disclaimer.
          20
                      The financial data relied upon in formulating the Plan is based on the Debtors’ books and
          21
               records which, unless otherwise indicated, are unaudited. Except as expressly stated, the
          22
               information contained in this Disclosure Statement is provided by the Debtors. The Debtors
          23
               represent that everything stated in this Disclosure Statement is true to the best of the Debtors’
          24
               knowledge. The Bankruptcy Court has not yet determined whether the Plan is confirmable and
          25
               makes no representation as to whether you should support or oppose confirmation of the Plan.
          26
                      The contents of the Disclosure Statement should not be construed as legal, business or tax
          27
               advice from the Debtors or their counsel.
          28

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           1          THIS DISCLOSURE STATEMENT IS NOT INTENDED TO REPLACE A

           2   CAREFUL AND DETAILED REVIEW OF THE PLAN BY EACH HOLDER OF A CLAIM

           3   OR INTEREST. THIS DISCLOSURE STATEMENT IS INTENDED TO AID AND

           4   SUPPLEMENT SUCH REVIEW. THIS DISCLOSURE STATEMENT IS QUALIFIED IN

           5   ITS ENTIRETY BY REFERENCE TO THE PLAN. THE PLAN IS THE OPERATIVE

           6   CONTROLLING LEGAL DOCUMENT. AS SUCH, IF THERE IS ANY INCONSISTENCY

           7   BETWEEN THE TERMS AND PROVISIONS OF THIS DISCLOSURE STATEMENT AND

           8   THE PLAN, THEN THE TERMS AND PROVISIONS OF THE PLAN SHALL CONTROL.

           9   NEITHER THE PLAN, NOR THE DISCLOSURE STATEMENT, SHOULD BE

          10   CONSTRUED AS LEGAL, BUSINESS OR TAX ADVICE FROM THE DEBTORS OR

          11   THEIR COUNSEL.

          12          BG LAW LLP COMMENCED REPRESENTATION AS GENERAL

          13   RESTRUCTURING COUNSEL TO THE DEBTORS IN AUGUST OF 2024 AND HAS

          14   RELIED UPON INFORMATION DEVELOPED SINCE THEN IN CONNECTION WITH

          15   THE PREPARATION OF THIS DISCLOSURE STATEMENT. PROVINCE, LLC WAS

          16   RETAINED AS FINANCIAL ADVISOR FOR THE COMPANY IN AUGUST OF 2024 AND

          17   HAS RELIED UPON INFORMATION RECEIVED FROM THE DEBTORS TO PREPARE

          18   THE LIQUIDATION ANALYSIS AND FINANCIAL PROJECTIONS ATTACHED AS

          19   EXHIBITS.

          20   F.     Forward-Looking Statements.

          21          CERTAIN OF THE INFORMATION CONTAINED IN THIS DISCLOSURE

          22   STATEMENT IS BY ITS NATURE FORWARD LOOKING AND CONTAINS ESTIMATES

          23   AND ASSUMPTIONS THAT MAY BE MATERIALLY DIFFERENT FROM ACTUAL,

          24   FUTURE RESULTS. Except as otherwise specifically and expressly stated herein, this Disclosure

          25   Statement does not reflect any events that may occur subsequent to the date hereof and that may

          26   have a material impact on the information contained in this Disclosure Statement. The Debtors do

          27   not anticipate that any amendments or supplements to this Disclosure Statement will be distributed

          28   to reflect such occurrences. Accordingly, the filing of this Disclosure Statement shall not under any

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           1   circumstance imply that the information herein is correct or complete as of any time subsequent to

           2   the date hereof.

           3          THE FINANCIAL INFORMATION CONTAINED HEREIN HAS NOT BEEN AUDITED

           4   BY A CERTIFIED PUBLIC ACCOUNTING FIRM AND HAS NOT BEEN PREPARED IN

           5   ACCORDANCE WITH GENERALLY ACCEPTED ACCOUNTING PRINCIPLES.

           6                                 II.     DEFINITIONS AND EXHIBITS

           7   A.     Definitions.

           8          For the purposes of this Disclosure Statement, except as expressly provided or unless the

           9   context otherwise requires, all capitalized terms not otherwise defined shall have the meanings

          10   ascribed to them in this Article II. Any term used in this Disclosure Statement that is not defined

          11   herein, but is defined in the Bankruptcy Code or the Bankruptcy Rules, shall have the meaning(s)

          12   ascribed to such terms in the Bankruptcy Code or the Bankruptcy Rules, in that order or priority.

          13   Throughout this Disclosure Statement, the use of the masculine, feminine, neuter, plural or singular

          14   shall be understood to include each of the others as the context may reasonably dictate. As used in

          15   this Disclosure Statement, the following definitions shall apply:

          16                  1.      5310. One of the four jointly administered affiliated Debtors, 5310 Holdings,

          17   LLC (“5310”), Case No. 1:24-bk-11325-VK, is a wholly owned subsidiary of Irwin Nevada, and

          18   owns substantially all of the Debtors’ intellectual property.

          19                  2.      Administrative Claim. A Claim for costs and expenses of administration

          20   allowed under Section 503(b) of the Bankruptcy Code and referred to in Section 507(a)(2) of the

          21   Bankruptcy Code including, without limitation: (a) the actual and necessary costs and expenses

          22   incurred after the Petition Date of preserving the Estates and operating the business of the Debtors

          23   (such as wages, salaries or commissions for services); (b) compensation for legal, financial advisory,

          24   accounting and other services, and reimbursement of expenses awarded or allowed under Sections

          25   330(a) or 331 of the Bankruptcy Code; and (c) all fees and charges assessed against the Estate under

          26   28 U.S.C. § 1930.

          27                  3.      Administrative Claims Bar Date. The date which is thirty (30) days after

          28   the Effective Date.

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           1                   4.      Allowed Administrative Claim. An Administrative Claim which is an

           2   Allowed Claim.

           3                   5.      Allowed Claim. A Claim against the Debtors and/or the Estates as to which

           4   no objection has been filed, or if an objection has been filed, has either been overruled or otherwise

           5   resolved by the allowance of such Claim by the Bankruptcy Court, if the Claim was: (1) scheduled in

           6   the list of creditors prepared and filed with the Bankruptcy Court by the Debtors and not listed as

           7   disputed, contingent or unliquidated as to amount; or (2) the subject of a timely filed proof of claim;

           8   or (3) which has been allowed by order of the Bankruptcy Court.

           9                   6.      Allowed Priority Claim. A Priority Claim which is an Allowed Claim.

          10                   7.      Allowed Priority Tax Claim. A Priority Tax Claim which is an Allowed

          11   Claim.

          12                   8.      Allowed Professional Fees. The amount of fees and costs incurred by

          13   Professionals engaged by the Debtors or the Committee in connection with the Cases which are (1)

          14   timely requested by application filed on or prior to the Administrative Claims Bar Date; and (2)

          15   which are allowed by order of the Bankruptcy Court.

          16                   9.      Allowed Secured Claim. A Secured Claim which is an Allowed Claim.

          17                   10.     Allowed General Unsecured Claim. A General Unsecured Claim which is

          18   an Allowed Claim.

          19                   11.     Assets. All tangible and intangible assets of every kind and nature of the

          20   Debtors and their Estates, and all proceeds thereof, wherever located, as of the Effective Date.

          21                   12.     Avoidance Actions. Causes of Action arising under Bankruptcy Code

          22   sections 510, 541, 542, 544, 545, 547 through 551 and/or 553, or under related state or federal

          23   statutes and common law including, without limitation, fraudulent transfer laws, whether or not

          24   litigation is commenced to prosecute such Causes of Action.

          25                   13.     Ballot. The form of ballot or ballots that will be distributed electronically

          26   with the Disclosure Statement to holders of Claims entitled to vote under the Plan in connection with

          27   the solicitation of votes to accept or to reject the Plan.

          28                   14.     Bankruptcy Code. Title 11 of the United States Code (11 U.S.C. §§ 101 et

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           1   seq.), as now in effect or hereafter amended. All citations in the Disclosure Statement or in the Plan

           2   to section numbers are to the Bankruptcy Code unless otherwise expressly indicated.

           3                  15.      Bankruptcy Court. The United States Bankruptcy Court for the Central

           4   District of California (San Fernando Valley Division), or such other federal court with competent

           5   jurisdiction over the Cases.

           6                  16.      Bankruptcy Rules. Federal Rules of Bankruptcy Procedure, as now in effect

           7   or hereafter amended.

           8                  17.      Bar Date. December 20, 2024 for non-governmental creditors; and February

           9   5, 2025 for governmental units.

          10                  18.      Business Day. Any day, other than a Saturday, Sunday or legal holiday as

          11   defined in Bankruptcy Rule 9006(a).

          12                  19.      Cases. This Chapter 11 bankruptcy cases, filed by the Debtors, pending in the

          13   Bankruptcy Court and jointly administered under Case No. 1:24-bk-11323-VK.

          14                  20.      Cash. Currency, checks, negotiable instruments and wire transfers of

          15   immediately available funds.

          16                  21.      Causes of Action. Any and all causes of action, Avoidance Actions, suits,

          17   rights of action, rights to legal remedies, rights to equitable remedies, rights to payment of any

          18   amounts owing to the Debtors or the Estates for any reason whatsoever, whether known, unknown,

          19   reduced to judgment, not reduced to judgment, liquidated, unliquidated, fixed, contingent, matured,

          20   unmatured, disputed, undisputed, secured or unsecured, and whether asserted or assertable directly

          21   or derivatively, in law, equity or otherwise, that the Debtors and/or Estates may hold against any

          22   Person but excluding those Persons who are released or exculpated, or against whom claims were

          23   waived, pursuant to the Plan.

          24                  22.      Claim. Any right to payment, whether or not such right is reduced to

          25   judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed,

          26   legal, equitable, secured or unsecured, against the Debtors and/or the Estates, and any right to any

          27   legal or equitable remedy for breach of any obligation giving rise to a right to payment, whether or

          28   not such right is an equitable remedy or is reduced to judgment, liquidated, unliquidated, fixed,

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           1   contingent, matured, unmatured, disputed, undisputed, secured or unsecured, against the Debtors

           2   and/or the Estates.

           3                   23.      Claimant. A Person who holds a Claim.

           4                   24.      Claim Chart. Exhibit A to the Disclosure Statement which lists all Claims

           5   filed against the Debtors as of the date reflected therein.

           6                   25.      Claims Objection Deadline. Two hundred and seventy (270) days following

           7   the Effective Date, which date may be extended by the Bankruptcy Court upon motion of any party

           8   in interest for cause.

           9                   26.      Class. A category of Claims which are substantially similar to each other and

          10   into which Allowed Claims are grouped and classified pursuant to the Plan, unless a member of the

          11   Class has agreed to a subordinated treatment. The Classes provided for in the Plan are summarized

          12   in Article IV of the Disclosure Statement and Article III of the Plan.

          13                   27.      Committee. The Official Committee of Unsecured Creditors appointed by

          14   the OUST on August 31, 2024 [Doc. No. 69] in the bankruptcy cases of Irwin Nevada and Irwin

          15   Canada, pursuant to § 1102 of the Bankruptcy Code.

          16                   28.      Confirmation. The entry of the Confirmation Order on the docket of the

          17   Bankruptcy Court.

          18                   29.      Confirmation Date. The date upon which the Confirmation occurs.

          19                   30.      Confirmation Hearing. The hearing or hearings held by the Bankruptcy

          20   Court to consider and rule upon the Debtors’ request for confirmation of the Plan.

          21                   31.      Confirmation Order. The order entered by the Bankruptcy Court confirming

          22   the Plan.

          23                   32.      Creditor. A Person asserting a Claim; aka a Claimant.

          24                   33.      Cure Claim. A claim based upon the Debtors’ default on an Executory

          25   Contract or Unexpired Lease at the time such contract or lease is assumed by the Debtors under

          26   sections 365 or 1123 of the Bankruptcy Code.

          27

          28

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           1                  34.      DAI. One of the four jointly administered affiliated Debtors, DAI US HoldCo,

           2   Inc. (“DAI”), Case No. 1:24-bk-11326-VK, is a holding company that owns 2% of Irwin Nevada as

           3   of the Petition Date.

           4                  35.      Debtors. Irwin Nevada, Irwin Canada, 5310 and DAI, the jointly

           5   administered chapter 11 debtors in these Cases.

           6                  36.      Disallowed. With respect to a Claim, or any portion thereof, that (a) has been

           7   disallowed by a Final Order, (b) is Scheduled at zero, or as contingent, disputed or unliquidated and

           8   as to which no Proof of Claim has been filed by the applicable Bar Date or deemed timely filed

           9   pursuant to either the Bankruptcy Code or any Final Order or under applicable law, or (c) is not

          10   Scheduled, and as to which (i) no Proof of Claim has been filed by the applicable Bar Date or

          11   deemed timely filed pursuant to either the Bankruptcy Code or any Final Order or under applicable

          12   law, or (ii) no request for payment of an Administrative Claim has been filed by the Administrative

          13   Claims Bar Date, as appropriate, or deemed timely filed pursuant to either the Bankruptcy Code or

          14   any Final Order or under applicable law.

          15                  37.      Disbursing Agent. Irwin Nevada will be the Disbursing Agent under the

          16   Plan.

          17                  38.      Disclosure Statement. This Disclosure Statement (as may be further

          18   amended or modified) prepared by the Debtors as required by § 1125 of the Bankruptcy Code

          19   describing the Plan.

          20                  39.      Disputed Claim. Disputed Claims include: (i) a Claim which has been

          21   scheduled as disputed, contingent or unliquidated where a Proof of Claim has not been timely filed

          22   thereafter; (ii) a Claim as to which an objection has been timely filed with the Bankruptcy Court, and

          23   which objection has not been withdrawn on or before any date fixed for filing such objections by the

          24   Plan or by order of the Bankruptcy Court and has not been overruled or denied by a Final Order; and

          25   (iii) any Claim listed as a Disputed Claim on the Claim Chart.

          26                  40.      Distribution(s). Any distribution by the Reorganized Debtors to any Class,

          27   Claimant or Creditor.

          28                  41.      Effective Date. The second Business Day after the Confirmation Date,

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           1   provided that the Bankruptcy Court has waived the provisions of Bankruptcy Rule 3020(e) and no

           2   stay of the Confirmation Order is in effect. If the Bankruptcy Court does not waive the provisions of

           3   Bankruptcy Rule 3020(e), then the Effective Date will be the second Business Day which is at least

           4   fifteen (15) days following the date of entry of the Confirmation Order, providing there has been no

           5   appeal from and order staying the effectiveness of the Confirmation Order. If there has been an

           6   order entered staying the effectiveness of the Confirmation Order, the Effective Date shall be the

           7   second Business Day after the stay is no longer in effect with respect to the Confirmation Order.

           8                  42.     Equity Interest. An “equity security” as defined in § 101(16) of the

           9   Bankruptcy Code.

          10                  43.     Equity Holder(s). A holder of any Equity Interest of any of the Debtors.

          11                  44.     Estates. The estates of the Debtors created upon commencement of the Cases

          12   pursuant to § 541 of the Bankruptcy Code.

          13                  45.     Exit Financing. Financing in an undetermined amount that may be obtained

          14   by the Debtors to fund all or part of their Distributions to Creditors.

          15                  46.     Executory Contract. A contract to which the Debtors are a party that is

          16   subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.

          17                  47.     EWB. The Debtors’ disputed secured creditor, East West Bank, as Agent

          18   (“EWB”).

          19                  48.     Final Fee Application(s). The final request for payment of Professional Fee

          20   Claims.

          21                  49.     Final DIP Order. The Final Order: (I) Authorizing Debtor to Obtain Post-

          22   Petition Financing, (II) Granting Liens and Administrative Expense Claims, (III) Authorizing

          23   Debtors’ Use of Cash Collateral, (IV) Modifying the Automatic Stay, and (V) Granting Other

          24   Related Relief [Doc. No____] entered by the Bankruptcy Court on ______________.

          25                  50.     Final Order. An order or judgment of the Bankruptcy Court, as entered on

          26   the applicable docket, that has not been reversed, stayed, modified or amended, and as to which the

          27   time to appeal, petition for certiorari, or move for re-argument or rehearing has expired, and as to

          28   which no appeal, petition for certiorari, or other proceedings for re-argument or rehearing shall then

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           1   be pending, or as to which any right to appeal, petition for certiorari, reargue, or rehear have been

           2   waived in writing in form and substance satisfactory to the Debtors prior to the Effective Date, or to

           3   the Reorganized Debtors after the Effective Date, or, in the event that an appeal, writ of certiorari, or

           4   re-argument or rehearing thereof has been sought, such order or judgment of the Bankruptcy Court

           5   shall have been affirmed by the highest court to which such order or judgment was appealed, or

           6   certiorari has been denied, or from which re-argument or rehearing was sought and denied, and the

           7   time to take any further appeal, petition for certiorari or move for re-argument or rehearing shall

           8   have expired.

           9                   51.    General Unsecured Claim. A Claim against the Debtors that is not secured

          10   by a charge against, or interest in, any of the Debtors’ Assets, that is not an Administrative Claim, a

          11   Priority Claim, or a Priority Tax Claim.

          12                   52.    Holder(s). A Person holding a Claim or Interest against the Debtors,

          13   provided, however, with respect to transfers of Claims governed by Bankruptcy Rule 3001(e), in

          14   order for the transferor to be deemed the Holder of the Claim for distribution purposes, the deadline

          15   for any objection to the proposed transfer of a Claim must have passed with either (1) no objection to

          16   the transfer having been filed, or (2) any objection to such transfer having been resolved in favor of

          17   the transferor by no later than the Confirmation Date. In other words, after the Effective Date,

          18   without the express consent of the Reorganized Debtors, no transfer of Claims will be recognized by

          19   the Reorganized Debtors for Distributions made pursuant to the Plan.

          20                   53.    Impaired. When used in reference to a Claim, Interest or Class, a Claim,

          21   Interest or Class that is impaired within the meaning of § 1124 of Bankruptcy Code.

          22                   54.    Interest. When “Interest” is used in the context of holding an equity security

          23   or unit of the Debtors (and not used to denote (i) the compensation paid for the use of money for a

          24   specified time and usually denoted as a percentage rate of interest on a principal sum of money, or

          25   (ii) a security interest in property), then “Interest” shall mean an interest or share in the Debtors of

          26   the type described in the definition of “Equity Interest.”

          27                   55.    Irwin Canada. One of the four jointly administered affiliated Debtors, Irwin

          28   Naturals, Inc., a British Colombia corporation (“Irwin Canada”), Case No. 1:24-bk-11324-VK, is

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           1   currently the ultimate parent of all the other Debtors and it is a public company. Irwin Canada will

           2   be dissolved as of the Effective Date.

           3                  56.    Irwin Nevada. One of the four jointly administered affiliated Debtors, Irwin

           4   Naturals, a Nevada corporation (“Irwin Nevada), Case No. 1:24-bk-11323-VK, is the operating

           5   entity.

           6                  57.    Litigation Claims. Any and all Causes of Action of the Effective Date,

           7   including without limitation all causes of action arising under chapter 5 of the Bankruptcy Code,

           8   including without limitation those causes of actions which could be brought by the Debtors under

           9   one or more of sections 542, 543, 544, 545, 547, 548, 549, 550, 551, 552, and 553 of the Bankruptcy

          10   Code against any Person or other entity, including any governmental entity, who received an

          11   avoidable transfer from the Debtors, including but not limited to insiders, employees, officers, and

          12   equity holders of the Debtors. Although the Debtors has not concluded its investigation of all the

          13   potential Litigation Claims and all the potential parties to such claims, a non-exclusive summary of

          14   known potential Litigation Claims is described in the Disclosure Statement.

          15                  58.    New Equity Interests. The new equity interests to be issued on the Effective

          16   Date to shareholders of Irwin Canada.

          17                  59.    Noticing Agent. Omni is the claims and noticing agent employed in the

          18   Debtors’ bankruptcy cases.

          19                  60.    OUST. Office of the United States Trustee for Region 16.

          20                  61.    Person. Person shall have the same meaning as in § 101(41) of the

          21   Bankruptcy Code.

          22                  62.    Petition Date. August 9, 2024, the date on which the Debtors filed their

          23   respective voluntary petition for relief under chapter 11, thereby commencing these Cases.

          24                  63.    Plan. The Debtors’ Chapter 11 Plan of Reorganization (as may be further

          25   amended or modified) proposed by the Debtors and including, without limitation, all exhibits,

          26   supplements, appendices and schedules thereto, either in its present form or as it may be altered,

          27   amended, supplemented, or modified from time to time.

          28                  64.    Plan Projections. The Plan Projections are attached hereto as Exhibit B.

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           1                  65.     Plan Supplement. Collectively, the compilation of documents and forms of

           2   documents, and all exhibits, attachments, schedules, agreements, documents and instruments

           3   referred to therein, ancillary or otherwise, all of which are incorporated by reference into, and are an

           4   integral part of, the Plan, as all of the same may be amended, modified, replaced and/or

           5   supplemented from time to time in accordance with the terms hereof and the Bankruptcy Code and

           6   the Bankruptcy Rules. The Plan Supplement shall be filed with the Bankruptcy Court by no later

           7   than ___________________.

           8                  66.     Post-Confirmation Status Report. The post-confirmation status report to be

           9   filed by the Reorganized Debtors if so ordered by the Bankruptcy Court.

          10                  67.     Priority Claim. A Claim entitled to priority under § 507(a) of the

          11   Bankruptcy Code, other than a Priority Tax Claim pursuant to § 507(a)(8) of the Bankruptcy Code.

          12                  68.     Priority Tax Claim. A Claim entitled to priority under § 507(a)(8) of the

          13   Bankruptcy Code.

          14                  69.     Professional Fee Applications. Applications filed pursuant to sections 330,

          15   331 or 503(b)(4) of the Bankruptcy Code for allowance of Administrative Claims relating to the

          16   compensation and reimbursement of expenses of Professionals employed pursuant to an order of the

          17   Bankruptcy Court under sections 327 or 1103 of the Bankruptcy Code for services provided and

          18   expenses incurred prior to the Effective Date.

          19                  70.     Professional Fee Claims. (A) a claim under sections 327, 328, 330, 331,

          20   503(b), 1103 or 1106 of the Bankruptcy Code for compensation for professional services rendered or

          21   expenses incurred on and after the Petition Date and prior to the Effective Date on behalf of the

          22   Estate by a Professional duly employed and authorized by an Order of the Bankruptcy Court; or (b) a

          23   claim under § 503(b)(4) of the Bankruptcy Code for reasonable compensation for professional

          24   services rendered by an attorney or accountant of an entity whose expense is allowable under §

          25   503(b)(3)(D) of the Bankruptcy Code for making a substantial contribution to the Estates.

          26                  71.     Professionals. Those Persons (i) that are subject to the retention pursuant to

          27   an order of the Bankruptcy Court in accordance with sections 327, 1103 and/or 1106 of the

          28   Bankruptcy Code and to be compensated for services rendered prior to the Effective Date pursuant

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           1   to sections 327, 328, 329, 330 and 331 of the Bankruptcy Code or (ii) for which compensation and

           2   reimbursement has been allowed by the Bankruptcy Court pursuant to sections 330 and 503(b)(2) of

           3   the Bankruptcy Code.

           4                  72.     Proponents. The proponents of the Plan are the Debtors.

           5                  73.     Pro Rata. Pro rata means proportionate so that the ratio of (a) the amount of

           6   consideration distributed on account of an Allowed Claim to (b) the amount of the Allowed Claim is

           7   the same as the ratio of (x) the amount of consideration available for distribution on account of all

           8   Allowed Claims in the Class in which the Allowed Claim is included to (y) the amount of all

           9   Allowed Claims in that Class.

          10                  74.     Reorganized Debtors. Irwin Nevada, DAI and 5310 following the

          11   occurrence of the Effective Date (as Irwin Canada will be dissolved).

          12                  75.     Reserve Account. An account created, and in an amount determined, by the

          13   Reorganized Debtors pending the resolution of a Disputed Claim, containing a sufficient amount to

          14   satisfy such Disputed Claim in a manner consistent with that Claim’s treatment under the Plan

          15   should it ultimately become an Allowed Claim.

          16                  76.     Scheduled. Scheduled means the information set forth in the Schedules.

          17                  77.     Schedules. The Schedules of Assets and Liabilities filed by the Debtors in

          18   accordance with § 521 of the Bankruptcy Code and Bankruptcy Rule 1007, as the same may be

          19   amended from time to time in accordance with Bankruptcy Rule 1009 prior to the Effective Date.

          20   Irwin Nevada’s Schedules: Doc. No. 96; Irwin Canada’s Schedules: Doc. No. 16 in 1:24-bk-11324-

          21   VK; 5310’s Schedules: Doc. No. 16 in 1:24-bk-11325-VK; DAI’s Schedules: Doc. No. 16 in 1:24-

          22   11326-VK.

          23                  78.     Secured Claim. A Claim that is secured by a lien against any Assets to the

          24   extent of the value of the Estate’s interest in such Assets, or to the extent of the amount of such

          25   Claim subject to setoff in accordance with § 553 of the Bankruptcy Code, in either case determined

          26   pursuant to § 506(a) of the Bankruptcy Code.

          27                  79.     Unclaimed Distribution. Any Distribution made by the Reorganized Debtors

          28   or the Disbursing Agent to the address of the recipient reflected in the Schedules (or on any Proof of

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           1   Claim filed by the Claimant), by: (a) checks which have been returned as undeliverable without a

           2   proper forwarding address; (b) checks which were not mailed or delivered because of the absence of

           3   a proper address to which to mail or deliver the same; (c) checks which have not been cashed for a

           4   period of ninety (90) days after the date such checks were issued, or (d) disbursements that were not

           5   made because the Holder of such Allowed Claim failed to provide required tax information within

           6   forty-five (45) days after the Reorganized Debtors or the Disbursing Agent have sent any request for

           7   same to such Claimant’s address as reflected in the Schedules and/or such Claimant’s Proof of

           8   Claim.

           9                   80.     Unclassified Claim. Any Claim which is not part of any Class, including

          10   Administrative Claims and Priority Tax Claims.

          11                   81.     Unimpaired. A Claim is unimpaired when it is within a class that is not

          12   impaired within the meaning of § 1124 of the Bankruptcy Code.

          13                   82.     Unsecured Claim. Any Claim, including without limitation any claim arising

          14   under § 502(g) of the Bankruptcy Code, that is not secured by a lien on, security interest in, or

          15   charge against, any Asset.

          16   B.       Exhibits.

          17            All Exhibits to this Disclosure Statement are incorporated into and are part of this Disclosure

          18   Statement as if set forth in full herein.

          19   C.       Computing Time Periods.

          20            In computing any period of time prescribed or contemplated by the Plan, Bankruptcy Rule

          21   9006(a) shall apply.

          22   D.       Notices and Delivery of Documents.

          23            All notices, correspondence, and other deliveries under the Plan must be directed as follows:

          24                  To the Debtors or Reorganized             Irwin Naturals et al
                              Debtors:                                  300 Corporate Pointe, Suite 550
          25                                                            Culver City, CA 90230
          26

          27

          28

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           1                  With a Copy to:                          Susan K. Seflin
                                                                       BG Law LLP
           2                                                           21650 Oxnard St., Suite 500
                                                                       Woodland Hills, CA 91367
           3                                                           Fax: (818) 827-9099
                                                                       Email: sseflin@bg.law
           4

           5                                          III.    BACKGROUND

           6
               A.       Description and History of the Debtors’ Business and a Summary of the Circumstances
           7
                        that Led to the Filing of the Debtors’ Chapter 11 Cases.
           8
                        1.     General Background.
           9
                        Irwin Nevada is a popular dietary supplement company that was founded in 1994, the same
          10
               year that Congress first enacted legislation to define and regulate dietary supplements. Irwin Nevada
          11
               formulates, markets, and distributes vitamins and supplements. In addition to its Irwin Naturals®
          12
               supplement brand, Irwin Nevada also has two other supplement brands, Nature’s Secret® and
          13
               Applied Nutrition®. Irwin Nevada’s product line currently includes over 130 formulas, which are
          14
               distributed in more than 100,000 retail locations, including stores like Costco, Walmart, and CVS.
          15
               The Debtors’ 2023 gross sales were $102 million. Irwin Nevada’s website is
          16
               https://irwinnaturals.com/.
          17
                        Irwin Nevada has a number of subsidiaries and affiliates including related debtors Irwin
          18
               Canada, DAI, and Holdings. Irwin Nevada is the operating entity through with the Debtors’
          19
               nutraceutical business is conducted. Irwin Canada is the ultimate “parent company” of the Debtors.
          20
               Irwin Canada does not have any employees and only transacts limited business with its subsidiaries.
          21
               DAI is a wholly owned subsidiary of Irwin Canada. DAI is solely a holding company, which holds
          22
               2% of Irwin Nevada. Klee Irwin, Irwin Nevada’s CEO, and his family trust directly or indirectly
          23
               own the majority of the Debtors’ and have control over the Debtors.
          24
                        For almost three decades, Irwin Nevada enjoyed financial stability and profitability from its
          25
               long-trusted dietary supplement brands.4 In or around 2020, Irwin Nevada sought to expand its
          26

          27
               4
          28       On an adjusted EBITDA basis, when accounting for extraordinary expenses.

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           1   footprint and saw two unique opportunities for growth. First, Irwin Nevada sought to go public. It

           2   began this process in August 2021 through a reverse-takeover transaction by Irwin Canada, which

           3   was an existing Canadian public company that formerly went by a different name. After being listed

           4   on the Canadian Securities Exchange (“CSE”) through Irwin Canada, the ultimate goal was uplist to

           5   the Nasdaq Exchange and have an initial public offering in the United States (the “Uplisting”). The

           6   compliance costs ended up being unjustified relative to the little benefit brought to the Debtors by

           7   the initiative.

           8           Second, amid the mental health crisis exacerbated by the COVID-19 pandemic, Irwin

           9   Nevada embarked on a plan to become the world’s first and largest household brand of psychedelic

          10   mental health clinics. To do so, it formed a new subsidiary: Irwin Naturals Emergence, Inc.

          11   (“Emergence”; together with the Debtors, the “Irwin Companies”). Emergence would act as the

          12   much-needed gateway between big pharmaceutical companies and the many patients in need of

          13   mental health care. This new business venture involved Emergence completing an M&A roll-up of

          14   existing psychedelic mental health clinics, with the intent of capitalizing on the long-established

          15   Irwin Naturals® brand and utilizing economies of scale to drive down clinic operating costs (the

          16   “Roll-Up”).

          17           2.        The Debtors’ Prepetition Lenders and Events Leading to the Debtors’ Chapter

          18                     11 Filings.

          19           In the fall of 2022, East West Bank, as Agent (“EWB”) and CFG Bank (“CFG” and

          20   collectively, with EWB, the “Lenders”) agreed to form a syndicate, wherein EWB would be the

          21   main lender in a new lending facility focused on providing cash for the roll-up that the Debtors and

          22   Emergence could use to fund acquisitions.

          23           At the beginning of 2023, the Irwin Companies secured a credit facility (“Credit Facility”)

          24   from EWB, as agent for the syndicate, for up to $40.0 million in up to two equal parts: (1) up to a

          25   $20 million revolving line of credit that was meant to support Irwin Nevada’s day-to-day operations

          26   (the “Line of Credit”), a version of which was already in place as of December 2021 between EWB

          27   and the Debtors and was to be replaced by this new Credit Facility; and (2) a $20 million delayed-

          28   draw term loan facility (the “Term Loan”) that was meant to support Emergence’s clinic roll-up.

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           1   The Credit Facility was and is governed by a credit agreement (“Credit Agreement”). As of the

           2   petition date, EWB asserted that it is owed approximately $19 million, which the Debtors dispute.

           3          Unfortunately, neither the Uplisting nor the Roll-Up panned out as planned; both efforts

           4   caused the Debtors’ usually profitable business to suffer financial constraints, losses, and debts.

           5   These endeavors, and efforts to salvage them, resulted in tens of millions of dollars of losses and/or

           6   liabilities. In addition, Irwin Nevada’s typically strong sales numbers began to take a hit in or

           7   around March of 2023. The unexpected downturn was attributable to many factors outside of the

           8   Debtors’ control, including extraordinarily high returns from retailers that were not on par with

           9   historical figures and projections, a downturn in the retail market generally, and the unexpectedly

          10   slow growth of digital sales.

          11          To add to the Debtors’ financial burden, EWB, exerted excessive and unreasonable control

          12   over their business affairs and imposed unconscionable constraints on the Debtors. After having the

          13   Credit Facility for a little over a year, the Irwin Companies received three notices of default from

          14   EWB for failure to meet certain technical covenants of the Credit Agreement. Notwithstanding that

          15   the Irwin Companies had never been late on any debt service payments to EWB, and had been

          16   transparent and cooperative with EWB, including communicating with EWB regularly regarding

          17   their current states of affairs, their day-to-day actions and expenditures, and their plans to turn their

          18   financial state around. Indeed, pre-petition, the Irwin Companies undertook tremendous efforts to

          19   continue to support their operations and meet their obligations despite their financial hardship.

          20   Those efforts included renegotiating payment terms with customers and suppliers, exploring options

          21   to amend or refinance their debt, reducing operating costs and expenditures, conducting multiple

          22   rounds of personnel layoffs, terminating as many third-party contracts and services as possible,

          23   closing the debt-accruing Emergence clinics, and more.

          24          As the Irwin Companies attempted to pull themselves out of their financial difficulties, EWB

          25   engaged in numerous instances of misconduct. EWB’s alleged misconduct includes, but is not

          26   limited to, exerting undue, unreasonable, and excessive control over the Irwin Companies’

          27   operations, finances, and decision-making. Indeed, at the time these cases were filed, EWB was

          28   sweeping the Debtors’ bank accounts daily (which left the Debtors with no liquidity other than what

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           1   EWB determined was necessary to pay). The Debtors filed these cases to regain control over their

           2   businesses and to reorganize their debt in order to return to their prior financial stability and

           3   profitability.

           4           Other than the lienholders disclosed above, there are no other parties that assert a security

           5   interest against the Debtors or their assets.

           6           3.       The Debtors’ Other Indebtedness.

           7           The Debtors believes that they have approximately $5 million in valid general unsecured

           8   debt as of the date this Disclosure Statement was filed.

           9   B.      Management, Principals, and Affiliates of the Debtors’ Business.

          10           At the time of the Petition Date and as of the date of the filing of this Disclosure Statement,

          11   Klee Irwin was, and is, the Chief Executive Officer (“CEO”) of Irwin Nevada, Irwin Canada and

          12   DAI. The managing member of 5310 is Irwin Nevada. Mr. Irwin founded the Debtors’

          13   nutraceutical business in 1994. Irwin Nevada, successor in interest to a prior entity, was

          14   incorporated in Nevada in January 2002.

          15           Irwin Nevada is the operating entity through which the Debtors’ nutraceutical business is

          16   conducted. Irwin Canada is the ultimate “parent company” of the Debtors. Irwin Canada does not

          17   have any employees and only transacts limited business with its subsidiaries. DAI is a wholly owned

          18   subsidiary of Irwin Canada. DAI is solely a holding company that owns 100% of the Class A Voting

          19   Shares of Irwin Nevada amounting to 2% of beneficial ownership of Irwin Nevada (with Klee Irwin

          20   owning the other 98% personally or through his family trust in the form of 100% of the Class B non-

          21   voting shares of Irwin Nevada). 5310 is a wholly owned subsidiary of Irwin Nevada.

          22           The Debtors’ President is Tom Grillea. The Debtors’ Chief Financial Officer is Mark Green.

          23   The Debtors’ Chief Operating Officer is Dan Wing.

          24           The Reorganized Debtors’ post confirmation management is described more fully in Article

          25   IV.D.3 below.

          26   C.      Litigation.

          27           While the Debtors have not yet commenced post-petition litigation against the Lenders, the

          28   Debtors believe they have significant claims against the Lenders for actions EWB took pre-petition

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           1   including, but not limited to, (i) taking control of the Debtors’ business, (ii) forcing the Debtors to

           2   pay approximately $2 million in professional fees related to EWB’s professionals and professionals

           3   that EWB forced the Debtors to retain (e.g. FTI and Ballard Spahr), (iii) restricting the Debtors’

           4   ability to borrow money under the applicable loan agreements while at the same time holding those

           5   funds in an account where they charged the Debtors interest on those funds, and (iv) controlling

           6   what expenses the Debtors were allowed to pay. The Debtors intend on seeking affirmative relief

           7   against the Lenders and objecting to their claim(s). The Debtors intend on initiating an adversary

           8   proceeding against EWB and CFG for, among other things, fraud, breach of contract, breach of

           9   implied covenant of good faith and fair dealing, conversion, equitable subordination, and objection

          10   to claim. The Debtors are in the process of employing special litigation counsel related thereto.

          11          The Debtors believe they will ultimately be successful on such claims and that the Lenders’

          12   claim of approximately $19 million will be reduced. The Debtors also reserve the right to object to

          13   and seek disallowance of the professional fees and expenses that EWB incurs in these Cases.

          14          In addition to the potential claim(s) against the Lenders, the Debtors were a party to other

          15   pending actions on the Petition Date as set forth below:

          16          1.      Media Max Network, LLC v. Media Brokers International, Inc. et al. [Irwin

          17                  Nevada]

          18          On March 6, 2024, publishing company Media Max Network, LLC (“MMN”) filed a breach

          19   of contract suit against Media Brokers International, Inc. (“MBI”) and Irwin Nevada in Fulton

          20   County State Court, GA (case no. 24EV001793). MMN’s claim is based on allegedly unpaid

          21   invoices by MBI. Irwin Nevada’s contractual relationship is solely with codefendant MBI, who

          22   places advertisements for Irwin Nevada. Irwin Nevada does not have a contractual relationship or

          23   contractual privity with MMN. On July 1, 2024, default judgment was granted as to liability against

          24   Irwin Nevada. On September 13, 2024, default judgment was entered as to damages against Irwin

          25   Nevada in the amount of approximately $79,000. Irwin Nevada advised MMN’s counsel of the

          26   bankruptcy and need for stay. MMN’s counsel has not responded.

          27          2.      Reese v. Irwin Naturals, et al. [Irwin Nevada]

          28          On July 8, 2021, plaintiffs Herman and Jasminn Reese filed a personal injury and products

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           1   liability lawsuit against Irwin Nevada and its contract manufacturer Robinson Pharma in Los

           2   Angeles County, California (case no. 21STCV25158). The plaintiffs allege that Herman Reese

           3   sustained certain injuries caused by his use of an Irwin Nevada dietary supplement. The case was in

           4   the discovery phase, with fact witness (non-expert) depositions being taken and scheduled. On

           5   August 19, 2024, Irwin Nevada filed a Notice of Bankruptcy Filing and Automatic Stay; the court

           6   entered a minute order on August 21 staying the case accordingly. The court also set a status

           7   conference on December 19, 2024 for an update on Irwin Nevada’s bankruptcy. On October 9, 2024

           8   the Reese plaintiffs filed a motion for relief from the automatic bankruptcy stay in Irwin Nevada’s

           9   bankruptcy matter, on the basis that they would seek recovery solely from applicable insurance.

          10   Irwin Nevada does not plan to oppose the motion.

          11          3.      Vaughn v. Irwin Naturals [Irwin Nevada]

          12          On January 19, 2024, plaintiff Trisha Vaughn filed a class action lawsuit against Irwin

          13   Nevada in Los Angeles Superior Court (case no. 24STCV01558) alleging damages due to alleged

          14   false/misleading advertising on an Irwin Nevada weight management supplement. Irwin Nevada

          15   filed an answer to the complaint on April 8, 2024. Discovery has not yet begun. On August 23, 2024,

          16   Irwin Nevada filed a Notice of Bankruptcy Filing and Automatic Stay; the court entered a minute

          17   order on August 26 staying the case accordingly.

          18          4.      (In re: Bed Bath & Beyond, Inc., et al., Debtor) Adversary proceeding: Michael

          19                  Goldberg, as Plan Administrator for 20230930-DK-Butterfly-1, Inc., (f/k/a Bed

          20                  Bath & Beyond Inc.) v. Irwin Naturals et al. [Irwin Nevada]

          21          On May 17, 2024, Michael Goldberg, as Plan Administrator for 20230930-DK-Butterfly-1,

          22   Inc. (f/k/a Bed Bath & Beyond Inc.) (“BBB”) filed an adversary complaint in BBB's chapter 11 case

          23   against Irwin Nevada and Performance Sales & Marketing, Inc. in the U.S. Bankruptcy Court in the

          24   District of New Jersey. The adversary action seeks to avoid and recover transfers made in connection

          25   with vendor programs, credits, and deductions that occurred prior to BBB's bankruptcy filing. Irwin

          26   Nevada was not able to retain counsel for this matter, so the matter is not stayed subject to Irwin

          27   Nevada’s own bankruptcy. However, Irwin Nevada advised plaintiff's counsel of its bankruptcy and

          28   need for stay. Plaintiff's counsel has not responded.

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           1          5.      EMA Anesthesia v. Irwin Naturals Emergence, et al. [Irwin Nevada & Irwin

           2                  Canada]

           3          On January 25, 2024, plaintiff EMA Anesthesia filed a breach of contract lawsuit against

           4   Serenity Health, LLC; Irwin Naturals Emergence, Inc.; and Irwin Naturals, Inc. (collectively,

           5   “Defendants”) in Jefferson County Circuit Ct., Kentucky (case no. 23CI-0612, the “KY Action”).

           6   The claim was based on alleged unpaid invoices for anesthesia services provided by plaintiff. The

           7   parties in the KY Action entered into a stipulated/consent judgment on February 21, 2024 whereby

           8   the Defendants agreed to be jointly and severally liable for payment to EMA Anesthesia. The court

           9   entered the consent judgment on March 5, 2024. On June 5, 2024, plaintiff filed a lawsuit in Los

          10   Angeles Superior Court (case no. 24SMCP00287) to enforce the KY Action judgement in

          11   California. Defendants were not able to retain counsel for this matter, so the matter is not stayed

          12   subject to the bankruptcy. Plaintiff filed writ of Execution for Orange County on August 1, 2024,

          13   and writ of execution for Los Angeles County on August 20, 2024.

          14   D.     Significant Events During the Bankruptcy.

          15          The following is a list of significant events which have occurred during this case:

          16          1.      First Day Motions.

          17           The Debtors filed their Cases pro per, and did not retain bankruptcy counsel until August

          18   13, 2024. The Debtors’ and their counsel’s efforts during the early part of these Cases focused on

          19   obtaining authority to, among other things, secure use of cash collateral, maintain certain prepetition

          20   accounts, pay certain critical vendors, and pay pre-petition wages, salaries, and other compensation,

          21   which were each critical elements of the continuation of the Debtors’ business operations.

          22           Cash Collateral Motion. On August 15, 2024, the Debtors filed their Emergency Motion

          23   for Authority to: (A) Use Cash Collateral on an Interim Basis Pending a Final Hearing; (B) Grant

          24   Replacement Liens; and (C) Set Final Hearing [Doc. No. 19] (the “Cash Collateral Motion”). The

          25   Cash Collateral Motion has been granted on an interim basis three times pursuant to Court orders

          26   entered on August 16, 2024 [Doc. No. 34], September 6, 2024 [Doc. No. 71] and September 27,

          27   2024 [Doc. No. 115].

          28           Cash Management Motion. On August 15, 2024, the Debtors filed their Emergency

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           1   Motion for Order (I) Authorizing the Continued Use of the Debtors’ Cash Management System, (II)

           2   Authorizing the Maintenance of the Debtors’ Pre-Petition Bank Accounts, and (III) Requiring Banks

           3   to Release Administrative Holds and/or Freezes on the Debtors’ Pre-Petition Bank accounts [Doc.

           4   No. 21] (the “Cash Management Motion”). The Bankruptcy Court entered its interim order granting

           5   the Cash Management Motion on August 16, 2024 [Doc. No. 37], and a final order granting the Cash

           6   Management Motion on September 11, 2024 [Doc. No. 80].

           7              Critical Vendor Motion. On August 15, 2024, the Debtors filed their Emergency Motion

           8   for Entry Order of Interim and Final Orders: (I) Authorizing the Debtors to Pay Certain Prepetition

           9   Critical Vendors; (II) Authorizing Financial Institutions to Honor and Process Related Checks and

          10   Transfers; and (III) Granting Related Relief [Doc. No. 18] (the “Critical Vendor Motion”). The

          11   Bankruptcy Court entered its interim order granting the Critical Vendor Motion on August 22, 2024

          12   [Doc. No. 61] and its final order granting the Critical Vendor Motion on September 11, 2024 [Doc.

          13   No. 81].

          14              Wage Motion. On August 15, 2024, the Debtors filed their Emergency Motion for Entry of

          15   an Order: (1) Authorizing, But Not Requiring, Debtor to Pay Prepetition (A) Wages, Salaries, and

          16   Other Compensation, (B) Employee Medical, Workers’ Compensation, Paid Time Off, and Similar

          17   Benefits, and (C) Reimbursable Employee Expenses; (2) Authorizing and Directing Applicable

          18   Banks and Other Financial Institutions to Receive, Process, Honor, and Pay Checks Presented for

          19   Payment and to Honor Fund Transfer Requests; and (3) Related Relief [Doc. No. 20] (the “Wage

          20   Motion”). On August 16, 2024, the Bankruptcy Court entered a final order granting the Wage

          21   Motion [Doc. No. 35].

          22          2.        Appointment of Committee.

          23          The Committee was appointed by the OUST on August 31, 2024 [Doc. No. 69], pursuant to §

          24   1102 of the Bankruptcy Code, in the bankruptcy cases of Irwin Nevada and Irwin Canada.

          25          3.        Employment of Professionals.

          26              On September 6, 2024, the Debtors filed their Application to Employ BG Law LLP as Their

          27   Substitute Bankruptcy Counsel and Request for Post-Petition Retainer [Doc. No. 72] (the “BG

          28   Application”). The BG Application was approved pursuant to Bankruptcy Court order entered on

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           1   September 25, 2024 [Doc. No. 109].

           2           On September 9, 2024, the Debtors filed their Application to Employ Beach Freeman Lim &

           3   Cleland, LLP as Auditing Accountant Pursuant to 11 U.S.C. §§ 327(a) and 328(a) [Doc. No. 78]

           4   (the “Beach Freeman Application”). The Beach Freeman Application was approved pursuant to

           5   Bankruptcy Court order entered on October 1, 2024 [Doc. No. 121].

           6           On September 13, 2024, the Debtors filed their Application for Entry of an Order

           7   Authorizing the Retention and Appointment of Omni Agent Solutions, Inc. as Administrative Agent

           8   Pursuant to 11 U.S.C. §§ 327(a) and 328(a) Effective as of August 23, 2024 [Doc. No. 82] (the

           9   “Omni Employment Application”). The Omni Employment Application was approved pursuant to

          10   Bankruptcy Court order entered on October 8, 2024 [Doc. No. 134].

          11           On September 17, 2024, the Debtors filed their Application to Employ Province, LLC as

          12   Financial Advisor Pursuant to 11 U.S.C. §§ 327(a) and 330 Effective as of August 29, 2024 [Doc.

          13   No. 87] (the “Province Application”). The Province Application was approved pursuant to

          14   Bankruptcy Court order entered on October 8, 2024 [Doc. No. 136].

          15           On September 19, 2024, the Debtors filed their Application to Employ Marula Capital

          16   Group LLC to Provide Valuation Services Pursuant to 11 U.S.C. §§ 327(a) and 328(a), with Any

          17   Additional Services Payable Subject to 11 U.S.C. §§ 330 and 331 [Doc. No. 89] (the “Marula

          18   Application”). On October 8, 2024, the Bankruptcy Court entered its order approving the Marula

          19   Application [Doc. No. 135].

          20           On October 1, 2024, the Debtors filed their Application to Employ Jerrel G. John as

          21   Bookkeeper and Tax Accountant [Doc. No. 120] (the “JGJ Application”). The OUST filed an

          22   objection to the JGJ Application on October 10, 2024 [Doc. No. 146]. On October 17, 2024, the

          23   Debtors and the OUST entered into a stipulation resolving the OUST objection [Doc. No. 151]. The

          24   order granting the JGJ Application was entered by the Bankruptcy Court on October 28, 2024 [Doc.

          25   No. 181].

          26           On September 25, 2024, the Committee filed its Application for Order Approving

          27   Employment of Counsel (Golden Goodrich LLP) Pursuant to 11 U.S.C. §§ 327 and 330 [Doc. No.

          28   105] (the “Golden Application”). The Golden Application was approved pursuant to Bankruptcy

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           1   Court order entered on October 18, 2024 [Doc. No. 163].

           2           On October 9, 2024, the Committee filed its Application for Order Approving of Financial

           3   Advisor (Force10 Partner, LLC) [Doc. No. 138] (the “Force10 Application”).

           4           On October 4, 2024, the Debtors filed their Motion for Entry of Order Establishing

           5   Procedures for Interim Compensation and Reimbursement of Expenses for Professionals [Doc. No.

           6   124] (the “Fee Procedure Motion”). Through the Fee Procedure Motion, the Debtors request that the

           7   Court establish certain procedures for interim compensation of the Debtors’ and the Committee’s

           8   professionals. On October 10, 2024, the OUST filed its objection to the Fee Procedure Motion [Doc.

           9   No. 145]. The Debtors filed their reply to the OUST objection on October 24, 2024 [Doc. No. 176],

          10   and the Committee filed its reply on October 24, 2024 [Doc. No. 178]. The hearing on the Fee

          11   Procedure Motion is currently scheduled for October 31, 2024.

          12           On October 7, 2024, the Debtors filed their Motion for Entry of Order Pursuant to 11 U.S.C.

          13   §§ 105(a), 327, 328, 330 and 363 for Authorization to Employ and Compensate Professionals

          14   Utilized in the Ordinary Course of Business [Doc. No. 129] (the “Ordinary Course Professional

          15   Motion”). After discussions with the OUST, the Debtors filed a supplement to the Ordinary Course

          16   Professional Motion [Doc. No. 170], which is set for hearing on October 31, 2024.

          17           The Debtors intend to file an application to employ Greenberg Glusker LLP as special

          18   litigation counsel shortly.

          19          4.      Claim Objections.

          20          The Debtors intend on objecting to any claim marked on the Claim Chart as objectionable.

          21   The Debtors or Reorganized Debtors, as applicable, reserve the right to review and object to any

          22   claims in their sole discretion, so long as such objection is filed prior to the Claim Objection

          23   Deadline.

          24          5.      Prosecution of Avoidance Actions & Other Potential Claims.

          25           The Debtors do not currently intend on pursuing any avoidance actions other than any claim

          26   they may assert against the Lenders. The Debtors do not plan on seeking to recover any preferential

          27   transfers and the Plan proposes to pay Allowed Claims in full.

          28

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           1       IV.        CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS UNDER

           2                                                      THE PLAN

           3   A.        What Creditors and Interest Holders Will Receive Under the Plan.

           4             As required by the Bankruptcy Code, the Plan classifies Claims and Interests in various

           5   Classes according to their right of priority under the Bankruptcy Code. The Plan states whether each

           6   Class of Claims or Interests in impaired or unimpaired. The Plan provides the treatment each Class

           7   will receive.

           8   B.        Unclassified Claims.

           9             Certain types of Claims are not placed into voting Classes; instead they are unclassified.

          10   They are not considered impaired and they do not vote on the Plan because they are automatically

          11   entitled to specific treatment provided for them in the Bankruptcy Code. As such, the Debtors have

          12   not placed the following Unclassified Claims in a Class.

          13             1.      Administrative Claims.

          14             Administrative Claims are for costs or expenses of administering the Debtors’ Chapter 11

          15   Cases which are allowed under Bankruptcy Code Section 507(a)(1). Allowed Administrative

          16   Claims representing post-Petition Date liabilities incurred by the Debtors in the ordinary course of

          17   business, for which no approval by the Bankruptcy Court is required, shall be paid in full in

          18   accordance with the terms and conditions of the particular transaction giving rise to such liabilities

          19   and any agreements relating thereto. The Bankruptcy Code requires that all Administrative Claims

          20   be paid on the Effective Date unless a particular Claimant agrees to a different treatment. After the

          21   Effective Date, while the Debtors’ Chapter 11 Cases remains open, the Reorganized Debtors will (i)

          22   file with the United States Trustee quarterly reports; and (ii) timely pay fees incurred pursuant to 28

          23   U.S.C. Section 1930(a)(6).5

          24             The following chart lists all of the Debtors’ Section 507(a)(1) administrative claims and their

          25   treatment under the Plan.

          26
               5
          27   The quarterly fees owed to the United States Trustee are due and owing every quarter, without the
             requirement for the United States Trustee to file an administrative claim or a proof of claim. There is
          28 also no bar date for quarterly fees.

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           1                   NAME                          AMOUNT OWED6                                TREATMENT

           2                                       Estimated at approximately $4         Allowed Administrative Claims
                   Administrative Claims
                                                   million.                              representing post-Petition Date liabilities
                   (Incurred in the Ordinary
           3                                                                             incurred by the Debtors in the ordinary
                   Course of Business)
                                                                                         course of business, for which no approval
           4                                                                             by the Bankruptcy Court is required, shall
                                                                                         be paid in full in the ordinary course of
           5                                                                             business in accordance with the terms
                                                                                         and conditions of the particular
           6                                                                             transaction giving rise to such liabilities
                                                                                         and any agreements relating thereto.
           7
                   BG Law LLP, bankruptcy          Approximately $350,000 in addition    Paid in full on the later of the Effective
           8       counsel to the Debtors          to the post-petition payments to BG   Date and the date the Court enters an
                                                   pursuant to the order approving the   order allowing such fees and expenses,
           9                                       Fee Procedures Motion [Doc. No.       unless otherwise agreed to.
                                                   ___] (the “Interim Compensation
          10
                                                   Order”).
          11
                   Province, LLC, financial        Approximately $350,000 in addition    Paid in full on the later of the Effective
          12       advisor to the Debtors          to the post-petition payments made    Date and the date the Court enters an
                                                   by the Debtors in connection with     order allowing such fees and expenses,
          13                                       the Interim Compensation Order        unless otherwise agreed to.
                                                   and in addition to the amounts
          14                                       provided for in the Debtosr’ cash
                                                   collateral budget.
          15
                   Jerrel G John, bookkeeper       Approximately $35,000 in addition     Paid in full on the later of the Effective
          16       and accountant to the           to the post-petition payments made    Date and the date the Court enters an
                   Debtors                         by the Debtors in connection with     order allowing such fees and expenses,
          17                                       the Interim Compensation Order.       unless otherwise agreed to.

          18       Marula Capital Group,           Approximately $50,000 in addition     Paid in full on the later of the Effective
                   financial advisor – valuation   to amounts paid to Marula Capital     Date and the date the Court enters an
          19       services to the Debtors         Group pursuant to its employment      order allowing such fees and expenses,
                                                   order [Doc. No. 135] and pursuant     unless otherwise agreed to.
          20                                       to any payments made by the
                                                   Debtors in connection with the
          21                                       Interim Compensation Order.

          22
                   Golden Goodrich LLP, counsel    Approximately $150,000 in addition    Paid in full on the later of the Effective
                   to the Committee                to the post-petition payments made    Date and the date the Court enters an
          23
                                                   by the Debtors in connection with     order allowing such fees and expenses,
                                                   the Interim Compensation Order.       unless otherwise agreed to.
          24

          25

          26   6
               The amounts set forth in this chart are estimates of the administrative claim amounts that the
          27 Debtors  believe each administrative claimant may be entitled to on the Effective Date in addition to
             the amounts provided for in the Debtors’ cash collateral budget. The amounts set forth in this chart
          28 are subject to change.

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           1                 NAME                         AMOUNT OWED6                                TREATMENT

           2     Force Ten Partners, LLC,        Approximately $100,000 in addition   Paid in full on the later of the Effective
                 financial advisor to the        to the post-petition payments made   Date and the date the Court enters an
           3     Committee                       by the Debtors in connection with    order allowing such fees and expenses,
                                                 the Interim Compensation Order.      unless otherwise agreed to.
           4
                 Omni, noticing and              $0                                   Paid in the ordinary course of business
           5     solicitation agent for the                                           pursuant to the order approving Omni’s
                 Debtors                                                              employment [Doc. No. 134]
           6
                 Greenberg Glusker, proposed     Approximately $100,000 in addition   Paid in full on the later of the Effective
           7
                 special litigation counsel to   to the post-petition payments made   Date and the date the Court enters an
                 the Debtors                     by the Debtors in connection with    order allowing such fees and expenses,
           8
                                                 the Interim Compensation Order.      unless otherwise agreed to.
           9
                 TOTAL                           Between Approximately $5 million     Paid in the manner described above
          10                                     and $6 million est.

          11

          12           Reservation of Rights

          13           Nothing in the Plan or Disclosure Statement and nothing set forth in the above chart should

          14   be construed as an admission by the Debtors or any other party as to the validity of the asserted /

          15   projected Professional Fee Claims. The Debtors, the Committee, the OUST, Creditors and all other

          16   parties in interest reserve all rights to object to Professional Fee Claims.

          17           Court Approval of Fees Required:

          18           The Bankruptcy Court must approve, or must have previously approved on a final basis, all

          19   Professional Fee Claims listed in the foregoing chart before they may be paid. Only the amount of

          20   fees and expenses approved by the Bankruptcy Court is required to be paid under the Plan. The

          21   administrative claim amounts set forth above for professional fees and expenses simply represent the

          22   Debtors’ best estimate as to the amount of Allowed Professional Fee Claims, which estimates

          23   assume that the Debtors make all of the post-petition professional fee monthly payments that the

          24   Bankruptcy Court may authorize the Debtors to make. The actual Administrative Claims for

          25   Professional fees and expenses may be higher or lower. By voting to accept the Plan, Creditors are

          26   not acknowledging the validity of, or consenting to the amount of, any of these Administrative

          27   Claims for professional fees and expenses, and Creditors are not waiving any of their rights to object

          28   to the allowance of any of these Professional Fee Claims. Also, the Professionals employed in these

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           1   Cases may, prior to the Effective Date, seek Court approval of interim fees and expenses incurred in

           2   excess of the post-petition professional fee monthly payments received by such Professionals,

           3   pursuant to orders of the Bankruptcy Court. To the extent any such interim fees and expenses are

           4   allowed by the Bankruptcy Court and paid by the Debtors prior to the Effective Date, that will

           5   reduce the amount of professional fees and expenses to be paid by the Reorganized Debtors.

           6            The last day to file any Administrative Claims (but NOT for ordinary post-petition

           7   operating obligations or Professional Fee Claims) is thirty (30) days after the Effective Date.

           8   Administrative expenses will be paid on the later of the Effective Date or 10 days after the entry of a

           9   Final Order allowing the administrative expense, unless the administrative claimant has consented

          10   otherwise in writing. On or before the Effective Date, the Debtors or the Reorganized Debtors will

          11   serve notice of an administrative bar date on all potential administrative claimants including, but not

          12   limited to, the Debtors’ post-petition suppliers, service providers and employees.

          13            2.       Priority Tax Claims.

          14            Priority tax claims include certain unsecured income, employment and other taxes described

          15   by Section 507(a)(8) of the Bankruptcy Code. The Bankruptcy Code requires that each holder of

          16   such a Section 507(a)(8) priority tax claim receive the present value of such claim in deferred cash

          17   payments, over a period not exceeding five years from the Petition Date. The Debtors believe that

          18   they owe the following priority tax claims:

          19

          20                                                                       Estimated Projected Payment / Treatment for
                Class No.    Description                Estimated Amount
                                                                                   Allowed Claims
          21                 Priority Tax Claim of
                                                                                   Full payment consistent with Bankruptcy Code
                  N/A        Canada Revenue             Estimated at $17,438.37.
          22                                                                       section 1129(a)(9)(C).
                             Agency
                             Priority Tax Claim of CA
          23                                                                       Full payment consistent with Bankruptcy Code
                  N/A        Department of Tax and      Estimated at $2,697.30.
                                                                                   section 1129(a)(9)(C).
                             Fee Administration
          24
                             Priority Tax Claim of                                 Full payment consistent with Bankruptcy Code
                  N/A                                   Estimated at $907.62.
          25                 State of Washington                                   section 1129(a)(9)(C).

          26   The Internal Revenue Service (the “IRS”) filed claims against the Debtors prior to the filing of their
          27   2023 tax returns. If the IRS has an Allowed Priority Tax Claim, then the Debtors shall pay it in full
          28

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           1   pursuant to 11 U.S.C. § 1129(a)(9)(C).

           2   C.      Classified Claims and Interests.

           3           1.      Class of Secured Claims.

           4           Secured Claims are claims secured by liens on property of the estate. The following chart

           5   sets forth the description and treatment of the Debtors’ known Secured Claims.

           6        CLASS #               DESCRIPTION                  IMPAIRED                     TREATMENT
                                                                        (YES/NO)
           7
                                                                                     **The Debtors scheduled this claim as
           8                                                                         Unliquidated and Disputed. The Debtors
                                                                                     reserve their rights to bring claims
           9                                                                         against EWB – either through an
                              Secured claim of East West Bank, as                    adversary proceeding and/or claim
          10                  Agent (“EWB”)                                          objection in this Court or in state court
                                                                                     post-confirmation.
          11                  Collateral Description: Substantially
                                                                                     Treatment A:
                              all of the Debtors’ assets (the
          12                  “Debtors’ Personal Property”)                          Treat both the term loan and revolver
                                                                                     loan as term loans, at the term loan
          13                  Interest rate:                                         contract rate of interest (Prime Plus 1% -
                              Non-Default (Term) – Prime Plus 1%                     Prime not less than 5%). Incurable
          14                  (Prime no less than 5%)                                default clauses to be removed and
                                                                                     clauses related to non-operating entities
          15                  Interest rate: Non-Default (Revolver)                  to be removed.
                      1
                              – Prime (no less than 5%)
          16                                                                         $1 mm paid quarterly, commencing June
                                                                                     30, 2025. Additionally, 55% of net
                              Maturity Date – February 1, 2028        Treatment A:
          17                                                                         disposable income (“NDI”) shall be paid
                                                                          Yes.
                                                                                     quarterly to EWB. See Plan Projections
          18                  *Debtors have significant claims                       for details (Cash Available for
                                                                      Treatment B:
                              against EWB and reserve all their                      Discretionary Debt Repayment). If the
                                                                          No.
          19                  rights to assert those claims                          EWB claim is not paid in full prior to the
                                                                                     maturity date of February 1, 2028, the
          20                                                                         Debtors shall pay the remaining lump
                              Filed Claim: None                                      sum to EWB on or before February 1,
          21                                                                         2028, through a cash payment or, if
                              Debtors’ Estimate of Claim for Plan                    needed, by obtaining replacement
          22                  Treatment Purposes:                                    financing or through a sale of the
                              $18.65 million [approximately $7.90                    business.
          23                  million for the term loan, and $10.80
                                                                                     Lien: To the same extent and validity of
                              million for the revolver].
                                                                                     its existing lien(s), EWB shall have a first
          24                                                                         priority lien against the Debtors’
                              Insider. EWB was in actual control of                  Personal Property.
          25                  the Debtors pre-petition.
                                                                                     Collateral: EWB’s collateral shall
          26                                                                         continue to be the Debtors’ Personal
                                                                                     Property to the same extent and validity
          27                                                                         of EWB’s current interest in such
                                                                                     collateral.
          28

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           1       CLASS #             DESCRIPTION                 IMPAIRED                     TREATMENT
                                                                    (YES/NO)
           2
                                                                                 Such treatment shall be in full and
           3                                                                     complete satisfaction of the Class 1
                                                                                 claim. The Debtors shall have no other
           4                                                                     obligations under the requisite loan
                                                                                 agreements.
           5                                                                     Impaired; Entitled to Vote.
           6                                                                     Or, in the alternative,
                                                                                 Treatment B:
           7
                                                                                 The Debtors are in the process of
           8                                                                     soliciting exit financing. If they are
                                                                                 successful, they will file a separate
           9                                                                     motion for approval of such financing
                                                                                 and/or amend the Plan and this
          10                                                                     Disclosure Statement to include the
                                                                                 proposed terms. If the Debtors
          11                                                                     successfully obtain exit financing, then
                                                                                 they will pay EWB its allowed claim in full
          12                                                                     on the Effective Date, in which case EWB
                                                                                 would be unimpaired.
          13                                                                     Unimpaired; Not Entitled to Vote.
          14

          15          2.      Classes of Priority Unsecured Claims.
          16          Certain Priority Claims that are referred to in Bankruptcy Code Sections 507(a)(3), (4), (5),
          17   (6), and (7) are required to be placed in Classes. These types of Claims are entitled to priority
          18   treatment as follows: the Bankruptcy Code requires that each holder of such a Claim receive cash on
          19   the Effective Date equal to the allowed amount of such claim. However, a class of unsecured
          20   priority claim holders may vote to accept deferred cash payments of a value, as of the Effective
          21   Date, equal to the allowed amount of such claim. The Debtors do not believe that there are any valid
          22   outstanding Section 507(a)(3), (5), (6), or (7) priority unsecured claims. If there are any allowed
          23   priority unsecured claims as of the Effective Date, these claims will be paid in full by the
          24   Reorganized Debtor on the Effective Date (or as soon as practicable thereafter). All allowed Section
          25   507(a)(3), (5), (6), or (7) priority unsecured claims, if any, will be characterized as Priority Claims.
          26          There is one valid outstanding Section 507(a)(4) priority unsecured claim, which claim and
          27   treatment are set forth below:
          28

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           1       CLASS             DESCRIPTION                IMPAIRED                              TREATMENT
                     #
                                                                (Yes/No)
           2
                       2         Employee Wage                    No.            Paid in full within 10 business days of the Effective
           3
                                 Claim of $5,991.80                              Date.
           4                                                                     Not impaired; not entitled to vote.

           5
                         3.        Classes of General Unsecured Claims.
           6
                         General Unsecured Claims are classified and treated as follows:
           7
                 CLASS                DESCRIPTION                IMPAIRED                             TREATMENT
           8       #
                                                                 (Yes/No)
           9
                              General Unsecured Claims
          10                  [Excluding Insider Claims]
                   3
          11                  Estimated at approximately
                              $5 to $6 million. (This
          12                  number is subject to change
                                                                            Treatment:
                              as follows: (a) the resolution
          13                  of objections to Disputed                     Allowed General Unsecured Claims will be paid 35% of the
                              Claims; and (b) the amount of                 NDI as set forth in the Plan Projections (Cash Available for
          14                  rejection damages claims                      Discretionary Debt Repayment). If Allowed General
                                                                   Yes.
                              asserted by the former                        Unsecured Claims are not paid in full prior to February 1,
          15                  landlord.)                                    2028, the Debtors shall pay the remaining balance of
                                                                            Allowed General Unsecured Claims in full on or before
          16                  [This estimation does not                     February 1, 2028.
                              include any intercompany
                                                                            Impaired; Entitled to Vote
          17                  claims as the Debtors’ have
                              agreed to subordinate all of
          18                  their intercompany claims to
                              those of General Unsecured
          19                  Creditors.]

          20                                                                Treatment:

          21                                                                Mr. Irwin has agreed to subordinate his claim to all
                                                                   Yes.
                              General Unsecured Claim of                    Allowed Claims in exchange for Irwin Nevada agreeing
                   4
          22                  Insider Klee Irwin ($1 million)               that Mr. Irwin can commence payments on his notes
                                                                            payable at the same time.
          23                                                                Impaired; Entitled to Vote

          24

          25             4.        Classes of Interest Holders.

          26             Interest holders are the parties who hold an ownership interest (i.e., equity interest) in the

          27   Debtor. The following chart identifies the Plan’s treatment of the class of interest holders:

          28

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           1        CLASS #                 DESCRIPTION                    IMPAIRED                TREATMENT
                                                                           (YES/NO)
           2
                               Irwin Nevada                                           Treatment: The shareholders of Irwin
           3
                               Irwin Nevada’s current equity holders                  Nevada shall retain their current equity
                               who collectively own 100% of Irwin                     interests in Irwin Nevada. However,
           4
                               Nevada: Equity Interests of Klee Irwin                 any conversion rights held by the Non-
                      5                                                        No.    Voting Interests to Irwin Canada shares
           5                   (90% Non-Voting Interest), Klee &
                               Margareth Irwin Children’s Trust (10%                  shall be convertible to the new DAI
                               Non-Voting Interest) and DAI US                        shares.
           6
                               HoldCo, Inc. (100% Voting Interest)                    Not Impaired; Not Entitled to Vote.
           7
                                                                                      Irwin Canada will be dissolved.
           8
                                                                                      Treatment: Irwin Canada’s current
                               Irwin Canada - Equity Interest of Public               shareholders shall obtain effectively
           9                   Shareholders                                           their same economic and voting
                      6                                                        Yes.
          10                   Irwin Canada owns 100% of DAI, which                   interest in DAI as they currently have in
                               owns 2% of Irwin Nevada.                               Irwin Canada except that those shares
          11                                                                          will now be private shares.
                                                                                      Impaired; Entitled to Vote
          12
                      7        DAI US HoldCo                                          Treatment: The current equity
          13                                                                          structure of DAI will be replaced. See
                               Owned 100% by Irwin Canada, owns
                                                                               Yes.   Class 6 for details.
          14                   2% of Irwin Nevada but owns 100%
                               Voting Shares.                                         Impaired; Entitled to Vote
          15
                      8        5310 Holdings, LLC                                     Treatment: No change. To be owned
          16                                                                   No.    100% by Irwin Nevada.
                               Owned 100% by Irwin Nevada                             Not Impaired. Not entitled to vote.
          17

          18   D.         Means of Effectuating the Plan and Implementation of the Plan.
          19              1.      Plan Funding.
          20              Exit Financing
          21              If the Debtors successfully obtain Exit Financing, then such funds shall be used to pay the
          22   Class 1 Allowed Secured Claim. The balance of all Allowed Claims will be paid from the Debtors’
          23   ongoing business operations as set forth in the Plan Projections.
          24              No Exit Financing
          25              If the Debtors are unable to obtain Exit Financing or determine that it is in their best interests
          26   not to do so, then the Plan will be funded by the Debtors’ ongoing business operations as set forth in
          27   the Plan Projections. Based on their 30 year history of a profitable nutraceutical business and as
          28

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           1   shown by the Plan Projections, which are a conservative estimate of the Reorganized Debtors’

           2   performance, the Debtors are confident that sufficient funds will exist to make all required Plan

           3   payments.

           4          2.      Release of Liens.

           5          If Class 1 is paid in full through Exit Financing, then EWB shall file termination statements

           6   related to all UCC’s filed by EWB within 30 days of such payment (the “Release Procedures”). In

           7   the event that EWB fails to do so, the Reorganized Debtors shall be granted, pursuant to the

           8   Confirmation Order, power of authority for the limited purpose of implementing and consummating

           9   the Release Procedures.

          10          3.      Composition of the Reorganized Debtors and Post-Confirmation Management.

          11          On the Effective Date, Irwin Nevada will remain a Nevada corporation. Irwin Nevada’s

          12   CEO will remain Klee Irwin and its CFO will remain Mark Green. Mr. Irwin and Mr. Green are the

          13   only officers as recognized in Irwin Nevada’s bylaws, and they shall remain in place during the

          14   pendency of the Plan term until all creditors are paid in full. Any change to Irwin Nevada’s officers

          15   or board members post-confirmation during the Plan term can only be done by filing a motion with

          16   the Bankruptcy Court and obtaining an order thereon.

          17          On the Effective Date, Mr. Irwin shall continue as the CEO of DAI and Mr. Green shall

          18   continue as the CFO of DAI.

          19          On the Effective Date, Irwin Nevada will continue to be the managing member of 5310.

          20          Mr. Irwin’s salary as of the Effective Date will return to his pre-petition salary of $790,000 a

          21   year. Mr. Irwin will also be entitled to up to a 10% bonus relating to NDI (Net Disposable Income)

          22   annually. Mr. Green’s salary as of the Effective Date will continue to be $240,000 a year, paid

          23   through his corporation Greenmark Services Corp.

          24          4.      Disbursing Agent.

          25          The Reorganized Debtors will act as the Disbursing Agent for purposes of making

          26   Distributions under the Plan. If necessary, the Reorganized Debtors may retain Omni or Province to

          27   assist with Distributions.

          28

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           1          5.      Objections to Claims.

           2          The claims Bar Date in these cases is expected to be December 20, 2024 for non-

           3   governmental entities. The Bar Date in these cases is February 5, 2025 for governmental entities.

           4   Attached as Exhibit A to this Disclosure Statement is a Claim Chart, which identifies all of the

           5   Debtors’ scheduled claims and all of the filed proofs of claims which have been filed to date against

           6   the Debtors. Following Confirmation of the Plan, the Reorganized Debtors shall be the sole entities

           7   with the standing and authority to file objections to Claims in these cases, and shall have the right to

           8   file objections to all Claims which are inconsistent with the Debtors’ books and records unless the

           9   Reorganized Debtors deems the inconsistency to be insignificant. Any proof of claim that is filed

          10   with the Bankruptcy Court and/or served on the Debtors after the Effective Date will be

          11   deemed invalid (without the need for the Reorganized Debtors to file an objection to such late-

          12   filed claim) unless the claimant files a motion for leave of Court to file such claim. With respect

          13   to disputed claims which are not resolved prior to the Effective Date, the Reorganized Debtors shall

          14   have the authority, in its sole discretion, in the reasonable exercise of its business judgment to settle

          15   or compromise any Claim following the Effective Date by submitting a stipulation to the Bankruptcy

          16   Court without a notice or hearing thereon.

          17          As provided by Section 502(c) of the Bankruptcy Code, the Bankruptcy Court may estimate

          18   any contingent, unliquidated or disputed claim for purposes of Confirmation of the Plan. The

          19   Bankruptcy Court shall retain jurisdiction over the Debtors, the Reorganized Debtors, these Cases

          20   and these Estates to resolve and to adjudicate any and all such objections to Claims which are

          21   commenced or continued following the Confirmation of the Plan. Nothing contained in the Plan

          22   shall constitute a waiver or release by the Debtors or the Reorganized Debtors of any rights of setoff

          23   or recoupment, or of any defense, the Debtors or the Reorganized Debtors may have with respect to

          24   any claim, or of any basis that the Reorganized Debtors may have to object to any such claim.

          25          Any Proof of Claim or Interest that is filed with the Bankruptcy Court and/or served on

          26   the Debtors or Reorganized Debtors after the Effective Date will be deemed invalid unless the

          27   Claimant files a motion for leave of Court to file such Claim.

          28          The Debtors specifically reserve the right to file objections to any and all Claims set forth in

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           1   Exhibit A to this Disclosure Statement, and to any subsequently filed proofs of claim. An order

           2   confirming the Plan shall not be res judicata, collateral estoppel, or other bar to the Reorganized

           3   Debtors’ right to object to such Claims after the Effective Date.

           4           6.     Payment Upon Resolution of Disputed Claims.

           5           The Disbursing Agent will not make any payment to the holder of a Disputed Claim until

           6   such Disputed Claim becomes an Allowed Claim. Pending a resolution of the Disputed Claim, the

           7   Disbursing Agent will create a reserve account (the “Reserve Account”) which will contain proposed

           8   distributions based on the Disputed Claims. Within sixty (60) days after a Disputed Claim becomes

           9   an Allowed Claim, the Disbursing Agent will make a payment on such Allowed Claim from the

          10   Reserve Account in an amount equal to what the holder of such Allowed Claim would have received

          11   if the Claim had been allowed in such amount as of the Effective Date.

          12           7.     Investigation and Prosecution of Claims and Avoidance Actions.

          13            As mentioned above, the Debtors intend on filing a complaint against EWB and CFG. The

          14   Debtors reserve their right to file and prosecute such action.

          15           As set forth in Attachment 3 to Irwin Nevada’s Statement of Financial Affairs [Doc. No. 96,

          16   pgs. 69 to 79], Irwin Nevada paid a total of $15,086,579.72 to creditors in the 90 day preference

          17   period (with respect to creditors that received $7,575 or more during the 90 day preference period).

          18   Irwin Nevada does not believe it has any preference claims arising out of (a) payments made in the

          19   ordinary course of business to vendors, suppliers and service providers, or (b) payments made to

          20   employees. The majority of the payments during this time period were to suppliers and servicer

          21   providers that continued to supply products and provide services to the Debtors during this period,

          22   and to professionals that also were providing ongoing services to the Debtors. However, the Debtors

          23   do believe that they have claims against the Lenders and other parties where EWB forced the

          24   Debtors to make such payments. The Debtors reserve their rights to pursue such preference actions.

          25           The Reorganized Debtors will retain any claims against the Debtors’ insiders, including its

          26   current equity holders, and such claims shall revest in the Reorganized Debtors upon the Effective

          27   Date.

          28

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           1          8.      Payment of Professional Fees and Expenses Incurred After the Effective Date.

           2          The Reorganized Debtors shall be entitled to employ such professionals that the Reorganized

           3   Debtors deems appropriate and to pay the fees and expenses incurred by such professionals in the

           4   ordinary course without any further order of the Bankruptcy Court.

           5          9.      Distributions to Be Made Pursuant to the Plan.

           6          Except as otherwise agreed to by the Reorganized Debtors in writing, Distributions to be

           7   made to holders of Allowed Claims pursuant to the Plan may be delivered by regular mail, postage

           8   prepaid, to the address shown in the Debtors’ Schedules, as they may from time to time be amended

           9   in accordance with Bankruptcy Rule 1009, or, if a different address is stated in a proof of claim duly

          10   filed with the Bankruptcy Court, to such address. Checks issued to pay Allowed Claims shall be null

          11   and void if not negotiated within ninety (90) days after the date such check was mailed to the

          12   intended recipient. Those funds represented by voided checks that were not timely negotiated shall

          13   become the property of the Reorganized Debtors.

          14          10.     Corporate Matters.

          15          The occurrence of the Effective Date shall constitute all approvals, consents and actions

          16   required by any officers of the Debtors under applicable law, and shall enable the Debtors or the

          17   Reorganized Debtors to execute any documents, instruments or agreements, and to take all corporate

          18   and other actions that are specified in the Plan or the Plan Confirmation Order that are necessary or

          19   appropriate to perform, implement and effectuate the Plan. If necessary, on or before __________,

          20   the Debtors will file a Plan Supplement with the Bankruptcy Court to provide the Court and parties

          21   in interest with additional information and/or documents that the Debtors may deem reasonably

          22   necessary to effectuate the transactions contemplated by the Plan (including, but not limited to, the

          23   dissolution of Irwin Canada).

          24          11.     Exemption from Transfer Taxes.

          25          Pursuant to § 1146(c) of the Bankruptcy Code, the issuance, transfer or exchange of a

          26   security, or the making or delivery of an instrument of transfer under a plan confirmed under § 1129

          27   of the Bankruptcy Code, may not be taxed under any law imposing a stamp tax or similar tax.

          28   Transfers under the Plan that are exempt from taxes under § 1146(c) of the Bankruptcy Code include

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           1   all transfers by the Debtors after the commencement of their chapter 11 Cases in contemplation of

           2   the Plan but prior to the Effective Date, and all transfers to and by the Reorganized Debtors. The

           3   taxes from which such transfers are exempt include stamp taxes, recording taxes, sales and use taxes,

           4   transfer taxes, and other similar taxes.

           5          12.     Exculpations and Releases.

           6          To the maximum extent permitted by law, neither the Debtors, the Reorganized Debtors,

           7   the Committee members, nor any of their successors and assigns, advisors, attorneys, employees,

           8   officers, directors, shareholders, agents, members, representatives, or Professionals employed or

           9   retained by any of them whether or not by Bankruptcy Court order, each in their capacity as such,

          10   shall have or incur liability to any Person for an act taken or omitted to be taken in connection

          11   with, or related to formulating, negotiating, soliciting, preparing, confirming, implementing, or

          12   consummating the Plan, Disclosure Statement and all exhibits thereto and/or the transactions

          13   contemplated therein, or a contract, instrument, release or other agreement or document created

          14   or entered into in connection with the Plan; provided, however, that each of the above Persons

          15   shall be entitled to rely upon the advice of counsel concerning his or her duties pursuant to, or in

          16   connection with, the Plan or any related document, instrument or agreement; provided further

          17   that the foregoing exculpation shall have no effect on liability of any Person that results from any

          18   act or omission that is determined in a Final Order to have constituted fraud, gross negligence, or

          19   willful misconduct.

          20   E.     Other Provisions of the Plan.

          21          1.      Executory Contracts and Unexpired Leases.

          22                  a.      Assumptions.

          23          The following is a list of the Debtors’ executory contracts and unexpired leases which the

          24   Debtors intend to assume on the Effective Date. If the Debtors have additional contracts or seek to

          25   revise this list, they will include it in a Plan Supplement. Set forth below is an itemization of the

          26   defaults which the Debtors contend exist and must be cured in connection with the Debtors’

          27   assumption of such executory contracts and unexpired leases (the “Cure Amounts”). The Debtors

          28   estimate that the total Cure Amounts that the Reorganized Debtors will be required to pay on the

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           1   Effective Date will be approximately $0. The Confirmation Order will constitute a Bankruptcy

           2   Court order approving the Debtors’ assumption of all such executory contracts and unexpired leases

           3   and fixing the Cure Amounts for each such executory contract and unexpired lease in the amounts

           4   asserted by the Debtors as set forth below.

           5   Executory Contracts/Unexpired Leases That May Be Assumed by Irwin Nevada:

           6                                                                                                Cure          Cure
                      Vendor/Lessor                    Description             Vendor/Lessor Address
                                                                                                           Amount        Terms
           7                                                                  5310 Holdings (co-debtor)
                                              Trademark Licensing             300 Corporate Pointe, Ste
                5310 Holdings                                                                                $0      TBD
           8                                  Agreement                       550
                                                                              Culver City, CA 90230
           9                                  Master Service Agreement –      ADP
                ADP                           Payroll – Already assumed       1 ADP Blvd.                    $0      TBD
          10                                  pursuant to final wage order.   Roseland, NJ 07068
                                                                              Brightedge Technologies
          11                                                                  989 E Hillsdale Blvd., Ste
                Brightedge Technologies       Subscription Agreement                                         $0      TBD
                                                                              300
          12                                                                  Foster City, CA 94404
                                                                              Charter Communications
                Charter Communications
          13                                  Communications Agreement        550 Continental Blvd.          $0      TBD
                Operating, LLC
                                                                              El Segundo, CA 90245
          14                                                                  Coast Warehouse
                                                                              Company
          15    Coast Warehouse Company       Warehouse Services                                             $0      TBD
                                                                              4750 Zinfandel Ct.
                                                                              Ontario, CA 91761
          16                                                                  Culver Pointe, LLC
                                              Non residential real property   300 Corporate Pointe, Ste
          17    Culver Pointe, LLC                                                                           $0      TBD
                                              lease                           220
                                                                              Culver City, CA 90230
          18                                                                  DSV Solutions Inc.
                                              Services Agreement              2200 Yukon Ct
          19    DSV Solutions Inc.                                                                           $0      TBD
                                                                              Milton, ON L9E 1N5,
                                                                              Canada
          20
                                                                              Genomma Lab USA
                                              Trademark Licensing             3737 Buffalo Speedway,
          21    Genomma Lab USA                                                                              $0      TBD
                                              Agreement                       Ste 1975
                                                                              Houston, TX 77098
          22
                                                                              Peac Solutions
                Peac Solutions                Lease Agreement                 300 Fellowship Rd.             $0      TBD
          23
                                                                              Mt. Laurel, NJ 08054
          24                                                                  Quadiant Leasing
                Quadiant Leasing              Lease Agreement                 210 Profess, Ste 100           $0      TBD
          25                                                                  Irvine, CA 92618
                                                                              Threshold Enterprises Ltd.
          26    Threshold Enterprises Ltd.    Distribution Agreement          23 Janis Way                   $0      TBD
                                                                              Scotts Valley, CA 95066
          27

          28

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           1                  b.      Rejections.

           2           On the Effective Date, Irwin Nevada will be rejecting the following executory contract(s):
                 Vendor/Lessor             Description            Vendor/Lessor Address
           3                                                    Airespring
                Airespring         Services Agreement           600 Cleveland St., Ste 226
           4                                                    Clearwater, FL 33755

           5           To the extent the Debtors are a party to any executory contract and/or unexpired lease that is
           6   not addressed above, such executory contract or unexpired lease will be deemed rejected, and the
           7   Court order confirming the Plan will constitute a Bankruptcy Court order approving the Debtors’
           8   rejection of all such executory contracts and unexpired leases.
           9                  c.      Cures.
          10           The Cure Amounts that the Debtors believes are required are set forth in the charts in section
          11   a above. Any party who wishes to object to the Debtors’ assumption of any of the unexpired leases
          12   or executory contracts and/or to the Cure Amounts of any defaults the Debtors believe exist must file
          13   a written objection with the Bankruptcy Court no later than 14 days prior to the date first set for the
          14   Plan Confirmation Hearing, and serve such objection on counsel to the Debtors. The Bankruptcy
          15   Court may deem the failure of any party to file such a timely objection to constitute consent to the
          16   Debtors’ assumption of the unexpired leases and executory contracts set forth above and to the Cure
          17   Amounts of any defaults the Debtors must cure in connection with the Debtors’ assumption of these
          18   unexpired leases and executory contracts.
          19           THE BAR DATE FOR FILING A PROOF OF CLAIM BASED ON A CLAIM ARISING
          20   FROM THE REJECTION OF ANY EXECUTORY CONTRACT OR UNEXPIRED LEASE
          21   WHICH IS REJECTED ON THE EFFECTIVE DATE SHALL BE THIRTY (30) DAYS AFTER
          22   THE EFFECTIVE DATE. Any claim based on the rejection of an unexpired lease or executory
          23   contract will be barred if the proof of claim is not timely filed, unless the Bankruptcy Court orders
          24   otherwise. Any Allowed Claim resulting from the rejection of an unexpired lease or executory
          25   contract will be classified and treated as a Class 3 Allowed Claim.
          26           2.     Risk Factors.
          27           The primary risk of implementing the Plan would be the Debtors’ inability to meet its
          28

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           1   projections set forth in the Plan Projections. If for some reason the Debtors are unable to meet their

           2   projections, the Debtors reserve the right to seek to sell their business and/or to find an investor in

           3   order to enable the Debtors to pay all Allowed Claims in full.

           4          There is a risk that the Plan is not confirmable under section 1129(a) of the Bankruptcy Code

           5   because not all impaired classes vote in favor of the Plan.

           6          There is a risk that the Plan is not confirmable under the “cramdown” provision of section

           7   1129(b) of the Bankruptcy Code.

           8          3.      Changes in Rates Subject to Regulatory Commission Approval.

           9          The Debtors are not subject to governmental regulatory commission approval of their rates.

          10   F.     Retention of Jurisdiction.

          11          Following the Confirmation of the Plan and occurrence of the Effective Date, in addition to

          12   jurisdiction which exists in any other court, the Bankruptcy Court shall retain such jurisdiction as is

          13   legally permissible including for the following purposes:

          14          1.      To resolve any and all disputes regarding the operation and interpretation of the Plan

          15   and the Confirmation Order;

          16          2.      To determine the allowability, classification, or priority of Claims and to consider any

          17   objection to claim or interest whether such objection is filed before or after the Effective Date;

          18          3.      To determine the extent, validity and priority of any lien asserted against any Asset or

          19   property of the Debtors or the Debtors’ Estates;

          20          4.      To construe and take any action to enforce the Plan, the Confirmation Order, and any

          21   other order of the Bankruptcy Court, issue such orders as may be necessary or appropriate for the

          22   implementation, execution, performance, and consummation of the Plan, the Confirmation Order,

          23   and all matters referred to in the Plan and the Confirmation Order, and to determine all matters that

          24   may be pending before the Bankruptcy Court in this Case on or before the Effective Date;

          25          5.      To determine (to the extent necessary) any and all applications for allowance of

          26   compensation and reimbursement of expenses of Professionals for the period on or before the

          27   Effective Date;

          28          6.      To determine any request for payment of administrative expenses;

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           1          7.      To determine motions for the rejection, assumption, or assignment of executory

           2   contracts or unexpired leases filed before the Effective Date and the allowance of any Claims

           3   resulting therefrom;

           4          8.      To determine all applications, motions, adversary proceedings, contested matters, and

           5   any other litigated matters instituted during the pendency of these Cases whether before, on, or after

           6   the Effective Date, including Claims, Causes of Action, and Avoidance Actions, and the

           7   Reorganized Debtors shall have the right to commence in the Bankruptcy Court any Causes of

           8   Action, including any Avoidance Actions, after the Effective Date, and to continue with the

           9   prosecution in the Bankruptcy Court of any such claims, Causes of Action and Avoidance Actions

          10   which were commenced but not completed by the Debtors prior to the Effective Date;

          11          9.      To determine such other matters and for such other purposes as may be contemplated

          12   by the Plan or Confirmation Order;

          13          10.     To modify the Plan under § 1127 of the Bankruptcy Code in order to remedy any

          14   apparent defect or omission in the Plan, or to reconcile any inconsistency in the Plan, so as to carry

          15   out its intents and purposes;

          16          11.     Except as otherwise provided in the Plan or the Confirmation Order, to issue

          17   injunctions, to take such other actions, or make such other orders, as may be necessary or

          18   appropriate to restrain interference with the Plan or the Confirmation Order, or the execution or

          19   implementation by any Person or other entity of the Plan or the Confirmation Order;

          20          12.     To issue such orders in aid of consummation, and in aid of implementation, of the

          21   Plan and the Confirmation Order, notwithstanding any otherwise applicable nonbankruptcy law,

          22   with respect to any Person or entity, to the fullest extent authorized by the Bankruptcy Code or

          23   Bankruptcy Rules; and

          24          13.     To enter a final decree closing these Cases.

          25   G.     Amendments to Corporate Documents.

          26          On the Effective Date, the officers and board members of the Reorganized Debtors shall be

          27   authorized to amend any corporate documents as necessary and to take all actions necessary and

          28   appropriate to carry out the terms of the Plan.

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           1   H.     Dissolution of the Committee.

           2          On the Effective Date, the Committee, to the extent that it serves as the Official Committee

           3   of Unsecured Creditors appointed in the bankruptcy cases of Irwin Nevada and Irwin Canada, shall

           4   be dissolved and its members shall be released and discharged from all rights and duties arising from

           5   or related to these Cases.

           6   I.     Miscellaneous Issues Regarding Plan Distribution.

           7          1.      No Fractional Distributions.

           8          No Distributions in fractions of hundredths of U.S. Dollars ($0.00’s) (i.e., cents) shall be

           9   issued. If the Distribution amount allocated to an Allowed Claim at the time of a Distribution

          10   hereunder would include fractions of cents, the amount to be distributed to the holder of such Claim

          11   shall be rounded down to the highest integral number of cents in the applicable Claim amount.

          12          2.      Name and Address of Holder of Claim.

          13          For purposes of all distributions under the Plan, the Disbursing Agent can rely on the name

          14   and address of the holder of each Allowed Claim as shown on any timely filed proof of claim and, if

          15   none, as shown on the Debtors’ Schedules, except to the extent that the Disbursing Agent first

          16   receives adequate written notice of a change of address, properly executed by the Holder or its

          17   authorized agent.

          18          3.      Unclaimed Distribution.

          19          Any Unclaimed Distribution under the Plan shall be forfeited to the Reorganized Debtors.

          20   An Unclaimed Distribution is any Distribution made by the Reorganized Debtors to the address of

          21   the recipient reflected in the Schedules (or on any Proof of Claim filed by the Claimant), by: (a)

          22   checks which have been returned as undeliverable without a proper forwarding address; (b) checks

          23   which were not mailed or delivered because of the absence of a proper address to which to mail or

          24   deliver the same; (c) checks which have not been cashed for a period of ninety (90) days after the

          25   date such checks were issued, or (d) disbursements that were not made because the Holder of such

          26   Allowed Claim failed to provide required tax information within forty-five (45) days after the

          27   Reorganized Debtors have sent any request for same to such Claimant’s address as reflected in the

          28   Schedules and/or such Claimant’s Proof of Claim.

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           1             4.     De Minimus Cash Distributions.

           2             Notwithstanding anything to the contrary in the Plan, no Cash Distributions shall be made on

           3   account of any Allowed Claim if the Cash Distribution amount is less than $25.00. Holders of

           4   Allowed Claims who would otherwise be entitled to a Distribution in the amount of less than $25.00

           5   shall receive no Distribution on account of such Allowed Claim because the value of such Allowed

           6   Claim would be de minimus and the administrative costs associated with processing and mailing the

           7   Distributions to the holder of such Allowed Claim would likely exceed the amount of the

           8   Distribution. The Debtors may, at their own discretion, pay any claim totaling $5,000 or less in full.

           9                                    V.    IRS CIRCULAR 230 NOTICE

          10             To ensure compliance with IRS Circular 230, holders of Claims and Interests are hereby

          11   notified that; (i) any discussion of federal tax issues contained or referred to in this Disclosure

          12   Statement is not intended or written to be used, and cannot be used, by holders of Claims or Interests

          13   for the purpose of avoiding penalties that may be imposed on them under the Internal Revenue Code;

          14   (ii) such discussion is written in connection with the promotion or marketing by the Debtors of the

          15   transactions or matters addressed herein; and (iii) holders of Claims and Interests should see advice

          16   based on their particular circumstances from an independent tax advisor.

          17                              VI.    TAX CONSEQUENCES OF THE PLAN

          18             CREDITORS AND INTEREST HOLDERS CONCERNED WITH HOW THE PLAN MAY

          19   AFFECT THEIR TAX LIABILITY SHOULD CONSULT WITH THEIR OWN ACCOUNTANTS,

          20   ATTORNEYS, AND/OR ADVISORS. The following disclosure of possible tax consequences is

          21   intended solely for the purpose of alerting readers about possible tax issues the Plan may present to

          22   the Debtors. The Debtors CANNOT and DOES NOT represent that the tax consequences contained

          23   below are the only tax consequences of the Plan because the Tax Code embodies many complicated

          24   rules which make it difficult to state completely and accurately all of the tax implications of any

          25   action.

          26                   VII.   CONFIRMATION REQUIREMENTS AND PROCEDURES

          27             PERSONS OR ENTITIES CONCERNED WITH CONFIRMATION OF THE PLAN

          28   SHOULD CONSULT WITH THEIR OWN ATTORNEYS BECAUSE THE LAW ON

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           1   CONFIRMING A PLAN OF REORGANIZATION IS VERY COMPLEX. The following

           2   discussion is intended solely for the purpose of alerting readers about basic confirmation issues,

           3   which they may wish to consider, as well as certain deadlines for filing claims. The Debtors

           4   CANNOT and DO NOT represent that the discussion contained below is a complete summary of the

           5   law on this topic.

           6          Many requirements must be met before the Bankruptcy Court can confirm a plan. Some of

           7   the requirements include that the plan must be proposed in good faith, the acceptance of the plan,

           8   whether the Plan pays creditors at least as much as Creditors would receive in a Chapter 7

           9   liquidation, and whether the Plan is feasible. These requirements are not the only requirements for

          10   confirmation.

          11   A.     Who May Vote or Object.

          12          Any party in interest may object to the confirmation of the Plan, but, as explained below, not

          13   everyone is entitled to vote to accept or reject the Plan.

          14   B.     Who May Vote to Accept/Reject the Plan

          15          A Creditor or Interest holder has a right to vote for or against the Plan if that Creditor or

          16   Interest holder has a Claim or Interest which is both (1) allowed or allowed for voting purposes and

          17   (2) classified in an impaired class.

          18   C.     What Is an Allowed Claim/Interest

          19          As noted above, a Creditor or Interest holder must first have an allowed claim or interest to

          20   have the right to vote. Generally, any proof of claim or interest will be allowed, unless a party in

          21   interest files an objection to the claim or interest. When an objection to a claim or interest is filed,

          22   the creditor or interest holder holding the claim or interest cannot vote unless the Bankruptcy Court,

          23   after notice and hearing, either overrules the objection or allows the claim or interest for voting

          24   purposes.

          25          THE BAR DATE FOR FILING A PROOF OF CLAIM IN THIS CASE ON ACCOUNT OF

          26   PRE-PETITION CLAIMS IS EXPECTED TO BE DECEMBER 20, 2024. A creditor or interest

          27   holder may have an allowed claim or interest even if a proof of claim or interest is not timely filed.

          28   A claim is deemed allowed if (1) it is scheduled on the Debtors’ Schedules and such claim is not

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           1   scheduled as disputed, contingent, or unliquidated, and (2) no party in interest has objected to the

           2   claim. An interest is deemed allowed if it is scheduled and no party in interest has objected to the

           3   interest.

           4   D.      What Is an Impaired Claim/Interest.

           5           As noted above, an allowed claim or interest has the right to vote only if it is in a class that is

           6   impaired under the Plan. See, e.g., In re Barakat, 99 F.3d 1520 (9th Cir. 1996), cert. denied, 520

           7   U.S. 1143 (1997) (a class that is not impaired is conclusively presumed to have accepted a chapter

           8   11 plan). A class is impaired if the Plan alters the legal, equitable, or contractual rights of the

           9   members of that class. For example, a class comprised of General Unsecured Claims is impaired if

          10   the Plan fails to pay the members of that class 100% of what they are owed on the Effective Date.

          11           In these Cases, the Debtors believe that members of Classes 1, 3, 4, 6 and 7 are impaired.

          12   Parties who dispute the Debtors’ characterization of their claim or interest as being impaired or

          13   unimpaired may file an objection to the Plan contending that the Debtors have incorrectly

          14   characterized the Class.

          15   E.      Who Is Not Entitled to Vote.

          16           The following four types of claims are not entitled to vote: (1) claims that have been

          17   disallowed; (2) claims in unimpaired classes; (3) claims entitled to priority pursuant to sections

          18   507(a)(1), (a)(2), and (a)(8) of the Bankruptcy Code; and (4) claims in classes that do not receive or

          19   retain any value under the Plan. Claims in unimpaired classes are not entitled to vote because such

          20   classes are deemed to have accepted the Plan. Claims entitled to priority pursuant to sections

          21   507(a)(1), (a)(2), and (a)(8) of the Bankruptcy Code are not entitled to vote because such claims are

          22   not placed in classes and they are required to receive certain treatment specified by the Bankruptcy

          23   Code. Claims in classes that do not receive or retain any value under the Plan do not vote because

          24   such classes are deemed to have rejected the Plan. Accordingly, Classes 2, 5 and 8 are not entitled to

          25   vote. EVEN IF YOUR CLAIM IS OF THE TYPE DESCRIBED ABOVE, YOU MAY STILL

          26   HAVE A RIGHT TO OBJECT TO THE CONFIRMATION OF THE PLAN.

          27   F.      Who Can Vote in More Than One Class.

          28           A Creditor whose Claim has been allowed in part as a secured claim and in part as an

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           1   unsecured claim is entitled to accept or reject the Plan in both capacities by casting one ballot for the

           2   secured part of the claim and another ballot for the unsecured claim. The Debtors do not believe that

           3   there are any Creditors who have a claim that is partially secured and partially unsecured.

           4   G.     Votes Necessary to Confirm the Plan.

           5          If impaired classes exist, the Bankruptcy Court cannot confirm the Plan unless (1) at least

           6   one impaired class has accepted the Plan without counting the votes of any insiders within that class,

           7   and (2) all impaired classes have voted to accept the Plan, unless the Plan is eligible to be confirmed

           8   by "cramdown" on non-accepting classes, as discussed below.

           9   H.     Votes Necessary for a Class to Accept the Plan.

          10          A class of claims is considered to have accepted the Plan when more than one-half (1/2) in

          11   number and at least two-thirds (2/3) in dollar amount of the claims which actually voted on the plan,

          12   voted in favor of the plan. A class of interests is considered to have “accepted” a plan when at least

          13   two-thirds (2/3) in amount of the interest-holders of such class which actually voted on the plan,

          14   voted to accept the plan.

          15   I.     Treatment of Non-accepting Classes.

          16          As noted above, even if all impaired classes do not accept the Plan, the Bankruptcy Court

          17   may nonetheless confirm the Plan if the non-accepting classes are treated in the manner required by

          18   the Bankruptcy Code. The process by which non-accepting classes are forced to be bound by the

          19   terms of a plan is commonly referred to as “cramdown.” The Bankruptcy Code allows the Plan to be

          20   “crammed down” on non-accepting classes of claims or interests if it meets all consensual

          21   requirements except the voting requirements of § 1129(a)(8) and if the Plan does not “discriminate

          22   unfairly” and is “fair and equitable” toward each impaired class that has not voted to accept the Plan

          23   as referred to in § 1129(b) of the Bankruptcy Code and applicable case law.

          24   J.     Request for Confirmation Despite Nonacceptance by Impaired Class(es).

          25          The Debtors will request the Bankruptcy Court to confirm the Plan by cramdown on

          26   impaired classes if such classes do not vote to accept the Plan.

          27   ///

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           1   K.      Liquidation Analysis.

           2           Another confirmation requirement is the “Best Interest Test,” which requires a liquidation

           3   analysis. Under the Best Interest Test, if a claimant or interest holder is in an impaired class and that

           4   claimant or interest holder does not vote to accept the Plan, then that claimant or interest holder must

           5   receive or retain under the Plan property of a value that is not less than the amount that such holder

           6   would receive or retain if the Debtors were liquidated under Chapter 7 of the Bankruptcy Code.

           7           In a Chapter 7 case, the debtor’s assets are usually sold by a Chapter 7 trustee. Secured

           8   creditors are paid first from the sales proceeds of properties on which the secured creditor has a lien.

           9   Administrative claims are paid next. Next, unsecured creditors are paid from any remaining sales

          10   proceeds, according to their rights to priority. Unsecured creditors with the same priority share in

          11   proportion to the amount of their allowed claim in relationship to the amount of total allowed

          12   unsecured claims. Finally, interest holders receive the balance that remains after all creditors are

          13   paid, if any.

          14           For the Bankruptcy Court to be able to confirm the Plan, the Bankruptcy Court must find that

          15   all creditors and interest holders who do not accept the Plan will receive at least as much under the

          16   Plan as such holders would receive under a Chapter 7 liquidation of the Debtors. The Debtors

          17   maintain that this requirement is clearly met.

          18           The Debtors largest liability by far is the approximately $19 million disputed secured claim

          19   of EWB. Because this is a liability against all Debtors and the Debtors intend on paying all creditors

          20   in full, the Debtors’ liquidation analysis (“Liquidation Analysis”), attached hereto as Exhibit C, was

          21   prepared on a consolidated basis. The Debtors and their financial advisor prepared the Liquidation

          22   Analysis with two scenarios – the first is that the Debtors’ assets are sold in a liquidation at a high

          23   value, and the second is that the Debtors’ assets are sold in a “fire sale”. In the first scenario, all

          24   Allowed Claims would be paid in full. In the second scenario, general unsecured creditors are

          25   estimated to receive 6.4% of their Allowed Claims.

          26           In a chapter 7 case, a chapter 7 trustee would be required to replace the professionals

          27   currently employed by the Debtors' Estates with new professionals, which would burden the Estates

          28   with additional substantial fees as the trustee and his/her professionals would need to familiarize

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           1   themselves with these cases, and the Estates would bear the significant financial burden of their

           2   learning curve. These additional expenses are avoided through the confirmation of the Plan.

           3   Moreover, the Reorganized Debtors will make all Effective Date Distributions under the Plan at no

           4   charge to the Estates and thereby avoid the substantial fees that would otherwise be payable to a

           5   Chapter 7 trustee for making such disbursements pursuant to Section 326 of the Bankruptcy Code.

           6          The Liquidation Analysis depends on several estimates and assumptions. Although

           7   developed and considered reasonable by the Debtors and the advisors of the Debtors, the

           8   assumptions are inherently subject to significant economic, business, regulatory, and competitive

           9   uncertainties and contingencies beyond the Debtors' control or their management. The Liquidation

          10   Analysis is also based on the Debtors’ best judgment of how numerous decisions in the liquidation

          11   process would be resolved. Accordingly, there can be no assurance that the values reflected in the

          12   Liquidation Analysis would be realized if the Debtors were, in fact, to undergo such liquidation, and

          13   actual results could vary materially and adversely from those contained in the Liquidation Analysis.

          14   Further, the Liquidation Analysis contains numerous estimates regarding the Debtors’ financial and

          15   operational performance between now and the confirmation date, which is still under review and

          16   subject to material change.

          17          In preparing the Liquidation Analysis, the Debtors have preliminarily estimated an amount of

          18   Allowed Claims for each indicated type of Claim. Additional Claims were estimated to include

          19   certain Chapter 7 administrative obligations incurred after the conversion date. The estimate of all

          20   allowed claims in the Liquidation Analysis is based on the scheduled and filed claim values and

          21   several illustrative placeholders. No order or finding has been entered or made by the Bankruptcy

          22   Court estimating or otherwise fixing the amount of Claims at the projected amounts of Allowed

          23   Claims set forth in the Liquidation Analysis. The estimate of the amount of Allowed Claims set

          24   forth in the Liquidation Analysis should not be relied upon for any other purpose, including, without

          25   limitation, any determination of the value of any distribution to be made on account of Allowed

          26   Claims under the Plan. The actual amount of Allowed Claims could be materially different from the

          27   amount of Claims estimated in the Liquidation Analysis.

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           1          The Liquidation Analysis demonstrates that in a piecemeal Chapter 7 liquidation, the worst-

           2   case scenario would be that the liquidation proceeds would be less than the outstanding amount of

           3   asserted administrative claims. The best-case scenario is that General Unsecured Claims would

           4   receive a pro rata distribution of 100% of their claims.

           5 % OF THEIR CLAIMS WHICH GENERAL UNSECURED CREDITORS WOULD
           6
             RECEIVE OR RETAIN IN A CHAPTER 7 LIQUIDATION: =6.4% to 100%

           7   % OF THEIR CLAIMS WHICH GENERAL UNSECURED CREDITORS ARE
               ESTIMATED TO RECEIVE OR RETAIN UNDER THE PLAN: = 100% Cash
           8

           9   L.     Feasibility.

          10          Another requirement for confirmation involves the feasibility of the Plan, which means that

          11   confirmation of the Plan is not likely to be followed by the liquidation, or the need for further

          12   financial reorganization, of the Debtors or any successor to the Debtors under the Plan, unless such

          13   liquidation or reorganization is proposed in the Plan.

          14          There are at least two important aspects of a feasibility analysis. The first aspect considers

          15   whether the Debtors will have enough cash on hand on the Effective Date to pay all the claims and

          16   expenses which are entitled to be paid on such date. As set forth in the Plan Projections, the Debtors

          17   expect to have cash on hand of approximately $3 million. Of this amount, the Reorganized Debtors

          18   anticipate that they will require at least $1.75 million for working capital to meet the Debtors’

          19   operating needs, thereby reducing available funds to fund the Effective Date payments to $1.25

          20   million. Such proceeds will be utilized as follows:

          21          Administrative (Professional)                    $1,135,000
                      Lease/Contract Cures                             $0
          22          Priority Wage Claims                             $5,991.80

          23          Total                                            $1,140,991.80

          24   Based on the foregoing, the Debtors are confident that sufficient funds will exist to make all required

          25   Effective Date payments.

          26          The second aspect considers whether the Reorganized Debtors will have enough cash over

          27   the life of the Plan to make the required Plan payments. The balance of Allowed Claims will be

          28   satisfied over time as set forth in the Plan Projections attached hereto as Exhibit B. The Plan

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           1   Projections are cash flow projections prepared for the five year period following the Effective Date,

           2   which demonstrate the Reorganized Debtors’ ability to pay all Allowed Claims in full over the life of

           3   the Plan. The Plan Projections are conservative estimates of the Debtors’ performance based on

           4   historical information adjusted for current market conditions. The Debtors believe there is a strong

           5   possibility that the Plan will be fully funded earlier than what is set forth in the Plan Projection.

           6           As a condition to confirmation of a plan, the Bankruptcy Code requires, among other things,

           7   that the Bankruptcy Court determine that confirmation is not likely to be followed by the liquidation

           8   or the need for further financial reorganization of the Debtors. The Debtors believe that their

           9   ongoing business operates will generate sufficient revenue to pay all Allowed Claims in full by the

          10   second quarter of 2028. The Debtors reserve the right to (i) obtain post-confirmation financing to

          11   pay all Allowed Claims early, and/or (ii) seek to sell their business to pay all Allowed Claims in full.

          12                         VIII. EFFECT OF CONFIRMATION OF THE PLAN

          13   A.      Discharge.

          14           On the Effective Date, the Debtors will receive a discharge under the Plan pursuant to and in

          15   accordance with the provisions of § 1141 of the Bankruptcy Code because there has not been a

          16   liquidation of all or substantially all of the property of the Debtors’ Estates. Pursuant to §

          17   1141(d)(1)(A), Confirmation of the Plan will discharge “the debtor[s] from any debt that arose

          18   before the date of such confirmation, and any debt of a kind specified in section 502(g), 502(h), or

          19   502(i) of this title, whether or not – (i) a proof of claim based on such debt is filed or deemed filed

          20   under section 501 of this title; (ii) such claim is allowed under section 502 of this title; or (iii) the

          21   holder of such claim has accepted the plan …”. 11 U.S.C. §§ 1141(d)(1)(A)(i), (ii) and (iii). In

          22   other words, Confirmation of the Plan will effectuate a discharge as to all debts or liabilities,

          23   whether contingent, unliquidated, disputed, known or unknown, that were incurred or arose

          24   before Confirmation of the Plan. This includes all types of Claims and obligations arising out of

          25   and/or including, but not limited to, (i) all causes of action under state and Federal law (e.g., breach

          26   of contract, breach of fiduciary duty, false advertising, etc.), (ii) trade payables, (iii) landlord claims,

          27   (iv) tax Claims including interest, (v) environmental claims, (vi) employee related claims and (vii)

          28   any other known or unknown Claim from any debt arising prior to Plan Confirmation.

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           1          The Plan shall bind the holders of all Claims whether or not they vote to accept the

           2   Plan. The rights afforded in the Plan and the treatment of all Claims therein shall be in

           3   complete satisfaction, discharge and release of all Claims against the Debtors or their Assets of

           4   any nature whatsoever except as otherwise specifically provided in the Plan. Except as set

           5   forth in the Plan, all Claims shall be forever satisfied, discharged and released in full on the

           6   Effective Date, and all holders of Claims shall be forever precluded and enjoined from

           7   asserting Claims against the Reorganized Debtors. Any litigation pending prepetition and/or

           8   initiated postpetition in any court other than the Bankruptcy Court where relief from stay was

           9   not obtained from the Bankruptcy Court shall be deemed discharged upon Plan Confirmation

          10   and the occurrence of the Effective Date.

          11   B.     Continuing Stay/Injunction.

          12          The automatic stay is lifted upon the Effective Date as to property of the Estates. However,

          13   the stay continues to prohibit collection or enforcement of prepetition Claims against the

          14   Reorganized Debtors or the Reorganized Debtors’ property until the earlier of the date: (1) the

          15   Debtors’ bankruptcy Cases are closed, or (2) the Debtors’ bankruptcy Cases are dismissed.

          16   Therefore, all parties bound by the Plan shall take no action with respect to, and are enjoined from,

          17   collecting or enforcing their prepetition Claims against the Reorganized Debtors as set forth herein,

          18   and as otherwise provided by operation of law, until the earlier of the date that (1) the Debtors’

          19   bankruptcy Cases are closed, or (2) the Debtors’ bankruptcy Cases are dismissed. Specifically,

          20   absent further order of the Bankruptcy Court, EWB and/or CFG are stayed from, among other

          21   things, (i) taking any action to exercise their guaranty and security agreement against DAI’s stock,

          22   Irwin Nevada’s stock or 5310’s membership interests, (ii) taking control of DAI’s or Irwin Nevada’s

          23   board of directors, and/or (iii) taking control of the Reorganized Debtors’ business.

          24          The Confirmation Order shall enjoin the prosecution, whether directly, derivatively or

          25   otherwise, of any Claim, obligation, suit, judgment, damage, demand, debt, right, cause of

          26   action, liability or interest released, discharged or terminated pursuant to the Plan.

          27          Except as provided in the Plan or the Confirmation Order, as of the Effective Date, all

          28   entities that have held, currently hold or may hold a Claim or other debt or liability that is discharged

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           1   or an interest or other right of an equity holder that is impaired pursuant to the terms of the Plan are

           2   permanently enjoined from taking any of the following actions against the Debtors, the Debtors’

           3   Estates, the Reorganized Debtors or their property on account of any such discharged Claims, debts

           4   or liabilities or terminated interests or rights: (i) commencing or continuing, in any manner or in any

           5   place, any action or other proceeding; (ii) enforcing, attaching, collecting or recovering in any

           6   manner any judgment, award, decree or order; (iii) creating, perfecting or enforcing any lien or

           7   encumbrance; (iv) asserting a setoff, right of subrogation or recoupment of any kind against any

           8   debt, liability or obligation due to the Debtors; and (v) commencing or continuing any action in any

           9   manner, in any place that does not comply with or is inconsistent with the provisions of the Plan.

          10          By accepting distribution pursuant to the Plan, each holder of an Allowed Claim

          11   receiving a Distribution pursuant to the Plan will be deemed to have specifically consented to

          12   the injunctions set forth in this Section.

          13   C.     Revesting of Property in the Reorganized Debtors.

          14          With respect to Irwin Nevada, DAI and 5310, the Confirmation of the Plan revests all

          15   property of their respective Estates in the Reorganized Debtors respectively, including, but not

          16   limited to, any litigation claims pursuant to the Plan and the Bankruptcy Code. From and after the

          17   Effective Date, the Reorganized Debtors may operate their business and may use, acquire, and

          18   dispose of property, including payment of all business expenses and professional fees and expenses,

          19   and compromise and settle any claims or causes of actions without supervision or consent of the

          20   Bankruptcy Court, and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules.

          21          The Reorganized Debtors shall have, retain, reserve and be entitled to assert all claims,

          22   causes of action, rights of setoff and other legal or equitable defenses that the Debtors had

          23   immediately prior to the Petition Date as fully as if the Debtors’ bankruptcy Cases had not been

          24   commenced; and all of the Reorganized Debtors’ legal and equitable rights respecting any such

          25   claims which are not specifically waived, extinguished, or relinquished by the Plan may be asserted

          26   after the Effective Date by the Reorganized Debtors.

          27

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           1          With respect to Irwin Canada, Confirmation of the Plan vests all of Irwin Canada’s property,

           2   assets and liabilities in DAI. All subsidiaries of Irwin Canada will become subsidiaries of DAI as of

           3   the Effective Date of the Plan.

           4   D.     Modification of the Plan.

           5          The Debtors may modify the Plan at any time before confirmation. However, the

           6   Bankruptcy Court may require a new disclosure statement and/or re-voting on the Plan if the Debtors

           7   modify the Plan before confirmation. The Debtors or the Reorganized Debtors, as the case may be,

           8   may also seek to modify the Plan at any time after Confirmation of the Plan so long as (1) the Plan

           9   has not been substantially consummated, and (2) the Bankruptcy Court authorizes the proposed

          10   modifications after notice and a hearing.

          11   E.     Post-Confirmation Status Reports.

          12          Until final decrees closing the Debtors’ Case are entered, the Reorganized Debtors shall file

          13   regular status reports if so ordered by the Bankruptcy Court.

          14   F.     Post-Confirmation Conversion/Dismissal – Local Bankruptcy Rule 3020-1(e).

          15          A Creditor or any other party in interest may bring a motion to convert or dismiss the Cases

          16   under § 1112(b) of the Bankruptcy Code after the Plan is confirmed if there is a default in

          17   performing the Plan. If the Bankruptcy Court orders the Cases converted to chapter 7 after the Plan

          18   is confirmed, then all property that had been property of the chapter 11 Estates, and that has not been

          19   disbursed pursuant to the Plan, will revest in the chapter 7 estate, and the automatic stay will be re-

          20   imposed upon the revested property, but only to the extent that relief from stay was not previously

          21   authorized by the Bankruptcy Court during these Cases. The Plan Confirmation Order may also be

          22   revoked under very limited circumstances. The Bankruptcy Court may revoke the Plan

          23   Confirmation Order if it was procured by fraud and if a party in interest brings an adversary

          24   proceeding to revoke confirmation within 180 days after the entry of the Plan Confirmation Order.

          25   G.     Final Decree.

          26          Once the estate has been fully administered as referred to in Bankruptcy Rule 3022, the

          27   Reorganized Debtors shall file a motion with the Bankruptcy Court to obtain a final decree to close

          28

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       /s/ Susan K. Seflin
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              EXHIBIT A
                                                     Case 1:24-bk-11323-VK                            Doc 187 Filed 10/31/24 Entered 10/31/24 16:45:14                                                   Desc
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               ID(s)      Filed
            14                     1010Data Services LLC                                         x                              $0.00          $0.00       $6,000.00                                                                      24-11323
            335                    A360                                                          x                              $0.00          $0.00     $117,450.00                                                                      24-11323      D
C323-6                  08/15/2024 A360 Media, LLC                                               x         $117,450.00                                                                     $117,450.00                      24-11323
            17                     Acosta Inc                                                    x                                                        $34,995.24                                                                      24-11323
C323-5                  10/16/2024 ADP Inc                                                       x             $19.80                                                                          $19.80                       24-11323
            115                    Advantage Sales & Marketing                                   x                              $0.00          $0.00        $257.71                                                                       24-11323
            19                     Ahold Financial Services                                      x                              $0.00          $0.00       $3,873.64                                                                      24-11323
            21                     Alison Marie Cervelli                               x                                        $0.00      $1,240.00           $0.00                                                                      24-11323
            22                     American Associated Pharmacies                                x                                                          $382.00                                                                       24-11323
            23                     American Express                                              x                                                        $57,480.05                                                                      24-11323
C323-20                 10/04/2024 American Express National Bank                                x          $83,533.69                                                                      $83,533.69                      24-11323
            24                     Amware Fulfillment LLC                                        x                                                        $95,583.57                                                                      24-11323
            25                     Apg Inc                                                       x                                                        $24,600.00                                                                      24-11323
C323-10                 08/15/2024 Arcbest, Inc                                                  x          $45,652.49                                                                      $45,652.49                      24-11323
            26                     Armanino LLP                                                  x                                                       $539,288.29                                                                      24-11323
C323-4                  09/03/2024 Aston Carter, Inc                                             x           $3,504.55                                                                       $3,504.55                      24-11323
            27                     Ballard Spahr LLP                                             x                              $0.00          $0.00     $152,014.05                                                                      24-11323      D
            116                    Berg Marketing Group                                          x                              $0.00          $0.00      $10,432.35                                                                      24-11323
            70                     Best One Consultng Group                                      x                                                          $656.25                                                                       24-11323
            29                     Brex Inc                                                      x                                                          $210.00                                                                       24-11323
            8                       Broadridge                                                   x                                                          $418.35                                                                       24-11324
C323-11                 08/23/2024 Buchalter, A Professional Corporation                         x           $4,494.46                                                                       $4,494.46                      24-11323
            100                    CA Dept of Tax & Fee Administration                 x                                        $0.00      $2,697.30           $0.00                                                                      24-11323
                                   California Dept of Tax & Fee Administration
            244                                                                        x                                                       $0.00           $0.00                                                                      24-11323
                                   (CDTFA)
                                   California Dept of Tax & Fee Administration
            237                                                                        x                                                       $0.00           $0.00                                                                      24-11324
                                   (CDTFA)
                                   California Dept of Tax & Fee Administration
            258                                                                        x                                                       $0.00           $0.00                                                                      24-11325
                                   (CDTFA)
                                   California Dept of Tax & Fee Administration
            251                                                                        x                                                       $0.00           $0.00                                                                      24-11326
                                   (CDTFA)
            30                     Call & Jensen                                                 x                                                         $1,655.50                                                                      24-11323
            44                     Canada Revenue Agency                               x                                        $0.00     $15,150.00       $2,288.37                                                                      24-11323
            338                     Canada Revenue Agency                              x                                                       $0.00           $0.00                                                                      24-11324
            31                      Canadian Analytical Lab                                      x                                                         $4,449.05                                                                      24-11323
            32                      Captek Softgels International Inc                            x                                                        $41,460.64                                                                      24-11323
            117                     Cdz Sales Inc                                                x                              $0.00          $0.00        $363.34                                                                       24-11323
            75                      Certified Laboratories                                       x                                                          $665.00                                                                       24-11323
            66                      Circana                                                      x                                                         $3,905.04                                                                      24-11323
            65                      Circana LLC                                                  x                                                        $15,870.00                                                                      24-11323
            245                     City of Los Angeles Tax Collector                  x                                                       $0.00           $0.00                                                                      24-11323
            238                     City of Los Angeles Tax Collector                  x                                                       $0.00           $0.00                                                                      24-11324
            259                     City of Los Angeles Tax Collector                  x                                                       $0.00           $0.00                                                                      24-11325
            252                     City of Los Angeles Tax Collector                  x                                                       $0.00           $0.00                                                                      24-11326
            34                      Clark Hill                                                   x                                                        $22,949.00                                                                      24-11323
            1                       Clark Hill PLC                                               x                                                        $41,639.00                                                                      24-11324
            36                      Cnb Commercial Visa Card                                     x                                                           $15.00                                                                       24-11323
            37                      Coast 3Pl                                                    x                              $0.00          $0.00          $0.00                                                                       24-11323
            38                      Coast Warehouse                                              x                              $0.00          $0.00          $0.00                                                                       24-11323
            355                     Colorado Dept of Revenue                           x                                                       $0.00          $0.00                                                                       24-11323
            356                     Colorado Dept of Revenue                           x                                                       $0.00          $0.00                                                                       24-11323
            347                     Colorado Dept of Revenue                           x                                                       $0.00          $0.00                                                                       24-11325
            348                     Colorado Dept of Revenue                           x                                                       $0.00          $0.00                                                                       24-11325
            339                     Colorado Dept of Revenue                           x                                                       $0.00          $0.00                                                                       24-11326

            340                     Colorado Dept of Revenue                           x                                                       $0.00          $0.00                                                                       24-11326
            40                      Commerce Bank                                                x                                                         $1,450.06                                                                      24-11323
            41                      Connected Cfo LLC                                            x                                                         $1,500.00                                                                      24-11323
            71                      Connell Communications                                       x                                                        $36,600.00                                                                      24-11323



                                                                                                                                                                                                                 Exhibit B_001
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               ID(s)       Filed
            321                       Conohan                                                       x                                 $0.00           $0.00           $0.00                                                                          24-11323      CUD
            42                        Copperpoint Insurance Co                                      x                                                            $10,948.00                                                                          24-11323
            43                        CR3 Partners LLC                                              x                                 $0.00           $0.00      $39,321.35                                                                          24-11323      D
            118                       Creative Sales & Marketing                                    x                                 $0.00           $0.00      $11,953.94                                                                          24-11323
            5                         Cse Canadian Securities Exchange                              x                                                             $4,695.15                                                                          24-11324

C323-1      56           09/01/2024 Dawn Patrol Inc dba Full Stream Group                           x          $103,733.83                                       $72,388.94                           $103,733.83 Possible Objection 24-11323

            46                      Dentons Canada LLP                                              x                                                            $27,340.16                                                                          24-11323
                                    Department Of Treasury - Internal Revenue
C323-13                  09/20/2024                                                       x                    $511,072.18                                                              $511,072.18                 Objection          24-11323
                                    Service
            248, 241,               Department Of Treasury - Internal Revenue
C326-7                   09/16/2024                                                       x         x         $1,009,150.72                           $0.00           $0.00             $803,184.63   $205,966.09 Objection            24-11326
            262, 255                Service
            334                     Digital Media Innovations                                       x                                 $0.00           $0.00      $11,708.00                                                                          24-11323      D
            4                         Digital Media Innovations, LLC                                x                                                            $11,367.00                                                                          24-11324
            119                       Direct Sales & Marketing                                      x                                 $0.00           $0.00       $1,429.18                                                                          24-11323
            47                        Dsv Air & Sea                                                 x                                                             $1,426.70                                                                          24-11323
            48                        Dsv Road Inc                                                  x                                                             $9,501.78                                                                          24-11323
            49                        Dsv Solutions Inc                                             x                                                            $22,546.43                                                                          24-11323
            161                       East West Bank                            x                                             $18,651,960.01                          $0.00                                         Objection                        24-11323      UD
            172                       East West Bank                            x                                                      $0.00          $0.00           $0.00                                                                          24-11323      UD
            159                       East West Bank                            x                                             $18,651,960.01          $0.00           $0.00                                                                          24-11324      UD
            166                       East West Bank                            x                                                     $0.00           $0.00           $0.00                                                                          24-11325      UD
            168                       East West Bank                            x                                                     $0.00           $0.00           $0.00                                                                          24-11325      UD
            170                       East West Bank                            x                                                     $0.00           $0.00           $0.00                                                                          24-11325      UD
            162                       East West Bank, as agent                  x                                                     $0.00           $0.00           $0.00                                                                          24-11323      UD
            160                       East West Bank, as agent                  x                                                     $0.00           $0.00           $0.00                                                                          24-11324      UD
            164                       East West Bank, as agent                  x                                             $18,651,960.01          $0.00          $0.00                                                                           24-11325      UD
            165                       East West Bank, as agent                  x                                                      $0.00          $0.00          $0.00                                                                           24-11325      UD
            167                       East West Bank, as agent                  x                                                      $0.00          $0.00          $0.00                                                                           24-11325      UD
            169                       East West Bank, as agent                  x                                                      $0.00          $0.00          $0.00                                                                           24-11325      UD
            171                       East West Bank, as agent                  x                                                      $0.00          $0.00          $0.00                                                                           24-11325      UD
            163                       East West Bank, as agent                  x                                             $18,651,960.01          $0.00           $0.00                                                                          24-11326      UD

            313                       EMA Anesthesia                                                x                                 $0.00           $0.00      $36,400.00                                                                          24-11324      D
            246                       Employment Development Dept                         x                                                           $0.00          $0.00                                                                           24-11323
            239                       Employment Development Dept                         x                                                           $0.00          $0.00                                                                           24-11324
            260                       Employment Development Dept                         x                                                           $0.00          $0.00                                                                           24-11325
            253                       Employment Development Dept                         x                                                           $0.00          $0.00                                                                           24-11326
C323-15                  10/20/2024 Eric S Reskin                                                   x                $0.00                                                                                  $0.00                      24-11323                    U
            52                      Expertvoice                                                     x                                                             $8,985.61                                                                          24-11323
            53                        Fedex                                                         x                                                            $22,143.59                                                                          24-11323
            54                        Feel Rite Natural Food Shoppes, Inc                           x                                                              $580.00                                                                           24-11323
            120                       Feldkamp Marketing                                            x                                 $0.00           $0.00      $12,416.42                                                                          24-11323
            247                       Franchise Tax Board                                 x                                                           $0.00          $0.00                                                                           24-11323

            240                       Franchise Tax Board                                 x                                                           $0.00          $0.00                                                                           24-11324

            261                       Franchise Tax Board                                 x                                                           $0.00          $0.00                                                                           24-11325

            254                       Franchise Tax Board                                 x                                                           $0.00          $0.00                                                                           24-11326

C323-18                  08/30/2024 Frontline Marketing                                             x           $34,995.24                                                                             $34,995.24 Possible Objection 24-11323

            2                         Generation Iacp Inc                                           x                                                            $58,279.58                                                                          24-11324
C323-12                  10/19/2024 Gordon Investigative Group LLC                                  x           $55,000.00                                                                             $55,000.00 Objection            24-11323




                                                                                                                                                                                                                                Exhibit B_002
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               ID(s)       Filed
            57                       Gowling Wlg (Canada) LP                                  x                                                         $2,729.71                                                                          24-11323
            121                      Guise                                                    x                              $0.00          $0.00       $2,425.09                                                                          24-11323
            113                      Healthy Life Market                                      x                              $0.00          $0.00       $1,104.00                                                                          24-11323
            58                       Herb Shop Ii                                             x                                                          $419.68                                                                           24-11323
            316                      Herman Reese                                             x                              $0.00          $0.00           $0.00                                                                          24-11323      CUD
            122                      Hollywood Alliance Canada Inc                            x                              $0.00          $0.00      $17,336.80                                                                          24-11323
            59                       Ibotta Inc                                               x                                                         $7,098.96                                                                          24-11323
            360                      Illinois Dept of Revenue                       x                                                       $0.00           $0.00                                                                          24-11323
            352                      Illinois Dept of Revenue                       x                                                       $0.00           $0.00                                                                          24-11325
            341                      Illinois Dept of Revenue                       x                                                       $0.00           $0.00                                                                          24-11326
            60                       Informa Media                                            x                                                        $28,452.00                                                                          24-11323
            61                       Information Resources Inc                                x                                                       $138,568.41                                                                          24-11323
            35                       Inmar Brand Solutions Inc                                x                                                        $96,493.00                                                                          24-11323
            63                       Inmar Promotions-Canada Inc                              x                                                         $1,112.94                                                                          24-11323
            62                       Inmar-Oiq LLC                                            x                                                        $10,000.00                                                                          24-11323
            3                        Integral Wealth Securities                               x                                                        $36,740.82                                                                          24-11324
            123                     Interwest Brokerage, Inc                                  x                              $0.00          $0.00        $2,052.61                                                                         24-11323
            124                     Jk Sales                                                  x                              $0.00          $0.00        $2,460.30                                                                         24-11323
C323-3      67           10/16/2024 Johnson & Bertram LLP                                     x           $5,531.24                                      $5,531.24                            $5,531.24                      24-11323
            125                     Jwp Sales                                                 x                              $0.00          $0.00        $1,991.38                                                                         24-11323
            20                      K1 Packaging Group                                        x                                                         $94,942.12                                                                         24-11323
            68                      Karled Enterprises (Kld)                                  x                              $0.00          $0.00    $1,137,382.81                                                                         24-11323      CU
            142                     Kimberly A Boodjeh                              x                                        $0.00        $626.80            $0.00                                                                         24-11323
            336                     KSE Sportsman Media                                       x                              $0.00          $0.00       $11,156.00                                                                         24-11323      D
            69                      Landsberg                                                 x                                                         $19,021.65                                                                         24-11323
                                    Los Angeles County Treasurer & Tax
            249                                                                     x                                                       $0.00           $0.00                                                                          24-11323
                                    Collector
                                    Los Angeles County Treasurer & Tax
            242                                                                     x                                                       $0.00           $0.00                                                                          24-11324
                                    Collector
                                    Los Angeles County Treasurer & Tax
            263                                                                     x                                                       $0.00           $0.00                                                                          24-11325
                                    Collector
                                    Los Angeles County Treasurer & Tax
            256                                                                     x                                                       $0.00           $0.00                                                                          24-11326
                                    Collector
            126                     Louis F Leeper Co                                         x                              $0.00          $0.00       $1,458.78                                                                          24-11323
            72                      Mark Judkins Consulting Co                                x                                                         $7,498.00                                                                          24-11323
            73                      Mark Salamon                                    x                                        $0.00      $4,125.00           $0.00                                                                          24-11323
            357, 349,
C326-2                   08/12/2024 Massachusetts Department Of Revenue             x         x           $1,451.53                         $0.00           $0.00                $1,396.81      $54.72                       24-11326
            342
            74                      Media Brokers Int'l                                       x                              $0.00          $0.00     $415,423.00                                                                          24-11323      D
            314                     Media Max Network, LLC                                    x                              $0.00          $0.00      $63,526.00                                                                          24-11323      D
                                    Michael Goldberg, As Plan Administrator
C324-17                  09/23/2024                                                           x          $63,633.89                                                                          $63,633.89 Possible Objection 24-11324
                                    For 20230930-DK-Butterfly-1, Inc
            361                     Michigan Dept of Treasury                       x                                                       $0.00           $0.00                                                                          24-11323
            362                     Michigan Dept of Treasury                       x                                                       $0.00           $0.00                                                                          24-11323
            353                     Michigan Dept of Treasury                       x                                                       $0.00           $0.00                                                                          24-11325
            354                     Michigan Dept of Treasury                       x                                                       $0.00           $0.00                                                                          24-11325
            343                      Michigan Dept of Treasury                      x                                                       $0.00           $0.00                                                                          24-11326

            344                      Michigan Dept of Treasury                      x                                                       $0.00           $0.00                                                                          24-11326
            127                     Mike Sullivan Sales Co                                    x                              $0.00          $0.00        $115.79                                                                           24-11323
C323-19     128          10/02/2024 Mittenthal & Associates/P&GB, Inc               x         x          $19,015.80          $0.00          $0.00       $3,116.05               $15,150.00    $3,865.80 Objection            24-11323
            9                        Mnp LLP                                                  x                                                       $124,457.92                                                                          24-11324
            76                       Mrc Smart Technology Solutions                           x                                                         $1,113.74                                                                          24-11323
            250                      Nevada Dept of Taxation                        x                                                       $0.00           $0.00                                                                          24-11323
            243                      Nevada Dept of Taxation                        x                                                       $0.00           $0.00                                                                          24-11324
            264                      Nevada Dept of Taxation                        x                                                       $0.00           $0.00                                                                          24-11325
            257                      Nevada Dept of Taxation                        x                                                       $0.00           $0.00                                                                          24-11326
            16                       Nielsen Consumer LLC                                     x                                                        $62,766.59                                                                          24-11323
            77                       Nsf International                                        x                                                         $5,260.00                                                                          24-11323



                                                                                                                                                                                                                    Exhibit B_003
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                ID(s)      Filed
             78                     Nuborn Express Inc                                         x                                                            $29,672.08                                                                               24-11323
C323-14                  08/23/2024 Nuborn Express Inc                                         x           $28,684.00                                                                                  $28,684.00                      24-11323
             79                     Oc & C Strategy Consultants                                x                                                           $300,000.00                                                                               24-11323
             129                    Omega Sales                                                x                                 $0.00           $0.00       $3,068.83                                                                               24-11323
             358                    Oregon Dept of Revenue                           x                                                           $0.00           $0.00                                                                               24-11323
             350                    Oregon Dept of Revenue                           x                                                           $0.00           $0.00                                                                               24-11325
             345                     Oregon Dept of Revenue                          x                                                           $0.00           $0.00                                                                               24-11326
             81                      Paragon Laboratories                                      x                                                           $171,404.35                                                                               24-11323
             82                      Partner's Delivery Inc                                    x                                                             $2,447.00                                                                               24-11323
             83                      Peco Pallet Inc                                           x                                                            $12,075.21                                                                               24-11323
             130                     Phil Bortman & Associates                                 x                                 $0.00           $0.00       $4,052.56                                                                               24-11323
             131                     Precision Sales & Marketing                               x                                 $0.00           $0.00       $1,919.29                                                                               24-11323
             84                      Pure Green Corp                                           x                                                              $144.51                                                                                24-11323
             7                       Pushor Mitchell LLP                                       x                                                             $3,184.98                                                                               24-11324
             86                     Quotient                                                   x                                                            $16,700.00                                                                               24-11323
             87                     Rakuten Marketing LLC                                      x                                                              $489.53                                                                                24-11323
C323-8                   10/19/2024 Reskin CPAs PSC                                            x           $35,000.00                                                                                  $35,000.00 Objection            24-11323
C323-9                   10/19/2024 Reskin CPAs PSC                                            x           $32,000.00                                                                                  $32,000.00 Objection            24-11323
             140                    Resources Wholesale, Inc                                   x                                 $0.00           $0.00          $68.04                                                                               24-11323
             132                    Retail Business Solutions, Inc                             x                                 $0.00           $0.00      $24,772.65                                                                               24-11323
             90                     Robinson Pharma                                            x                                 $0.00           $0.00           $0.00                                                                               24-11323
             6                       Rod Kight                                                 x                                                            $27,714.26                                                                               24-11324
C323-16                  08/27/2024 Rodney Kight                                               x           $26,250.00                                                                                  $26,250.00                      24-11323
             137                    Rpm Group                                                  x                                 $0.00           $0.00      $23,654.42                                                                               24-11323
             92                     Rsm US LLP                                                 x                                                           $157,500.00                                                                               24-11323
             93                     Rust Logistics                                             x                                                              $900.00                                                                                24-11323
             94                     Save Naturally Inc                                         x                                                                $72.68                                                                               24-11323
             95                     Select Staffing                                            x                                                             $2,775.72                                                                               24-11323
             133                    Shankman & Associates, Inc                                 x                                 $0.00           $0.00        $177.02                                                                                24-11323
             10                      Sheri Orlowitz                                            x                                                            $26,283.00                                                                               24-11324
             96                      Silvertip LLC                                             x                                                            $36,934.58                                                                               24-11323
             337                     Smyth Publishing Services, Inc.                           x                                 $0.00           $0.00      $17,000.00                                                                               24-11323      D
             104                     Socalgas                                                  x                                                                $29.34                                                                               24-11323
             97                      Southeastern Grocers                                      x                                                             $2,500.00                                                                               24-11323
             135                     Specialized Marketing Intl                                x                                 $0.00           $0.00       $1,634.85                                                                               24-11323
             98                      Spins LLC                                                 x                                                            $25,000.02                                                                               24-11323
             99                      Sps Commerce Inc                                          x                                                             $7,639.80                                                                               24-11323
             138                     Star Sales & Marketing                                    x                                 $0.00           $0.00        $556.00                                                                                24-11323
             101                     State of Washington Dor                         x                                           $0.00         $907.62           $0.00                                                                               24-11323
             102                     Sunshine Fym                                              x                                 $0.00           $0.00        $100.00                                                                                24-11323
             103                     Telus Agriculture & Consumer Goods (US)                   x                                                            $16,488.00                                                                               24-11323
             88                      The Renew Co LLC                                          x                                                            $10,892.00                                                                               24-11323
             134                     The Shuster Group LLC                                     x                                 $0.00           $0.00       $6,262.85                                                                               24-11323
             139                     The Swanson Group                                         x                                 $0.00           $0.00      $93,899.64                                                                               24-11323
             106                     Tls Transportation Inc                                    x                                 $0.00           $0.00           $0.00                                                                               24-11323
             105                     Tls Transportation Inc (3Pl)                              x                                 $0.00           $0.00           $0.00                                                                               24-11323
             141                     Tmz                                                       x                                 $0.00           $0.00        $100.85                                                                                24-11323
             317                     Trisha Vaughn                                             x                                 $0.00           $0.00           $0.00                                                                               24-11323      CUD
             107                     Trustpilot, Inc                                           x                                                             $3,000.00                                                                               24-11323
             109                     Venable LLP                                               x                                                             $2,310.00                                                                               24-11323
             359                     Virginia Dept of Taxation                       x                                                           $0.00           $0.00                                                                               24-11323
             351                     Virginia Dept of Taxation                       x                                                           $0.00           $0.00                                                                               24-11325
             346                     Virginia Dept of Taxation                       x                                                           $0.00           $0.00                                                                               24-11326
             110                     West Bloomfield Market LLC                                x                                                              $400.00                                                                                24-11323
             111                     Wfbm, LLP                                                 x                                                             $5,308.72                                                                               24-11323
             112                     Wilson Elser                                              x                                                              $467.50                                                                                24-11323
             114                     Zapp Packaging Inc                                        x                                                            $94,240.38                                                                               24-11323
TOTALS For
Filed Clms                                                                                               $2,180,173.42   $74,607,840.04     $24,746.72    $5,017,479.38       $0.00   $1,330,803.62   $849,369.80
Schs



                                                                                                                                                                                                                              Exhibit B_004
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              EXHIBIT B
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PRELIMINARY FINANCIALS & SUBJECT TO MATERIAL CHANGE
Irwin Naturals Nevada
Chapter 11 Plan : Projections                                                         Actuals                                                                   Forecast
                                                 Actual                 Actual        Actual        Actual        Actual        Forecast     Forecast    Forecast     Forecast    Forecast    Forecast
Year/Month/Quarter                                2019                   2020          2021          2022          2023           2024         2025        2026         2027        2028        2029
Period Starting                                 01/01/19               01/01/20      01/01/21      01/01/22      01/01/23       01/01/24     01/01/25    01/01/26     01/01/27    01/01/28    01/01/29
Period Ending                                   12/31/19               12/31/20      12/31/21      12/31/22      12/31/23       12/31/24     12/31/25    12/31/26     12/31/27    12/31/28    12/31/29

Income Statement
Gross sales
  MM+                                                                                                            $     65.6     $    58.1 $       61.2 $      62.1 $       63.0 $      64.0 $      64.9
  HFS+                                                                                                                 29.7          29.5         31.0        32.9         35.0        37.2        39.5
  ECOMM                                                                                                                 6.1           5.4          5.7         5.9          6.1         6.3         6.5
  INTL                                                                                                                  0.9           0.6          1.0         1.0          1.0         1.0         1.0
Total Gross Sales (1)                                    $    116.0 $       117.0 $       134.2 $       121.2 $       102.3     $    93.6 $       98.8 $     101.9 $      105.1 $     108.4 $     112.0
  (-) Promotions, Discounts and other adj.                    (28.2)        (27.6)        (33.8)        (33.7)        (30.8)        (23.4)       (25.4)      (26.0)       (26.7)      (27.3)      (28.1)
Net Sales                                                $     87.9 $        89.4 $       100.3 $        87.5 $        71.4     $    70.2 $       73.4 $      75.9 $       78.4 $      81.1 $      83.9
  (-) Cost of Goods Sold                                      (48.9)        (52.9)        (55.6)        (48.6)        (43.2)        (39.0)       (40.8)      (42.0)       (43.3)      (44.6)      (46.0)
Gross profit                                             $     39.0 $        36.5 $        44.7 $        39.0 $        28.3     $    31.1 $       32.6 $      33.9 $       35.1 $      36.5 $      37.9
  (-) General and Administrative Expenses                      (9.5)         (5.8)        (10.2)         (9.2)        (11.0)        (10.1)        (8.8)       (9.1)        (9.4)       (9.7)      (10.0)
  (-) Sales and Marketing Expenses                            (12.1)        (11.5)        (12.0)        (11.4)        (10.5)         (7.0)        (8.3)       (8.6)        (8.9)       (9.2)       (9.5)
  (-) Distribution Expenses                                    (9.2)        (10.1)        (10.6)        (10.0)         (9.8)         (8.7)        (7.7)       (8.0)        (8.2)       (8.5)       (8.8)
Total Operating Expenses                                 $    (30.8) $      (27.4) $      (32.9) $      (30.6) $      (31.4)    $   (25.7) $     (24.9) $    (25.7) $     (26.5) $    (27.3) $    (28.2)
Operating Income                                         $       8.2 $         9.1 $        11.8 $         8.3 $        (3.1)   $     5.4 $        7.7 $        8.2 $       8.7 $       9.2 $       9.7
  Total Other Income (Expense)                                  (0.9)         (1.0)         (0.5)         (0.1)         (1.6)        (4.0)        (4.4)        (2.0)       (1.8)       (1.4)       (2.0)
Net income (loss)                                        $       7.3 $         8.1 $        11.3 $         8.2 $        (4.7)   $     1.4 $        3.4 $        6.2 $       6.9 $       7.8 $       7.7
EBITDA                                                   $       7.5   $       8.2   $      11.4   $       8.3   $      (3.1)   $     6.6    $     7.7   $     8.2   $      8.7   $     9.2   $     9.7

Income Statement Metrics
Gross Sales Growth %                                            n/a          0.8%         12.8%        (10.7%)       (18.5%)        (9.3%)        5.3%        3.0%        3.1%         3.1%        3.1%
Dilution % of Gross Sales                                     24.3%         23.6%         25.2%         27.8%         30.1%         25.0%        25.7%       25.5%       25.4%        25.2%       25.1%
Gross Profit % of Net Sales                                   44.4%         40.8%         44.5%         44.5%         39.5%         44.4%        44.4%       44.6%       44.8%        45.0%       45.2%
Operating Income % of Net Sales                                9.4%         10.2%         11.8%          9.5%         (4.4%)         7.7%        10.5%       10.8%       11.1%        11.3%       11.6%
EBITDA % of Net Sales                                          8.6%          9.2%         11.4%          9.5%         (4.4%)         9.4%        10.5%       10.8%       11.1%        11.3%       11.6%
G&A % of Net Sales                                            10.8%          6.5%         10.2%         10.5%         15.4%         14.3%        12.0%       12.0%       11.9%        11.9%       11.9%
S&M % of Net Sales                                            13.8%         12.9%         12.0%         13.1%         14.7%         10.0%        11.4%       11.3%       11.3%        11.3%       11.3%
Distribution % of Net Sales                                   10.5%         11.3%         10.6%         11.5%         13.8%         12.3%        10.5%       10.5%       10.5%        10.5%       10.5%

  (1) Highly preliminary estimate subject to further audit and working sessions with sales team to refine FY '25 and beyond.




                                                                                                                                                                         Exhibit B_001
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PRELIMINARY FINANCIALS & SUBJECT TO MATERIAL CHANGE
Irwin Naturals Nevada
Chapter 11 Plan : Projections                                                            Actuals                                                                 Forecast
                                                 Actual                    Actual        Actual         Actual        Actual      Forecast    Forecast    Forecast     Forecast   Forecast    Forecast
Year/Month/Quarter                                2019                      2020          2021           2022          2023         2024        2025        2026         2027       2028        2029
Period Starting                                 01/01/19                  01/01/20      01/01/21       01/01/22      01/01/23     01/01/24    01/01/25    01/01/26     01/01/27   01/01/28    01/01/29
Period Ending                                   12/31/19                  12/31/20      12/31/21       12/31/22      12/31/23     12/31/24    12/31/25    12/31/26     12/31/27   12/31/28    12/31/29

Balance Sheet
Assets
  Cash                                                                                                $        0.2 $       4.4    $     3.3 $       2.5 $       3.1 $       3.2 $       4.4 $       9.7
  Accounts Receivable - Gross                                                                                 21.5        12.2         12.6        12.3        12.1        12.5        12.9        13.4
  Accounts Receivable - Credit Bal. Adj.                                                                       0.2         0.2          0.2         0.2         0.2         0.2         0.2         0.2
  A/R - Allowance                                                                                             (0.4)       (0.4)        (0.7)       (0.6)       (0.6)       (0.7)       (0.7)       (0.7)
  Inventory                                                                                                   24.2        15.7         11.3        11.6        11.4        11.7        12.1        12.5
  Inventory Rebate                                                                                            (0.8)       (0.4)        (0.4)       (0.4)       (0.4)       (0.4)       (0.4)       (0.4)
  Inventory Reserve / Allowance                                                                               (1.1)       (2.0)        (2.1)       (2.3)       (2.3)       (2.4)       (2.4)       (2.5)
  Other Current Assets                                                                                         4.7         4.4          3.7         3.7         3.7         3.7         3.7         3.7
Total Current Assets                                                                                  $       48.6 $      34.1    $    28.0 $      27.0 $      27.3 $      28.0 $      29.9 $      35.8
  Intercompany and other assets (1)                                                                           15.2        28.1         30.2        30.2        30.2        30.2        30.2        30.2
  Fixed Assets, Net                                                                                            0.2         0.2          0.1         0.1         0.1         0.1         0.1         0.1
  Intangible Assets, Net                                                                                         -           -            -           -           -           -           -           -
Total Assets                                                                                          $       63.9 $      62.4    $    58.3 $      57.3 $      57.6 $      58.3 $      60.2 $      66.1

Liabilities
   Accounts Payable (2)                                                                                        7.8         8.1          8.7         3.5         3.5          3.6        3.7         3.8
   Other Current Liabilities                                                                                   8.3         6.4          4.1         3.8         3.8          3.8        3.8         3.8
Total Current Liabilities                                                                             $       16.1 $      14.5    $    12.7 $       7.3 $       7.3 $        7.4 $      7.5 $       7.6
Long Term Liabilities
  Prepetition Secured Debt                                                                                    16.6        23.7         19.0        15.1        10.0         4.6           -           -
  Prepetition GUC Claims                                                                                         -           -            -         4.9         4.2         3.3         1.9           -
  New Term Loan Facility                                                                                         -           -            -           -           -           -           -           -
  Other Long Term Liabilities                                                                                  4.5         2.0          3.2         3.2         3.2         3.2         3.2         3.2
Long-term liabilities                                                                                 $       21.0 $      25.7    $    22.2 $      23.1 $      17.3 $      11.0 $       5.1 $       3.2
Total Liabilities                                                                                     $       37.1   $    40.2    $    34.9   $    30.5   $    24.6   $    18.4   $    12.6   $    10.8

Total Equity                                                                                          $       26.8   $    22.1    $    23.5   $    26.8   $    33.0   $    39.9   $    47.6   $    55.4
Liabilities + Equity                                                                                  $       63.9   $    62.4    $    58.3   $    57.3   $    57.6   $    58.3   $    60.2   $    66.1

  (1) Emergence portion of balance to be written off for tax purposes in '24 not reflected in this exhibit.
  (2) Prepetition portion to long-term payables EOY '24.




                                                                                                                                                                          Exhibit B_002
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PRELIMINARY FINANCIALS & SUBJECT TO MATERIAL CHANGE
Irwin Naturals Nevada
Chapter 11 Plan : Projections                                          Actuals                                                      Forecast
                                                 Actual     Actual     Actual     Actual     Actual    Forecast   Forecast   Forecast     Forecast   Forecast   Forecast
Year/Month/Quarter                                2019       2020       2021       2022       2023       2024       2025       2026         2027       2028       2029
Period Starting                                 01/01/19   01/01/20   01/01/21   01/01/22   01/01/23   01/01/24   01/01/25   01/01/26     01/01/27   01/01/28   01/01/29
Period Ending                                   12/31/19   12/31/20   12/31/21   12/31/22   12/31/23   12/31/24   12/31/25   12/31/26     12/31/27   12/31/28   12/31/29

Debt Schedule Waterfall
Debt Repayment Waterfall
Beginning of Period Cash                                                                                          $     3.3 $      2.5 $        3.1 $      3.2 $      4.4
  (-) Minimum Cash                                                                                                     (3.0)      (3.0)        (3.0)      (3.0)      (3.0)
Net Beginning of Period Cash                                                                                      $     0.3 $     (0.5) $       0.1 $      0.2 $      1.4
EBITDA                                                                                                                  7.7         8.2         8.7        9.2        9.7
  (-) Capex                                                                                                            (0.1)       (0.1)       (0.1)      (0.1)      (0.1)
  (-) Cash Taxes                                                                                                       (0.4)       (0.6)       (0.7)      (0.8)      (0.8)
  (-) Non-Recurring Expenses                                                                                           (2.3)       (0.1)       (0.2)      (0.3)      (1.1)
  (+/-) in Working Cap. & Other Assets/Liabilities                                                                      0.4         0.2        (0.5)      (0.6)      (0.6)
  (+) Funding from New Term Loan Facility                                                                                 -           -           -          -          -
Cash Available for Debt Service                                                                                   $     5.7 $       7.1 $       7.2 $      7.5 $      8.6
  (-) Secured Debt Interest                                                                                            (1.6)       (1.2)       (0.7)      (0.2)         -
  (-) Unsecured Debt Interest                                                                                             -           -           -          -          -
  (-) New Term Loan Facility Interest                                                                                     -           -           -          -          -
Cash Available for Mandatory Debt Repayment                                                                       $     4.1 $       5.9 $       6.5 $      7.4 $      8.6
  (-) Secured Debt Repayment                                                                                           (3.0)       (4.0)       (4.0)      (3.6)         -
  (-) Unsecured Debt Repayment GUC                                                                                        -           -           -          -          -
  (-) New TL Facility Repayment (Mandatory)                                                                               -           -           -          -          -
Cash Available for Discretionary Debt Repayment                                                                   $     1.1 $       1.9 $       2.5 $      3.8 $      8.6
  (-) Secured Debt Repayment                                                                                           (0.9)       (1.1)       (1.4)      (1.0)         -
  (-) Unsecured Debt Repayment GUC                                                                                     (0.6)       (0.7)       (0.9)      (1.4)      (1.9)
Ending Cash Available                                                                                             $    (0.5) $      0.1 $       0.2 $      1.4 $      6.7
  (-) Secured Debt Repayment (Refinance)                                                                                  -           -           -          -          -
  (-) Unsecured Debt Repayment GUC (Refinance)                                                                            -           -           -          -          -
Ending Cash Available                                                                                             $    (0.5) $      0.1 $       0.2 $      1.4 $      6.7
  (+) Minimum Cash                                                                                                      3.0         3.0         3.0        3.0        3.0
End of Period Cash                                                                                                $     2.5 $       3.1 $       3.2 $      4.4 $      9.7




                                                                                                                                            Exhibit B_003
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PRELIMINARY FINANCIALS & SUBJECT TO MATERIAL CHANGE
Irwin Naturals Nevada
Chapter 11 Plan : Projections                                          Actuals                                                           Forecast
                                                 Actual     Actual     Actual     Actual     Actual      Forecast    Forecast     Forecast     Forecast     Forecast     Forecast
Year/Month/Quarter                                2019       2020       2021       2022       2023         2024        2025         2026         2027         2028         2029
Period Starting                                 01/01/19   01/01/20   01/01/21   01/01/22   01/01/23     01/01/24    01/01/25     01/01/26     01/01/27     01/01/28     01/01/29
Period Ending                                   12/31/19   12/31/20   12/31/21   12/31/22   12/31/23     12/31/24    12/31/25     12/31/26     12/31/27     12/31/28     12/31/29


Prepetition Secured Debt
Beg. Balance                                                                                                         $    19.0 $       15.1 $      10.0 $         4.6 $        0.0
  (-) Repayment                                                                                                           (3.9)        (5.1)       (5.4)         (4.6)           -
Ending Balance                                                                                                       $    15.1 $       10.0 $       4.6 $           - $        0.0
Prepetition Unsecured Debt
Beg. Balance                                                                                                         $     5.5 $         4.9 $       4.2 $        3.3 $        1.9
  (-) Repayment                                                                                                           (0.6)         (0.7)       (0.9)        (1.4)        (1.9)
Ending Balance                                                                                                       $     4.9 $         4.2 $       3.3 $        1.9 $          -
Term Loan
Beg. Balance                                                                                                         $          - $       - $             - $          - $          -
  (+) Additions                                                                                                                 -         -               -            -            -
  (-) Repayment                                                                                                                 -         -               -            -            -
Ending Balance                                                                                                       $          - $       - $             - $          - $          -

Total Debt                                                                                  $    23.7    $    19.0 $      20.0 $       14.2 $        7.9 $        1.9 $         0
Total Interest Paid                                                                         $     1.5    $     1.3 $       1.6 $        1.2 $        0.7 $        0.2 $             -

Credit Metrics
EBITDA LTM                                                                                  $    (3.1)   $     6.6 $       7.7 $        8.2 $        8.7 $        9.2 $        9.7
Interest Expense LTM                                                                              1.5          1.3         1.6          1.2          0.7          0.2            -
Total Debt                                                                                       23.7         19.0        20.0         14.2          7.9          1.9          0.0
Cash                                                                                              4.4          3.3         2.5          3.1          3.2          4.4          9.7
Total Debt to EBITDA                                                                             n/a          2.9x        2.6x         1.7x        0.9x          0.2x         0.0x
Net Debt to EBITDA                                                                               n/a          2.4x        2.2x         1.3x        0.5x          n/a          n/a
Interest Coverage                                                                                n/a          4.9x        4.8x         6.8x       11.6x         60.3x         n/a




                                                                                                                                                 Exhibit B_004
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Irwin Naturals Nevada
Waterfall Forecast Notes
          Item Group                                                                        Assumption
General

                             This financial model (the “Model”) with respect to Irwin Naturals Inc. and its affiliates and subsidiaries (the “Debtors” or the
                             “Company”) has been prepared solely for inclusion in the Disclosure Statement accompanying the Debtor’s Chapter 11 Plan (the
                             “Plan”) in these cases pending before the court. This model is intended to provide creditors and other stakeholders with a projected
                             financial performance of the Company in connection with evaluating its Plan, and should not be construed as an offering of securities
 Disclaimer                  or an offer to sell, nor a solicitation of an offer to buy, any securities of the Debtors.
                             The information contained in this Model is derived from unaudited data and guidance from management on future performance and
                             is based on a variety of assumptions about future conditions, many of which are beyond the control of the Debtors' and subject to
                             significant uncertainties. As a result, the actual financial and operational outcomes may differ materially from those projected herein.
                             This model may be revised and refined prior to the confirmation hearing.

                             This Model projects financial performance from October 1, 2024 through December 31, 2029. It assumes an exit from chapter 11
 Forecast Period             bankruptcy between December 31, 2024 and January 31, 2025, but may vary as the Debtors continue operating in their chapter 11
                             cases.
                             Gross Sales:
                             FY25 is projected to account for price increases generally ranging from 3-20% for select SKUs and customers occurring between 2024
                             and 2025. The price increases in the model are implemented using a sales plan that forecasts monthly sales volume by SKU and
                             customer relative to the unit sales price for that respective period (i.e., pre or post-price increase). From FY26 to FY29, gross sales are
                             expected to grow by ~3% annually as a proxy for general economic growth, continued product innovation, and maintenance price
                             increases as determined necessary by management. The Company does not project an increase in unit volume from 2024 to 2025 in
                             the aggregate (slight decrease overall) or thereafter as part of this analysis; however, unit volumes vary by individual account and by
                             SKU in accordance with historical trends and planning.
 Base Assumptions
                             Dilution:
                             Uses the actual average dilution from January to August 2024, with a slight increase for each channel beginning in 2025. These
                             figures are subject to change as the Debtors' continue operating in their chapter 11 cases.
                             Cost of Goods Sold ("COGS"):
                             COGS for FY24 and FY25 leverages management's product-by-product sales plan to allocate COGS relative to planned unit volume.
                             The COGS forecast uses internal data on cost basis by SKU to aggregate total COGS by sales channel, resulting in total COGS by sales
                             channel. For 2026 and beyond, COGS is forecasted by sales channel as the historical average of COGS in dollars for each sales channel
                             in FY25 as a percent of gross sales for the same sales channel (i.e., variable to gross sales by channel fixed at the FY25 average).




                                                                                                                                         Exhibit B_005
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Irwin Naturals Nevada
Waterfall Forecast Notes
        Item Group                                                                         Assumption
Other Income Statement Line Items
                              Q424: Management forecast in-line with recent historical periods and adjusted for key staffing needs and normalized insider
 General & Administrative     compensation
 ("G&A") Payroll              FY25: 2025 forecast based on Q4 24 payroll plus normalized insider compensation
                              FY26-29: Variable forecast growing in-line with annual sales
                              Q424: Management forecast normalized to be near in-line with historical expenditures relative to gross sales and resource needs per
                              management
                              FY25: Includes normalized costs based on historical averages relative to gross sales and management guidance
 All other G&A Expenses
                              FY26-29: Variable forecast based on annual sales
                              Note: Some amounts currently budgeted for G&A may need to be re-allocated to S&M expenditures as the company continues
                              refining its FY25 budgeting
                           Q424: Management forecast in-line with recent historical periods and adjusted for key staffing needs and normalized compensation
 Sales & Marketing ("S&M")
                           FY25: Forecast based on Q4 24 payroll and hiring needs
 Payroll Expenses
                           FY26-29: Variable forecast based on annual gross sales

                              Q424: Management forecast normalized from 2024 actuals to amounts near in-line with historical expenditures
                              FY25: Q1 2025 assumes continued expenditures in-line with guidance provided by management from Q4 2024, the remaining 2025
 S&M Advertising &            forecast is variable based on gross sales times average of Q4 2024 and Q1 2025 forecast
 Promotion                    FY26-29: Variable forecast based on annual sales
                              Note: Some amounts currently budgeted for G&A may need to be re-allocated to S&M expenditures as the company continues
                              refining its FY25 budgeting
                              Q424: Management guidance based on historical need relative to gross sales
                              FY25: Q1 2025 continuation of management forecasted expenditures from Q4 2024. The remainder of FY25 is forecast as variable
 S&M Selling Expenses
                              based on gross sales times the average of S&M as a percentage of gross sales for 2024 September YTD
                              FY26-29: Variable forecast based on annual sales
                              Q424: Management guidance based on historical trends and sales plan need
                              FY25: Q1 continuation of management forecasted expenditures from Q4 2024. The remaining 2025 forecast normalizes these costs
 All other S&M Expenses
                              based on historical averages relative to gross sales
                              FY26-29: Variable forecast based on annual gross sales
                              Q424: Reflects cost changes due to changing distribution methodologies (i.e., use of 3PLs vs in-house distribution)
 Dist. Freight Costs          FY25: Q1 continuation of management forecasted expenditures from Q4 2024. The remaining FY25 forecast is variable based on
 Dist. Fulfilment Costs       gross sales times avg. of 2024 YTD through September
                              FY26-29: Variable forecast based on annual sales
                              Q424: Reflects cost savings from changing distribution methodologies (i.e., use of 3PLs vs in-house distribution)
                              FY25: Q1 continuation of management forecasted expenditures from Q4 2024. The remaining FY25 forecast normalizes these costs
 All other Dist. Expenses
                              based on Q3 2024 averages
                              FY26-29: Variable forecast based on annual sales

 Depreciation                 Fixed based on September 2024 depreciation expense

                              FY24-29: Federal income taxes offset by ~$32mm of operating losses + ~$3mm of disallowed business interest expenses; state
 Income Taxes
                              income taxes at 5.3% assumed average for all states

                              FY24: $155k per month
 Interest Expense
                              FY25-29: Secured debt outstanding in period times 9% per annum

                              FY25: Primarily professional fees and UST fees; Reflected as actual cash expenses (not accrual) for periods after September '24.
 Restructuring Expenses
                              Assumed to be paid in cash for the post-petition and post-confirmation periods for illustrative purposes

 Other income / (expenses) Management's 10% share of discretionary payments disbursed one period after accrual




                                                                                                                                       Exhibit B_006
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Irwin Naturals Nevada
Waterfall Forecast Notes
        Item Group                                                                         Assumption
Balance Sheet

                              Q424: Illustrative roll forward to be refined
 Accounts Receivable          FY25: Q1 Estimate to be refined; Q2 2025 forward based on DSO adjusted to normalized rate
                              FY26-29: DSO adjusted to normalized rate

                              FY24: Held constant
 Credit Balance Adjustment
                              FY25-29: Variable percent of gross A/R based on historical average


                              FY24: Held constant
 A/R Allowance
                              FY25-29: Increase at monthly rate, written off in December of each period

                              Q424: Illustrative roll forward to be refined
 Inventory                    FY25: Q1 Estimate to be refined; Q2 2025 forward based on DOH adj. to normalize
                              FY26-29: DOH adj. to normalize

 Inventory Rebate
                              FY24: Held constant
 Inventory Reserve
                              FY25-29: Variable percentage of gross accounts receivable
 Allowance

 All Other Current Assets     Held constant

 All Other Intercompany and
                            Held constant; Interco from Emergence to be eliminated in '24 not reflected in model
 Other Assets

 Gross Fixed Assets           Increase at maintenance capex based on September 24 monthly capex

 All Other Intangible Assets Held constant

                               FY24: DPO to normalize; Includes estimated prepetition general unsecured claims outstanding and postpetition payables until
 Accounts Payable              confirmation
                               FY25-29: DPO adjusted to normalize AP after prepetition general unsecured claims portion moved to long term liabilities
                               Held constant -- Other Accrued Expenses would typically hold accrued professional fees; However, the model assumes cash
 All Other Current Liabilities
                               disbursement in the actual projected cash disbursement period for illustrative purposes for Q4 2024 forecast and Q1 2025
                               FY25: Claim amount adjusted to match illustrative figure in liquidation analysis (prepetition claim plus incremental incurred fees);
 Prepetition Secured Debt reduced by $1mm mandatory amortization and repayments from 55% of discretionary cashflow (Excl. $3mm mandatory minimum
                               cash balance)
                               FY25: Illustrative estimate of prepetition unsecured claims; with repayments from 35% of discretionary cashflow (Excl. $3mm
 Prepetition Unsecured Debt
                               mandatory minimum cash balance)
 Capital Stock + Paid In
 Capital
                               Held constant
 Note Receivable Related
 Party

 Retained Earnings            Adjusted by net income in period




                                                                                                                                        Exhibit B_007
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Irwin Naturals (Consolidated Debtors)
Chapter 11 Plan : Liquidation Analysis
Note: All amounts are preliminary estimates and subject to further analysis & court approval
Chapter 7 Liquidation Analysis ($MMs)                                              Claims / Asset Book Value                              Recovery Scenario
Recovery Scenario                                                    Notes           High            Low              High ($)         Low ($)         High (%)       Low (%)
Sources of Recovery
  (+) Cash on Hand                                                      1      $             3.5 $          2.5   $          3.5 $           2.5          100.0%         100.0%
  (+) Accounts Receivable Liquidation                                   2                   13.0           11.5              7.8             5.8           60.0%          50.0%
  (+) Inventory Liquidation                                             3                   12.0           10.5              6.0             4.2           50.0%          40.0%
  (+) Prepaid and Deferred Expense Recovery                             4                    1.0            0.8              0.1             0.0           10.0%           5.0%
  (+) Other Investments (Emergence)                                     5                      -              -                -               -              –              –
  (+) Fixed Assets                                                      6                    0.0            0.1                -               -              –              –
  (+) Intangible Assets                                                 7                   30.4           30.4             30.4            19.8          100.0%          65.0%
  (+) Insider Notes Receivable                                          8                    4.1            4.1                -               -              –              –
  (+) Preference Actions                                                9                      -              -                -               -              –              –
  (+) Other Litigation Assets                                          10                   TBD            TBD                 -               -              –              –
  (+) Other Assets                                                     11                    6.5            6.5              0.7             0.6           10.7%           9.2%

Estimated Distributable Value                                                                                     $         48.5   $        32.9

Chapter 7 Wind-Down Claims & Expenses
  (-) Wind-Down Expenses (Professionals)                               12                                                    0.3                 0.6           0.6%        1.8%
  (-) Wind-Down Expenses (Company)                                     13                                                    0.3                 0.6           0.6%        1.8%
  (-) Liquidator Expenses & Fees                                       14                                                    0.7                 0.7           2.0%        3.0%
  (-) Inventory Freight & 3PL Costs                                    15                                                    0.6                 0.6          10.0%       15.0%
  (-) Ch. 7 Trustee Fees                                               16                                                    1.5                 1.0           3.0%        3.0%
  (-) Ch. 7 Trustee Professional Fees                                  17                                                    0.4                 0.6           0.8%        1.8%

Distributable Value -- Secured Claims                                                                             $         44.8   $        28.7

Secured Claims
  (-) Secured Debt (Incl. Accrued Costs)                               18                   19.0           20.0             19.0            20.0          100.0%         100.0%

Distributable Value -- Chpt. 11 Admin Claims                                                                      $         25.8   $         8.7

Chapter 11 Administrative Claims
  (-) Administrative Trade Claims                                      19                    4.0            4.5              4.0                 4.5      100.0%         100.0%
  (-) Professionals Fees Outstanding (Upon Conversion)                 20                    2.0            2.5              2.0                 2.5      100.0%         100.0%
  (-) Estimated UST Fees Outstanding                                   21                    0.1            0.2              0.1                 0.2      100.0%         100.0%
  (-) Post-Petition Taxes Payable                                      22                    0.1            0.1              0.1                 0.1      100.0%         100.0%
  (-) Accrued Wages                                                    23                    0.6            0.9              0.6                 0.9      100.0%         100.0%

Distributable Value -- Priority Claims                                                                            $         19.0   $         0.6

Priority Claims
   (-) Priority Claims                                                 24                    0.0            0.0              0.0                 0.0      100.0%         100.0%

Distributable Value -- General Unsecured Claims                                                                   $         19.0   $         0.6

General Unsecured Claims
  (-) Trade Payable                                                    25                   3.7            4.0               3.7             0.3          100.0%           6.4%
  (-) Professionals                                                    25                   0.0            0.0               0.0             0.0          100.0%           6.4%
  (-) Pending Litigation                                               25                     -            1.5                 -             0.1              –            6.4%
  (-) Former Landlord                                                  25                   1.1            1.3               1.1             0.1          100.0%           6.4%
  (-) Rejection Damages                                                25                     -            2.0                 -             0.1              –            6.4%
  (-) Insiders & Affiliates                                            25                   NA             NA                NA              NA               –              –




                                                                                                                                        Exhibit C_001
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Irwin Naturals

Global Notes to Chapter 7 Liquidation Analysis



I. Dependence on Assumptions:

The liquidation analysis depends on several estimates and assumptions. Although developed and
considered reasonable by the management and the advisors of the Debtor, the assumptions are
inherently subject to significant economic, business, regulatory, and competitive uncertainties and
contingencies beyond the Debtors' control or their management. Additionally, while the Debtors
have made a reasonable eƯort to ensure that the liquidation analysis is accurate and complete
based on information known to them at the time of preparation after reasonable inquiries,
inadvertent errors or omissions may exist and/or of information may result in material changes in
financial and other data contained in the analysis. The liquidation analysis is also based on the
Debtors' best judgment of how numerous decisions in the liquidation process would be resolved.
Accordingly, there can be no assurance that the values reflected in the liquidation analysis would
be realized if the Debtors were, in fact, to undergo such liquidation, and actual results could vary
materially and adversely from those contained herein. This liquidation analysis is also dependent
on the assumption that the estates are liquidated under a substantive consolidation of the Debtors
and that the intercompany claims between the Debtors are eliminated as such. The claims of the
secured creditors are joint and several across these entities and no marshalling of recoveries have
been negotiated to-date with creditors beyond any existing agreements; however, the Debtors'
assets, operations, and liabilities, and employees are almost entirely housed within the Irwin
Naturals Nevada entity. Most of the Debtors' recoverable value in a chapter 7 comes from the
intellectual property held at 5310 Holdings, LLC which is wholly owned by Irwin Naturals Nevada
and has no material liabilities of its own, other than the liabilities of the secured debt. Based upon
the above, the Debtors' believe this methodology produces the most logical illustration of
recoverable value by classes in a chapter 7 liquidation.

II. Assumed Date of Conversion:

The hypothetical conversion of these estates to a chapter 7 proceeding is assumed to occur near or
around the date of a contested confirmation hearing of the proposed plan of reorganization for
illustrative purposes. Except as otherwise noted, all liabilities, cash, receivables, inventory, and all
other accounts in the liquidation analysis are set forth based on the most recent available financial
information or estimates based upon the most recent financial information. Unless otherwise
noted, all values are stated in United States currency. As additional information becomes available
and further research is conducted, the Debtors may modify the constitution, values, and
descriptions of these accounts accordingly.

III. Book Value:

Except as otherwise noted, each estimate of the Debtors' assets and liabilities are shown on the
current basis of book value of the asset or liability in accordance with such Debtors' accounting
books and records.




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IV. Dependence on a Forecasted Financial Position:

This Liquidation Analysis contains numerous estimates regarding the Debtor’s financial
performance between now and the conversion date, which is still under review and subject to
material change as the Debtors continue to operate in their chapter 11 cases.

V. Chapter 7 Liquidation Process:

The liquidation and wind-down of the Debtor’s estate is assumed to be completed over a period of
4-6 months, where the Debtors would liquidate all saleable assets, begin pursuing a variety of
litigation assets, and undergo wind down eƯorts across the remaining subsidiaries and operations.
A majority of the Debtors' tangible assets are assumed to be liquidated as expediently as possible
in the first 2-3 months of the proceedings to minimize overhead and administrative business costs,
which could result in steep discounts on the value of the assets relative to their value as a going-
concern or on a book basis; however, the chapter 7 wind down costs are reflected to be limited
under these circumstances. Delays or prolonging of the liquidation process may result in additional
wind down costs beyond what is reflected herein. The loss of the Debtors' employees, advisors, and
delicate trade relationships in a Chapter 7 liquidation would likely result in significant destruction of
value as it relates to the recovery of intellectual property, receivables, inventory, fixed assets, and
many of the litigation assets which are highly dependent on the cooperation and knowledge of
management. Additionally, it is unclear how significant the liabilities created by the collapse of the
Debtors' operations would be with respect to liabilities relating to its relationships with customers
who often plan for product availability well in advance of delivery.

VI. Claims Estimates:

In preparing this Liquidation Analysis, the Debtors have estimated an amount of Allowed Claims for
each indicated type of claim where possible. Claims were estimated to include certain Chapter 7
administrative obligations incurred after the conversion date. The Debtors also estimated accrued
and outstanding claims from the Chapter 11 administration up until the point of conversion. Several
of the estimates of allowed claims in this liquidation analysis are illustrative placeholders
determined relative to the scheduled claims, filed claims, and the ongoing books and records of the
Debtors; however, there is no certainty that additional claims will not arise from third parties,
insiders, or parties unknown to the Debtors at this time. No order or finding has been entered or
made by the bankruptcy court estimating or otherwise fixing the amount of claims at the projected
conversion date set forth in this liquidation analysis. The estimated allowed claims set forth in this
liquidation analysis should not be relied upon for any other purpose, including, without limitation,
any determination of the value of any distribution to be made on account of allowed claims under
the Debtors' proposed plan of liquidation or reorganization. The actual amounts of allowed claims
could be materially diƯerent from the amount of claims estimated in this liquidation analysis.

Footnotes To Liquidation Analysis Exhibit

1. Cash on Hand

Sensitized cash balance representing the estimated amount of Debtors' cash on hand around the
time of the hypothetical conversion to a chapter 7 bankruptcy in or around a contested plan
confirmation hearing at the end of 2024 or beginning or 2025. At of the time of the analysis, the




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Debtors had approximately $4 million of cash on hand across its various bank accounts. The
Debtors expect to receive additional cash amounts and make disbursements in these accounts in
the following weeks in the ordinary course of business and is subject to change as such. The
Debtors' can receive and disburse amounts in excess of $1 million in any given week in the ordinary
course of business and therefore cash balances are volatile depending on the period of
measurement and the Debtors' cash conversion cycles. The sensitized balance herein is meant to
illustrate these frequent changes in cash on hand.

2. Accounts Receivable Liquidation

Sensitized amount representing the estimated amounts of Debtors' gross accounts receivable
around the time of the contested plan confirmation hearing. The Debtors' balance sheet year to
date has averaged a reserve for bad debt equal to approximately 4.5% of their gross accounts
receivable for the same period, which is accounted for in the recoverable discount included in the
liquidation analysis in addition to ordinary dilution of collections. This discount is for illustrative
purposes and assumes that the Debtors' sell or liquidate their accounts receivable in a fire sale
following the conversion to a chapter 7 proceeding. These circumstances are expected to yield a
much lower recovery for these assets as compared to continued collections on the accounts in the
ordinary course. It is possible that material disputes with customers arise if the Debtors' cease
operations and stop shipping inventory to their customers, which could result in reduced or
delayed collections. The Debtors' estimate dilution on their accounts receivable has ranged
between 23% and 30% in the last five years, and therefore could be materially higher if operations
would cease; however, the discounts reflected in this liquidation analysis are not representative of
the Debtors' collections during ordinary course operations.

3. Inventory Liquidation

Sensitized amount representing the Debtors' estimated gross inventory (dietary supplements,
cosmetic products, etc.) near or around the date of a contested plan confirmation hearing. This
inventory is primarily comprised of the Company's actual product, ingredients, packaging, and
other components that the Company sells to its customers in the ordinary course of business. The
vast majority of the inventory is perishable with a general shelf life of roughly two years. The
Company's inventory is comprised of products that are of various ages, the value of which could
deteriorate over time, specifically if the Debtors' cease operating and face diminished brand value.

4. Prepaid and Deferred Expense Recovery

Sensitized value of the Debtors' prepaid and deferred expenses as of September 30, 2024, which
totaled approximately $927 thousand, and was primarily comprised of deposits for general
business expenses, such as insurance, lease, and marketing related deposits that are unlikely to be
refundable or could be disputed upon attempted collection.

5. Other Investments (Emergence)

The Debtors' investment assets were primarily comprised of its investments in (i) the Emergence
ventures, detailed at length in the Company's public filings, disclosures, and first day pleadings,
and (ii) its ownership of 5310 Holdings, LLC, which owns the Debtors' intellectual property assets
and are broken out as a separate asset for purposes of this analysis. The Debtors' investments in




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the Emergence ventures are not expected to yield material value outside of the historical operating
losses that may become available to the Debtors' go-forward business as a tax shield. The Debtors'
are still in the process of conducting on diligence these tax assets and do not currently have a
formal view on their value in the context of a chapter 7 liquidation.

6. Fixed Assets

The Debtors' limited fixed assets (oƯice furniture, fixtures, computer equipment, etc.) are not
expected to yield material value in a chapter 7 liquidation and may represent a liability depending
on the cost of disposal or removal.

7. Intangible Assets

Values represent the Debtors' third party valuation of its intellectual property and goodwill held at
5310 Holdings, LLC and associated with its brand names, trademarks, and product names as
reflected in the valuation conducted by Marula Capital Group on September 4th, 2024. The brand
valuation was conducted using the relief from royalty methodology and determined that the fair
value of the brand in a net orderly liquidation was approximately $30 million. For illustrative
purposes, this amount has been sensitized downward in the low recovery case to demonstrate the
eƯect on distributions if the intellectual property is liquidated under unfavorable circumstances.
The Debtors believe that they have strong brand value which would be maximized as a going-
concern.

9. Preference Actions

It is unlikely that the Debtors have any collectible preference actions to pursue due to its
prepetition lender's strict control over the Company's disbursements in the periods prior to the
petition date; however, the potential preference actions are still subject to further diligence and
review.

10. Other Litigation Assets

Placeholder for potential causes of action against third parties.

11. Other Assets

Assets classified as "Other" in the Debtors' filed schedules of assets and liabilities, excluding
insider notes receivable, which are broken out separately for purposes of this analysis. Other
Assets primarily includes net operating losses from 2022 and state and federal tax refunds that may
be collectible to the estates. As of September 30, 2024, the Debtors' books and records reflected
an uncollected income tax refund of at least $602 thousand.

12. Wind-Down Expenses (Professionals)

Illustrative costs associated with the wind down eƯorts of the estates in a chapter 7 that require
professional services such as tax-related services for the 2024 and 2025 tax years, the legal
dissolution and closure of the Debtor entities, legal counsel needed to engage with the Canadian
Securities Administrators, or other regulatory bodies such as the FDA. Additional professional
services may be required beyond those listed herein.




                                                                                Exhibit C_005
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13. Wind-Down Expenses (Company)

Illustrative estimates for expenses necessary to wind-down the Debtors' Estates. Estimates
include expenses such as costs for payroll for limited staƯ required to wind down the estates,
maintain or transfer books and records, operational employees required to manage the liquidation
of inventory, intendent contractors, D&O insurance, and the retention of key accounting,
operational, and executive employees who may be required in order to maximize the collectible
value of the Debtors' tangible, intellectual property, or litigation assets. The Company's payroll
expense is approximately $300 thousand per payroll period, and is assumed to be reduced to a
smaller workforce over the period of 1-2 months. These periods may also require retention
programs outside of the ordinary course and the termination of employees could lead to additional
or frivolous employment claims against the Debtors.

14. Liquidator Expenses & Fees

Sensitized amount representing estimates fees and expenses of liquidating the Debtors' inventory
and intellectual property assets using a third-party liquidator or broker, excluding freight costs,
calculated as 2% and 3% of the recoverable value of these assets.

15. Inventory Freight & 3PL Costs

Sensitized estimate of the costs associated with physically moving or distributing the Debtors'
physical inventory over the wind down period. The Debtors currently spend between $150 thousand
and $200 thousand a week on freight and distribution, the majority of which come from its third
party logistics providers. These amounts would likely continue being incurred by the estate as
either an ongoing expense as illustrated here, or a direct oƯset to the recoverable value of its
physical inventory through a purchaser.

16. Ch. 7 Trustee Fees

Chapter 7 Trustee compensation calculated as 3% of the total estimated proceeds available for
distribution.

17. Ch. 7 Trustee Professional Fees

Sensitized estimate of Chapter 7 Trustee professional fees including services related to legal,
financial advisory, specialized accountants, claims agents, noticing, claims reconciliation and
objections, and litigation. Litigation required during the wind-down period is assumed to be oƯset
by any litigation recoveries.

18. Secured Debt (Incl. Accrued Costs)

Represents the scheduled secured claim of East West Bank as of the petition date sensitized to
include the fees and incremental costs associated with representation and advisory during the
pendency of the bankruptcy.




                                                                              Exhibit C_006
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19. Administrative Trade Claims

An illustrative estimate of the potential chapter 11 administrative trade claims outstanding near or
around the conversion date. As of September 30, 2024, the Company estimates its total post-
petition accounts payable to be approximately $4 million.

20. Professionals Fees Outstanding (Upon Conversion)

Sensitized amount representing estimated accrued and outstanding Chapter 11 professional fees
at the time of or near a conversion to a Chapter 7 liquidation. Either scenario represents a range of
estimated accrued professional fees that could vary significantly depending on the nature of
ongoing disputes with creditors, such as the continued use of cash collateral, the costs associated
with a contested plan confirmation hearing, and the general administration of the estates.

21. Estimated UST Fees Outstanding

Sensitized amount representing estimates of accrued but unpaid fees from the United States
Trustee during the Debtors' Chapter 11 bankruptcy, which would become payable near or around a
contested plan confirmation hearing.

22. Post-Petition Taxes Payable

Sensitized amount representing estimates of taxes being accrued due to the generation of profits
after the petition date, which are expected to be partially oƯset by the Debtors' tax assets
associated with historical operating losses.

23. Accrued Wages

Sensitized amount representing estimates of wages and benefits accrued after the petition date.
The Debtors' payroll is paid one week in arrears and is estimated to be approximately $300
thousand a week, excluding commissions, and other benefits.

24. Priority Claims

Represents scheduled priority claims as of the petition date.

25. General Unsecured Claims

Represents scheduled unsecured claims as of the petition date sensitized for additional filed
claims, rejection damages, unknown claims; However, it does not account for claims to potentially
be filed by insiders or aƯiliates. The Debtors reserve their right to object to any of the claims
included in the estimates herein and the inclusion of any claim amounts in this analysis do not
reflect an admission of the validity of any claim.




                                                                               Exhibit C_007
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
21650 Oxnard Street, Suite 500, Woodland Hills, CA 91367.
A true and correct copy of the document(s) entitled: DISCLOSURE STATEMENT DESCRIBING DEBTORS’ CHAPTER
11 PLAN OF REORGANIZATION will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the document(s) were served by the court via NEF and hyperlink to the document. On
October 31, 2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
    • Ryan W Beall rbeall@go2.law, kadele@go2.law;dfitzgerald@go2.law;rbeall@ecf.courtdrive.com;cmeeker@go2.law
    • Matthew Bouslog mbouslog@allenmatkins.com, ncampos@allenmatkins.com
    • Katherine Bunker kate.bunker@usdoj.gov
    • Erin R. Fay efay@wsgr.com, lmcgee@wsgr.com
    • Jeffrey I Golden jgolden@go2.law,
        kadele@ecf.courtdrive.com;cbmeeker@gmail.com;lbracken@wgllp.com;dfitzgerald@go2.law;golden.jeffreyi.b117954@notify.b
        estcase.com
    • Alexandria Lattner alattner@sheppardmullin.com, ehwalters@sheppardmullin.com
    • Matthew A Macdonald matthew.macdonald@wsgr.com
    • David W. Meadows david@davidwmeadowslaw.com
    • Douglas A Plazak dplazak@rhlaw.com
    • David M Poitras dpoitras@bg.law
    • Susan K Seflin sseflin@bg.law
    • Jonathan Seligmann Shenson jshenson@greenbergglusker.com,
        calendar@greenbergglusker.com;cmillerwatkins@greenbergglusker.com
    • Yuriko M Shikai yshikai@neufeldmarks.com
    • Ashley M Teesdale ateesdale@bg.law, becky@ringstadlaw.com;arlene@ringstadlaw.com
    • United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
    • Pamela Kohlman Webster pwebster@buchalter.com, smartin@buchalter.com
    • Jessica Wellington jwellington@bg.law, ecf@bg.law

                                                                                 Service information continued on attached page
2. SERVED BY UNITED STATES MAIL: On _____, 2024, I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.
**JUDGE’S COPY NOT REQUIRED IF LESS THAN 25 PAGES (GENERAL ORDER 23-01).


                                                                                 Service information continued on attached page
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on October 31, 2024, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.
*Courtesy Copy to Judge Kaufman                                                  Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
October 31, 2024                              Susan Seflin                                    /s/ Susan Seflin
Date                                          Printed Name                                    Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                          F 9013-3.1.PROOF.SERVICE
